                            Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 1
                                                                of 27


Estab. Bus                            Prior Perm. /     Verified Info. /
Relations      Contact/Contacts          Update        Perm. To Fax Doc.                          Busniess                                         Address                       City              State/ZIP         Phone                  Fax

    X           CHARLIE / JERRY                               X            (presently )Whitecap (formally)Sierra Supply, Inc.    1830 E. Lincoln Way                 Sparks                    NV 89431        (775) 353-3333     (775) 353-3300 fax
                 BRIAN BORIA                                  X            146 Supply Center, Inc.                               97 Worcester Providence Tpke        Millbury                  MA 01527        (508) 865-3800     (508) 865-0542 fax
                                                                           900 America                                           1 Cascade Plz                       Akron                     OH 443 308      (330) 379-9900     (330) 379-9900 fax
                   MICHELLE                                   X            A & A Hydraulic                                       5301 West 161st. Street             Cleveland                 OH 44142        (216) 362-4000     (216) 362-4020 fax
             IAN ARNOLD/ WENDY             U                  X            A & a Safe Lock & Door Co                             5025 Courtney Dr,                   Forest Park               GA              (404) 361-8360     (404) 608-0362 fax
                    PAULA                  U                  X            A & L Eastern Hydraulics                              535 Columbus Ave.                   New Haven                 CT 06519        203-777-2199       (203) 777-9851 fax
    X        CARL, CATELLO, Ginger         U                  X            A 1 Tool & Repair Inc                                 2487 County Road 220 Suite 103      Middleburg                FL 32068        (904) 282-3707     (904) 282-4511 fax
    X               NANCY                  X                  X            A A CASEY TOOLS & FASTENERS                           1100 N Nova Rd                      Daytona Beach             FL              (386) 253-6158     (386) 238-0973 fax
                    JACKIE                                    X            A A Locksmith Svc Co data                             2401 Columbia Pike # G              22204-4448                VA              (703) 521-4990     (703) 685-7241 fax
                 AMBER, NICK               U                  X            A A Safe & Lock Co                                    712 Soquel Ave                      Santa Cruz                CA 95062-2396   (831) 479-9227     (831) 423-5487 fax
               BARBARA, KEVIN              U                  X            A Advanced Locksmiths                                 8280 Clairemont Mesa Blvd           San Diego                 CA 92111        (858) 277-4358     (858) 277-3072 fax
                     # NG                                                  A C Moore                                             200 Running Hill Rd                 South Portland            ME 04106        (207) 253-5178     (207) 253-5528 fax
                      JOE                  U                  X            A Kustom Locksmith Svc                                23024 Lake Forest Dr # g            Laguna Hills              CA 92653-1328   (949) 770-6207     (949) 461-9113 fax
                     # NG                 N/A                              A Lighting Maintenance                                1188 Ne 47th St                     Fort Lauderdale           FL 33334        (954) 928-0958     (954) 928-0958 fax
                    AMBER                                     X            A VORTEX DOORS                                        4175 Cameron St # 6                 Las Vegas                 NV              (702) 222-9185     (702) 222-9122 fax
    X                David                 U                  X            A.A. Casey Co.                                        5124 Nebraska Ave.                  Tampa                     Fl              (813) 237-6561     (813) 238-9527 fax
                                                                           A.W. Meyer Co., Inc.                                  589 Broad Ave.                      Ridgefield                NJ 07657        (201) 945-5500     (201) 945-8168 fax
                  ERIC/MATT                U                  X            A-1 Alabama Key & Locksmith, Inc.                     1419 McFarland Blvd. E              Tuscaloosa                AL 35404-3840   (205) 758-8000     (205) 759-2252 fax
                      BEN                                     X            A1 Appliance                                          5410 Harding Road                   Nashville                 TN              (615) 352-5174     (615) 352-0418 fax
    X             LIZ, Noelle                                 X            A1 Equipment Service and Repair, Inc.                 518 Browns Lane                     Croydon                   PA 19021        (215) 826-8007     (215) 826-8006 fax
                     JOHN                   U                 X            A1 Lock & Safe                                        1111 S Orchard St #160              Boise                     ID 83705        (208) 377-4500     (208) 639-1130 fax
                   JERRILYN                 U                 X            A-1 Lock & Security                                   209 W Emory St                      Dalton                    GA              (706) 226-3039     (706) 226-0818 fax
    X                DAVID           not a working #          X            a-1 Repair Sv. / Gepperts Rental                      1561 Easton Rd                      Willow Grove              PA 19090        (215) 659-4215     (215) 659-4384 fax
    X                DAVID           not a working #          X            a-1 Repair Sv. / Gepperts Rental                      1561 Easton Rd                      Willow Grove              PA 19090        (215) 659-4215     (215) 659-4384 fax
                    LILIANA                                   X            A-1 Scale Service                                     4807 NW Industrial                  San Antonio               TX 78238        (800) 880-7848     (210) 521-1333 fax
    X                 TIM                  X                  X            A-1 Servo Motor Repair                                3330 Stovall St                     Irving                    TX 75061        (972) 313-1341     (972) 313-1341 fax
                                                                           A2z Inc                                               3330 Candelaria Rd Ne               Albuquerque               NM 87107-1909   (505) 889-2925     (505) 884-8093 fax
                   VICTORIA                                   X            AA BROTHERS II BUSINESS                               1350 Lincoln Ave # 1                Holbrook                  NY              (631) 981-2900     (631) 585-0334 fax
                                                                           AAA Apliance Repair                                   130 S Clinton St                    York                      PA 17404-5409   (717) 845-7278     (717) 852-7278 fax
                BETTY / CARRIE             U                  X            AAA Business Machines Inc                             2715 N Drake St                     Fayetteville              AL 72701        (479) 442-4185     (479) 442-0342 fax
                    BRIAN                                     X            AAA Home Services                                     7428 Mexico Rd.                     St. Peters                MO 63376        (636) 928-4933     (636) 278-6085 fax
    X             TIM, JESSE               U                  X            Aaa Tool & Supply                                     4632 n Powerline Rd,                Coconut Creek             FL 33073-3027   (954) 972-1381     (954) 543-0099 fax
    X                Jose                  U                  X            AAA Tool Supply                                       1450 S. State Rd. 7                 Hollywood                 FL 33023        (954) 989-7192     (954) 989-5738 fax
                     ROB                                      X            AAR Corp.                                             1100 North Wood Dale Rd.            Wood Dale                 IL 60191        (630) 227-2000     (630) 227-2039 fax
                 BAD NUMBER            BAD # 2/21             X            AAR Landing Gear Ctr                                  9371 NW 100th St                    Medley                    FL 33178        (516) 222-0987     (516) 222-0987 fax
                    NEAL                                      X            Abbey Locksmith, Inc.                                 1558 Second Ave.                    New York                  NY 10028        (212) 535-2289     (212) 988-9192 fax
                     ERIC                                     X            ABC BATON ROUGE                                       17991-A Old Perkins Rd. East.       Baton Rouge               LA 70809        (225) 752-1195     (225) 756-3180 fax
                   DENNIS                  U                  X            ABC Locksmiths                                        9684 Foothill Blvd.                 Rancho Cucamonga          CA 91730        (909) 987-2557     (909) 987-3838 fax
                    KATIE                                     X            ABC Office Machines, LLC                              1327 Redwood Hwy                    Grants Pass               OR 97527        (541) 479-1481     (541) 479-1907 fax
                  DOROTHY                                     X            Abco Easy Door                                        1945 Palmer Avenue                  New York                  Ny 10538        (914)834-6284      (914) 834-2995 fax
                                                                           Aberdeen Dynamics Supply                              17717 E. Admiral Place              TULSA                     OK 74157        (918) 437-8000     (918) 437-8420 fax
                 ALEX HECHTA                                  X            ABLE LOCKSMITH & DOOR SVC                             769 Deer Park Ave                   North Babylon             NY              (631) 587-7278     (631) 587-7283 fax
                    TONY                                      X            Able Locksmiths                                       24 S 7th St                         24 S 7th St               IA 51501-4131   (712) 322-7501     (712) 325-6147 fax
                                                                           Academy Tool                                          6720 Vip Pkwy                       Mattydale ONONDAGA        NY              (315) 454-3962     (315) 455-9522 fax
                JENNIFER /MATT             U                  X            Accurate Forklift, Inc.                               PO Box 4860/ 85 Scenic Dr.          Santa Rosa                CA 95402        (707) 585-3675     (707) 585-9734 fax
             JUSTIN THOMAS/ Larry                             X            Accurate Lock & Security, Inc.                        200 Prospect St                     Bellingham                WA 98225        (360) 733-2020     (360) 734-8765 fax
                     NICOLE                                   X            Accurate Scale Co                                     1735 W 38th St                      Chicago                   IL 60609-2025   (773) 847-1820     (773) 847-1828 fax
                    ROB, JOHN                                 X            Accurate Security Pros                                9919 Hibert St Ste D                San Diego                 CA 92131        (858) 271-1155     (858) 530-4820 fax
                       SAM                                    X            Ace Appliance                                         3724 Airport Hwy,                   Toledo                    OH - 43615      (419) 382-6077     (419) 389-5156 fax
                  BAD NUMBER          bad number              X            Ace appliance svc                                     3625 W Clarendon Rd                 YOUNGTOWN                 AZ 85705        (727) 934-1690     (520) 624-4199 fax
                Kevin, MARJORIE            U                  X            Ace Hardware Titusville                               3636 S Washington Ave               Titusville                FL 32780        (321) 267 – 1030   (321) 267-3799 fax
                   PETER, TONY                                X            Ace Locksmith and Security Systems                    1182 Washington St                  Norwood                   MA              (781) 762-4874     (781) 769-3356 fax
                    BRIDETTE,                                 X            Ace Security Inc                                      268 Belmont Ave,                    Haledon                   NJ 07508-1404   (973) 595-6141     (973) 595-6149 fax
    X             JAMES, Kelvin            U                  X            Ace Tool                                              2201 Wantagh Ave                    Wantagh                   NY 11793        (516) 783-8899     (516) 783-0037 fax
                      TRISH                                   X            Ace Tool Co                                           2408 E 22nd St                      Des Moines                IA 50317        (704) 597-7535     (515) 274-3725 fax
    X                 Andre                U                  X            ACI communications                                    5115 N. Douglas Fir Road, Suite A   Calabasas                 CA 91302        (818) 223-3600     (818) 223-3609 fax
    X                ROGER                 U                  X            Acme Electric/Tool Crib;                              4332 Grand Ave                      Duluth                    MN 55807-2749   (218) 628-3523     (218) 624-0261 fax
                      TROY                                    X            Acme Hydraulics Inc                                   815 Kansas Ave,                     Kansas City               KS - 66105      (913) 321-6385     (913) 321-0706 fax
    X                AARON                 X                  X            Acme Tool Repair Inc                                  452 Moore Ln                        95448-4815 - Healdsburg   Ca              (707) 431-0444     (707) 431-0461 fax
    X                 BRAD                X,U                 X            Acme Tools                                            841 11th St                         Des Moines                IA 50309-1544   (515) 244-4189     (515) 244-6366 fax




                                                                                                                                Page 1
                           Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 2
                                                               of 27


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Relations       Contact/Contacts         Update       Perm. To Fax Doc.                         Busniess                                 Address                            City           State/ZIP         Phone                 Fax
    X            DAVE, MELISSA             X                 X            Acme Tools                                   410 1st Ave. NW                     Cedar Rapids                IA 52405        (319) 363-2211    (319) 363-8389 fax
    X               SCOTT                  U                 X            Acme Tools - Minot                           700 20th Avenue Se                  Minot                       ND 58701        (701) 839-2263    (701) 839-2253 fax
    X               TRACY                  U                 X            Acme Tools Bismarck                          3840 East Rosser Avenue             Bismarck                    ND 58501        (701) 258-1267    (701) 258-1292 fax
                     TODD                                    X            ACRS Inc                                     11055 I St                          Omaha                       NE 95451        (402) 955-2277    (402) 331-8356 fax
                   WILLIAMS                                  X            Action Computer & Toner Supply Inc           1310 Piper Dr                       Milpitas                    CA - 95035      (408) 946-8407    (408) 946-2426 fax
                    DONNA                                    X            Action Lock & Key Inc                        17 Cambridge St                     Burlington                  MA 01803-4601   (781) 229-9992    (781) 229-1639 fax
                                                                          Action Locksmith                             245 E 3900 S                        Salt Lake City              UT 84107-1530   (801) 685-0743    (801) 685-0743 fax
                 OK FRONT DESK                               X            Active Appliances Inc.                       6736 Van Nuys Blvd                  Van Nuys                    CA              (818) 778-1999    (818) 778-1990 fax
                     ALICE                 U                 X            ACU Grind Tool Works Inc                     2118 58th Ave E                     Bradenton                   FL 34203-5059   (941) 758-6963    (941) 753-9800 fax
                     RALPH                                   X            Acucal Calibration Services                  11090 Industrial Rd                 Manassas                    VA 20109        (703) 369-3090    (703) 369-3786 fax
                     ALISA                                   X            Advance Door Company                         4555 Willow Pkwy                    Cuyahoga Heights            OH 44125        (216) 883-2424    (216) 883-8952 fax
                JAMES, SHANNON                               X            Advance Electronic Svc Inc                   101 Technology Ln,                  Mt Airy                     NC              (336) 789-0792    (336) 789-7149 fax
                    ANGELO                                   X            Advanced Air Tool                            131 Allen Blvd                      Farmingdale                 NY 11735        (800) 238-2471    (631) 249-5886 fax
                    GERALD                                   X            Advanced Electronics Inc                     11903 Plantside Dr                  Louisville                  KY 40299        (502) 267-8515    (502) 267-4312 fax
                                                                          Advanced Electronics Inc                     1310 19th St,                       Lubbock                     TX 79401-4937   (806) 763-8246    (806) 763-8245 fax
                      LISA                                   X            Advanced Fastening Supply                    2201 Advance Road                   Madison                     WI 53718        (608) 441-1950    (608) 441-1952 fax
                    PATRICK                U                 X            Advanced Testing Systems, Inc.               15 Throwbridge Dr.                  Bethel                      CT 06801        (203) 743-2001    (203) 743-2325 fax
                   STEPHANIE                                 X            Advanced Tool & Cutter Grinding Co., Inc.    9169 Rte. 49                        Marcy                       NY              (315) 768-8502    (315) 768-4807 fax
                     SARAH                                   X            Advantel Inc                                 2222 Trade Zone Blvd                San Jose                    CA 95155        (408) 954-5100    (408) 435-7928 fax
                  REPAIR DEPT                                X            Aerus Electrolux                             447 w Chester Pike                  19083-4504 - Havertown PA   PA              (610) 449-4489    (610) 789-2437 fax
                     JOLENE                U                 X            Affordable Lock and Key                      13908 N Florida Ave                 Tampa                       FL 33613-3231   (813) 961-5784    (813) 963-0008 fax
                                      Permanently
                                         Closed              X            Air & Hydraulic Service                      842 Ilaniwai St,                    HI                          HI              (808) 597-8051    (808) 591-1237 fax
                     EILEEN                                  X            Air and Armor                                2501 S. WS Young Drive, Suite 306   Killeen                     TX 76542        (254) 526-3292    (254) 526-2337 fax
                     DIANE                                   X            Air Conditioning Services                    414 McNally Drive                   Nashville                   TN 37211        (615) 834-1080    (615) 834-0921 fax
    X                CHRIS                X,U                X            Air Electric Tools & Service                 5603 EAST 3RD AVE                   Spokane                     WA 99202        (800) 348-8337    (509) 534-3752 fax
    X               ROB, BEN              X,U                X            AIR SPECIALISTS, INC.                        598 Kirk Rd.                        Marietta                    GA 30060        (770) 426-1722    (770) 424-0806 fax
    X                 DAVE                 U                 X            Air Tool Maintenance                         420 River Rd                        Eugene                      OR 97404        (541) 461-1714    (541) 461-8865 fax
                  SEAN, BIRDIE             U                 X            Aircraft Heating Inc                         1635 Beltline Road                  Redding                     CA 96003        (800) 409-4328    (530) 246-4371 fax
    X                 DAN                  X                 X            AIS Industrial & Construction                3900 Ulster St                      Denver                      CO 80207-1729   (303) 355-2391    (303) 355-6572 fax
                                                                          alameda electric                             461 Ortiz Ave                       Sand City                   CA 93955-3520   (831) 899-1214    (831) 424-4232 fax
                  LEON, BRYAN              U                 X            Alameda Electric                             2870 Cordelia Road Suite 100        Fairfield                   CA 94534        (707) 207-7200    (707) 207-7230 fax
                                                                                                                                                           93955-3520 - Sand City
                     TOMMY                 U                 X            Alameda Electrical Distr Inc                 449 Ortiz Ave                       MONTEREY                    CA              (831) 899-1214    (831) 899-8866 fax
                    Skip, JEFF             U                 X            Alameda Electrical Distributors              7044 Ave 304                        Goshen                      CA 93227        559-651-2096
                       JOE                 u                 X            Alameda Electrical Distributors              1466 North Carpenter Road           Modesto                     CA 95351-1109   (209) 550-2500    (209) 550-2510 fax
                       TIM                 U                 X            Alameda Electrical Distributors              629 Entler Ave, Suite #29           Chico                       CA 95928        530-781-1300      (530) 781-1325 fax
             MIKE SHEARER/CHRISTINE        U                 X            Alaska Industrial Hardware                   2192 Viking Drive                   Anchorage                   AK 99501        (907) 276-7201    (907) 258-3054 fax
    X                 BETH                 U                 X            ALCO TOOL SUPPLY                             205 County Road 17                  Elkhart                     IN 46516        (574) 295-5535    (574) 293-2254 fax
                      ALLEN                                  X            Alcom Services Inc.                          PO Box 988 243 Dick Beam Road       Cherryville                 NC 28021        704-435-8803      (704) 435-8816 fax
                    MELISSA                                  X            All About Doors & Windows                    110 E 16th Ave                      North Kansas City           MO 64116        (816) 221-6543    (816) 221-6688 fax
    X                 MARK                 U                 X            All City Electric Motor - Riverview          18750 Fort St # 15                  48193-7407 - Riverview      MI              (734) 284-2268    (734) 284-0032 fax
                    MELISSA                U                 X            All Dade Lawnmowers                          1495 NW 111th Ave                   Miami                       FL 33172-1900   (305) 223-7884    (305) 559-7441 fax
    X                 JOHN                 U                 X            All Seasons Equipment                        405 Highway 99 N                    Eugene                      OR 97402-2302   (541) 461-6716    (541) 461-6729 fax
                                                                                                                                                                                                       314-426-8800 or
                    CRYSTAL                                  X            All Star Sewer Equipment Sales               1324 Wilmer Rd                      Wentzville                  MO              636-240-7863      (636) 887-4667 fax
                   COURTNEY                                  X            All State Access Lock-security               2274 Atlanta Rd Se                  Smyrna                      GA 30080        (770) 434-7050    (678) 578-4938 fax
    X                  JIM                 X                 X            All Tool Svc & Supply Co                     1571 N Maple Ave                    Fresno                      CA 93703-4403   (559) 252-2879    (559) 255-7492 fax
                    VANESSA                                  X            Allan J. Coleman                             5725 N Ravenswood Ave.              Chicago                     IL 60660        773-728-2400      (773) 728-2499 fax
                     ALLAN                 U                 X            Allan Jeffries Framing                       8301 W 3rd St                       Los Angeles                 CA 900 048      323-655-1296      (323) 655-4291 fax
                     KATHY                                   X            Allen Young Office Machines                  60 N CHADBOURNE                     SAN ANGELO                  TX 76903        (325) 655-6558    (325) 653-5086 fax
    X              D.J. HAASE              X                 X            Allen’s Tool Repair Inc.                     115 5th St. W                       Billings                    MT 59101        (406) 248-3865    (406) 248-3741 fax
                      DON                                    X            Allied Battery Co Inc                        3007 Main St                        Union Gap                   WA 98903        (509)248-4874     (509) 248-4850 fax
    X            GEORGE, Randy             U                 X            Allied Electric Motor Company                924 3rd Ave South                   Nashville                   TN              (615) 259-3892    (615) 259-3896 fax
                                      no longer in
                     SAM               bussiness             X            Allied Fastener & Tool Inc                   1130 N G St                         Lake Worth                  FL 33460-2195   (561) 585-2113    (561) 585-3715 fax
                     LACY                                    X            Allied INSTRUMENT SERVICE, INC.              3136 Clarence Avenue                Berwyn                      IL 60402        708-788-1912      (708) 788-2277 fax
                    STACEY                                   X            Allied Measurement Systems Corporation       13940 S. Kildare                    Crestwood                   IL 60445        (708) 385-0404    (708) 385-8664 fax
                     RICK                                    X            Allsafe & Lock Inc                           399 S Main St                       Manchester                  NH 03102-4841   (603) 622-6062    (603) 626-0118 fax
                    BERTO                  U                 X            ALL-SAFE LOCKSMITHS, INC.                    2151 Fulton Ave                     Sacramento                  CA 95821-5104   (916) 489-8826    (916) 489-3918 fax
    X              MARGORIE                U                 X            Al's Tool Repair                             1623 S Main St                      Joplin                      MO 64804-0753   (417) 781-5030    (417) 781-4849 fax




                                                                                                                      Page 2
                             Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 3
                                                                 of 27


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Relations       Contact/Contacts              Update         Perm. To Fax Doc.                          Busniess                                    Address                       City       State/ZIP           Phone                 Fax
                     BONNIE                                X        ALWAYS SAFE & LOCK                                          815 East Fourth Ave               Olympia                WA 98506          (360) 357 -8500   (360) 754-8331 fax
                   FRONT DESK                              X        Ambrosi Brothers Cutlery Co                                 3023 Main St                      Kansas City            MO 64108-3323     (816) 756-3030    (816) 756-2149 fax
                   LEXI/RUSTY                              X        America Grinding Sales                                      1020 W 29th St                    Kansas City            MO 64108          (816) 561-1776    (816) 561-1778 fax
    X               RICHARD                 X              X        American Armature Works                                     2044 Texas Ave                    Shreveport             LA                (318)222-0746     (318) 222-0724 fax
                     ASHLEY                                X        AMERICAN ELECTRIC SERVICE CO., INC.                         10890 Main St                     Fairfax                VA 22030-4716     (703) 273-4977    (703) 385-1758 fax
                       PAM                                 X        AMERICAN Equipment Co Inc                                   2106 Anderson Rd                  Greenville             SC 29611          (864) 295-7800    (864) 295-7973 fax
                       JULIE                               X        American Frame Corp.                                        400 Tomahawk Dr.                  Maumee                 OH 43537          (419) 893-5595    (419) 893-3553 fax
    X                   ABE                 U              X        American Industrial                                         14240 E 11 Mile Rd                Warren                 MI 48089-1467     (586) 776-2121    (586) 776-3529 fax
                       JOSH                                X        American Kitchen Mch. & Repair                              204 Quarry Street                 Philadelphia           PA 19106          (215) 627-7760    (215) 627-1604 fax
                 ROBERT, HUTCH              U              X        American Locksmith                                          670 Cherry Street                 Winter Park            FL 32789-4501     (407) 629-1080    (407) 629-6761 fax
    X                                                               American Power Tool & Repair
                  BOUGHT OUT NO LONGER A COMPANY THAT WORKS WITH MOTORS                                                         4108 B Pl NW # D                  Auburn                 WA 98001-2454     (253) 887-1148    (253) 887-1148 fax
    X             SHARON/ KYLE              U              X        American Tool & Fastener                                    11065 Petal St                    Dallas                 TX 75238          (972) 801-9909    (972) 801-9920 fax
                     Amanda                 U              X        American Vision Windows                                     2125 Madera Road, Ste A           Simi Valley            CA 93065          (805) 582-1833    (805) 582-1580 fax
                      RALPH                                X        Americom Inc                                                1830 Stoltz Rd, 15129-9257        South Park PA          PA                (412) 831-3131    (412) 831-8168 fax
    X              CORY/TYLER               U              X        Anco Fastener Sales Inc                                     2130 W 6th Ave                    Eugene                 OR 97402          (541) 485-2800    (541) 485-7867 fax
                      RALPH                                X        Anderson Brothers Tool Repair                               3531 Southeastern                 INDIANAPOLIS           IN 46203-1528     317-356-6381      (317) 356-6382 fax
             DAVE KAISER / NICOLE, JO       U              X        Anderson Lock & Safe LLC                                    6146 N 35th Ave                   Phoenix                AZ 85017-1938     (602) 973-0343    (602) 589-0104 fax
                      RENEE                                X        ANGELINA AMERICAN INC                                       1610 N John Redditt Dr            Lufkin                 TX                936-875-2999      (936) 633-6160 fax
                      BARRY                                X        ANGLE REPAIR SERVICE, INC.                                  175 Angle Drive                   Beckley                WV 25801          (304) 253-5729    (304) 252-0481 fax
    X        BOB, LANE, JEFF, JOCELYN       u              X        Apex Saw Works                                              570 Kietzke Ln                    Reno                   NV 89502          (775) 329-3076    (775) 329-8981 fax
                GLEN ALLEN/ Brad            U              X        Appliance Smarts- Glenn Allen                               623 SW State Rd 247               Lake City              FL - 32025        (386) 752-3600    no fax
                                   not good # this location Closed               APPLIANCE SVC INC                              1100 Boulevard Way                Walnut Creek           CA                925-934-7664      (925) 934-0457 fax
                   MELISSA                                           X           Applied Business Concepts                      2829 Virginia St.                 Kenner                 LA 70062          (504) 467-2679    (504) 467-2677 fax
                     ERIN                                            X           APPLIED COPIER CONCEPTS                        4260 Piedmont Parkway, Ste. 105   Greensboro             NC 27410          (336) 632-9285    (336) 632-1008 fax
    X             MARK, KARL                     U                   X           Applied Tool & Supply                          311-A EAST ST ELMO                Austin                 TX - 78745        (512) 448-0101    (512) 448-0267 fax
                    STEVE                        U                   X           A-Professional Locks Inc                       940 N Alma School Rd # 112        Chandler               AZ 85224          (480) 345-6700    (480) 963-8789 fax
    X            BARBARA, RON                    U                   X           Arbuckle Electric Motors                       7548 Santa Monica Blvd            Hollywood              CA 90046          (323) 876-7100    (323) 876-1850 fax
                     SEAN                                            X           Arch Sewing Machine Co                         7th & 659 Callowhill St           Philadelphia           PA 19123          (215) 627-1768    (215) 627-2034 fax
                                                                                 Archer's Archery                               680 S Poseyville Rd               Midland                MI 48640-8911     (989) 832-1672    (989) 835-1428 fax
                     PAUL                                            X           Arizona Air Tool Co.                           1314 E. Princess Dr.              Tempe                  AZ 85281          (480) 968-8559    (480) 968-4276 fax
                     BRIAN                                           X           Ark City Glass Co                              523 N Summit St                   Arkansas City          KS                (620) 442-2630    (620) 442-2566 fax
                                                                                 Arko-j & j Door Svc                            4444 Sw 71st Ave # 104            33155-4658 - Miami     FL                (305) 262-3663    (305) 262-9828 fax
                    CHRISTY                                          X           ARRC Technology, Inc.                          1600 Mill Rock Way                Bakersfield            CA 93311          (661) 281-4000    (661) 281-4008 fax
                                                                                 Arron's Lock & Key Inc                         30870 John R Rd                   MADISON HEIGHTS        MI 48071 USA      (248) 588-4616    (248) 588-4616 fax
                     JOSH                        U                   X           Art & Rays Lock & Safe, LLC                    2436 W. Central Ave.              Missoula               MT 59801          (406) 549-7667
                    DONNA                                            X           Art Aspects                                    701 S Sharon Amity Rd # A         Carlotte               NC 28211          (704) 442-8241    (704) 442-8242 fax
                   RHONDA                        U                   X           Artex Electric Co                              610 Division St                   Texarkana              AR 71854-6721     (870) 773-0446    (870) 773-0446 fax
                    CRYSTAL                                          X           ASB AVIONICS, LLC                              1032 Sabovich Street              Mojave                 CA 93501-2021     (661) 824-1005    (661) 824-1006 fax
                    AUSTIN                                           X           ASI Authorized Svc Inc                         3919 Jordan Rd                    Greer                  SC 29651-5265     (864) 242-9015    (864) 895-8050 fax
                                                                                 Aspen Laser & Tech. (NO LONGER IN
                     ALLIE                                           X           BUSINESS)                                      5700 flatiron pkwy                Boulder                CO 80301-5733     (303) 530-2922    (303) 530-0344 fax
                     # NG                                                        Assured Quality Tech                           1531 Mark St                      Elk Grove Vlg          IL 60007-6716     (847) 766-7727    (847) 766-0432 fax
                     MARK                                            X           Atlantic Systems Electronics                   24 Rockland St # 8                Hanover                MA 02339-2226     (781) 826-8760    (781) 826-7165 fax
                      RAY                                            X           Atlas Bolt & Supply                            615 E Main St                     Chattanooga            TN 37408          (423) 265-2341    (423) 265-2349 fax
                      R.J.                       U                   X           Atlas Construction Equipment Services, Inc.    12001 49th Street North #201      Clearwater             FL 33762          (727) 299-0700    (727) 299-0704 fax
                     MIKE                                            X           Augusta Tool & Spec Co                         1817 Dixon Airline Rd             Augusta                GA 30906          (706) 790-6180    (706) 790-6270 fax
                     BOB                                             X           Austin Tool                                    210 Industrial Blvd               Austin                 TX 78745-1261     (512) 447-4905    (512) 447-0102 fax
    X             PAM, KEITH                    U                    X           Authorized Tool Service, Inc.                  2210 Heller Dr.                   Beavercreek            OH 45434          (937) 429-5593    (937) 429-2243 fax
                                             OUT OF
                      AMY                    BUSNESS                 X           Auto Medics                                    330 South Claremont Street        94401 San Mateo        CA                (650) 342-8480    (650) 342-1026 fax
                   MCKENZIE                                          X           Automated Business Machines                    415 Kilvert St                    Warwick                RI                401)732-3000      (401) 732-1550 fax
                   BRENDON                                           X           Automated Fastenting Systems                   5700 Sunnyside Ave Ste F          Beltsville             MD - 20705        (301) 507-6200    (301) 507-6205 fax
                  NESSA, EFREN                   U                   X           Automated Laundry System                       3626 S. San Pedro St              Los Angeles            CA 90011          (818) 846-7242    (818) 556-6242 fax
                 CARL OR MILLIE                  X                   X           Automatic Access, Inc.                         606 South Weber Street            Colorado Springs       CO 80903          (719) 390-8400    (719) 390-3840 fax
                   MIRANDA                       U                   X           Automotive Service Equipment                   314 E 35th St                     Garden City            ID 83714          (208) 343-2621    (208) 343-2673 fax
                                                                                                                                                                                         UT 84047-1021
                     JANET                                           X           Automotive Specialty Equipment                 7055 S 700 W                      Midvale                (84047)           (801) 562-0700    (801) 562-0737 fax
                    DEANNA                                           X           Aztec Bolting Services Inc                     520 Dallas Street                 League City            TX 77573          281-338-2112      (281) 332-1780 fax
                                            this # now
                     JAMIE                 different Co.             X           B & C Instruments, Inc.                        4317 Spartacus Dr                 Huntsville             AL 256-883-6530   (256) 883-6530    (256) 883-6531 fax
                     KEITH                       U                   X           B & G Industrial Rental Inc                    1627 W 130th St                   GARDENA                CA                (310) 327-0804    (310) 327-9174 fax




                                                                                                                               Page 3
                                Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 4
                                                                    of 27


Estab. Bus                                 Prior Perm. /      Verified Info. /
Relations          Contact/Contacts           Update         Perm. To Fax Doc.                         Busniess                                     Address                  City             State/ZIP         Phone                Fax
    X           T. BRAUD / ROBIN / KIM          U                   X            B & H Air Tools (Delta Rigging and Tools)     6938 Exchequer Drive           Baton Rouge                LA 70809         (225) 752-4884   (225) 752-4824 fax
    X                   STEVE                   u                   X            B & W Supply                                  1390 Donaldson Hwy suite A     Erlanger                   KY 41018         (859) 525-8715   (859) 525-0993 fax
    X                   BART                    X                   X            B C Industrial Supply                         10592 Balmoral Cr. E           Jacksonville               Fl 32218         (904) 355-1935   (904) 355-1937 fax
    X                     ED                    U                   X            B&B Electric Motor Co.                        332 Lulu St                    Wichita                    KS 67211         (316) 267-1238   (316) 267-0599 fax
                       TIMEKA                                       X            B&S Tool & Cutter Service, Inc.               99 John Street Hackensack                                 NJ 07601         201-488-3545     (201) 488-3861 fax
                                                                                 Bailey Tool & Supply Inc (NOW CALLED TOTAL
    X                    BILL                   U                   X            TOOL)                                         1338 S Shelby St               Louisville                 KY 40217         (502) 635-6348   (502) 635-6470 fax
                        SCOTT                                       X            Baker's Glass & Mirror                        1424 Highmarket St             Georgetown                 SC 29440         843-546-6136     (843) 546-8094 fax
                                                                                 Bakers Safe and Lock                          5612 Frondren                  Houston                    TX 77036         (713) 780-7026   (713) 780-7654 fax
                                                                                                                                                              93301-4137 - Bakersfield
    X                  NATE                     X                   X            Bakersfield Electric Motor Rpr                121 w Sumner St                KERN                       CA               (661) 327-3583   (661) 327-0689 fax
    X               LARRY / KELLY               U                   X            Bakersfield Tool Repair                       210 Sumner St, Ste B           Bakersfield                CA               (661) 327-2820   (661) 327-5069 fax
                                                                                 Baldwin Brothers                              1913 Hiers Corner              Walterboro                 SC 29488         (843) 538-3181   (843) 538-3181 fax
                         ERIC                                       X            Ballard Industrial Hardware                   4749 Ballard Ave NW            Seattle                    WA 98107         (206) 783-6626   (206) 782-4181 fax
                      WARREN                    U                   X            Baltimore Electronics                         2554 State Street              Hamden                     CT 06517         (203) 248-7553   (203) 248-4896 fax
                       BRIAN                    U                   X            Battery Shop of New England                   69 S Turnpike Rd               Wallingford                CT 06492         203-265-2879     (203) 265-3987 fax
                        RICH                                        X            Bauer Truck Repair                            1205 Doe Run Rd.               Shippenville               PA 16254         814-226-6023     (814) 226-6067 fax
    X                  STEVE                    X                   X            Bay Area Rental                               1624 W. Pacific Coast Hwy.     Harbor City                CA. 90710        (310) 326-5830   (310) 326-2638 fax
                        TALIA                                       X            Bay Area Svc                                  2260 Larsen Rd                 Green Bay                  WI 54303-4810    920-435-7111     (920) 435-2444 fax
                        RUBY                    U                   X            Bay City Tool & Repair                        4405 Halls Mill Rd # F4        Mobile                     AL 36689         (251) 666-8406   (251) 666-8403 fax
                      MELINDA                                       X            Bay Pest Control Co., Inc.                    6820 Washington Avenue         Ocean Springs              MS 39564         (228) 875-8908   (228) 875-1627 fax
    X                  LEDON                    X                   X            Bay Saw & Tool Repair                         498 East 10th Street           Pittsburg                  CA 94565         (925) 432-6291   (925) 432-1990 fax
                      VANETTA                                       X            Beerman Precision                             4845 Bloomfield St.            Jefferson                  LA 70121         504-734-2727     (504) 734-1321 fax
                      TIFFANY                                       X            Beerman Precision Inc                         4206 Howard Ave                New Orleans                LA 70125         (504)486-9391    (504) 486-7482 fax
                        RECP.                                       X            Bees Keys / Complete Security Service         7711 Inwood Rd.                Dallas                     TX 75209         (214) 741-6369   (214) 741-4777 fax
                       JAMES                                        X            Beishire Lock & Security                      5423 S. Lindbergh Blvd.        St. Louis                  MO 63123         (314) 842-4500   (314) 842-6811 fax
                       BRIAN                                        X            Belyea Company Inc                            2200 Northwood Ave.            Easton                     Pa 18045         (610) 515-8775   (610) 258-1230 fax
                         ERIC                                       X            Bennett & Hair                                1211 Poplar St                 Terre Haute                IN 47807         (812) 238-1277   (812) 238-8980 fax

    X        DWIGHT, HAROLD UNDERWOOD           U                   X            Berland's House Of Tools                      20254 N Rand Rd                Palatine                   IL 60074-2051    (847) 540-9200   (847) 540-6797 fax
                       JOHNNY                   U                   X            Best Lock & Safe Svc                          2203 Venice Blvd               Los Angeles                CA 90006-5146    (323) 733-7716   (323) 733-6031 fax
    X               RAY / FRANK S.              U                   X            Best Tool & Equipment Repair                  201 W 7th St                   Lorain                     OH 44052-1811    (440) 244-2346   (440) 244-6810 fax
                                                                                 Big D Lock City                               2448 Coolidge Hwy              Berkley                    MI 48072         (248) 398-2030   (248) 398-3156 fax
                       HEATH                                        X            Big D Tool Center                             2535 Irving Blvd.              Dallas                     TX 75207         214-631-3731     (214) 747-5292 fax
                        ERIC                                        X            Bill Leech Repair Service                     2017 E Michigan Ave.           Lansing                    MI 48912         517 371 3583     (517) 371-4605 fax
                        BILL                                        X            Bills Appliance Repair                        P.O Box 180                    Hurley NY                  NY 12443         (845) 338-8448   (845) 340-9190 fax
                       CHRIS                                        X            Bills Key Lock Shop                           127 E Beaufort St              Normal                     IL - 61761       (309) 454-1713   (309) 454-8701 fax
                                                                                 Bilmar Avionics Inc                           4005 4th St                    Kissimmee                  FL 34741-4509    (407) 935-9466   (407) 931-4340 fax
                        JOE                     X                   X            Bishop Taylor Inc                             8129 Page Ave                  St Louis MO                MO               (314) 423-1616   (314) 423-6377 fax
                  NICOLAS, BARBARA                                  X            BJORKMAN INDUSTRIAL POWER CORP                70 FINNELL DRIVE               WEYMOUTH                   MA 02188         (781) 331-6750   (781) 331-9505 fax

    X                   BRIAN            No Longer in Bus                        BLACK & DECKER                                4831 Old Seward Hwy # 113      Anchorage                  AK 99503         (907) 561-7181   (907) 561-7187 fax
                                           fast busy sig
    X                                          2/24                 X            Black & Decker                                321 Valley Ave                 Birmingham                 AL 35209         (205) 945-9258   (205) 945-9258 fax
                                           Permanently
                                              closed                             Black & Decker                                2512 Tripaldi Way,             Hayward                    CA 94545         (510) 783-3959   (510) 783-3764 fax
                                           Permanently
    X                  WAYNE                  CLosed                X            Black & Decker                                5999 Crawfordsville Rd         Indianapolis               IN               (317) 243-8308   (317) 241-6867 fax
                                           Permanently
    X                    PAT                  Closed                X            Black & Decker                                11477 Page Service Dr,         Saint Louis                MO - 63146       (314) 997-9100   (314) 997-9183 fax
                                          PERMANENTLY
    X                   ERIC                 CLOSED                 X            Black & Decker                                3402 W Wendover Ave Ste E,     Greensboro                 NC - 27407       (336) 852-1300   (336) 547-9339 fax
                                           Permanently
    X                   LARRY                 Closed                X            Black & Decker                                5617 Menaul Blvd NE # Efg      Albuquerque                NM 87110-3243    (505) 884-1002   (505) 881-3546 fax
    X                                     # not in service                       Black & Decker Inc                            7963 Central Ave               Capitol Heights            MD 20743-3531    (301) 333-0864   (301) 333-0864 fax
                                           Permanently
    X                   KEN                   Closed                X            Black & Decker U.S., Inc                      881 W. Delavan Ave.            Buffalo                    NY 14209         (716) 884-6220   (716) 884-5953 fax
    X                   # NG                                                     Black & Decker U.S., Inc., Dewalt Div.        7714 Jewella Ave.              Shreveport                 LA               (318) 688-1553   (318) 687-2711 fax
                                           Permanently
    X                   DAVE                  Closed                X            Black & Decker Us INC                         7290 Clairemont Mesa Blvd      San Diego                  CA 92111-1007    (858) 279-2011   (858) 279-0362 fax




                                                                                                                              Page 4
                            Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 5
                                                                of 27


Estab. Bus                           Prior Perm. /    Verified Info. /
Relations      Contact/Contacts         Update       Perm. To Fax Doc.                        Busniess                                   Address                            City       State/ZIP         Phone                   Fax
                                     Permanently
    X                                   Closed                           Black & Decker Us INC                        310 S Military Trl                     West Palm Beach       FL 33415-2808   (561) 689-3247      (561) 684-9578 fax
                    ANN                                     X            Black Hawk Industrial                        170 5th Ave                            Hawthorne             NJ 07506        (973) 238-0009      (973) 238-0010 fax
                 ANDY / JIMMY             U                 X            Blair & Sons Inc                             303 Jordan Ln NW, Ste A                Huntsville            AL 35805        (256) 830-5937      (256) 830-1182 fax
                                           #
                                    DISCONNECTED
    X               JASON                2/27               X            BLINK ELECTRIC MOTORS INC                    116 N 1ST AVE                          MARSHALLTOWN          IA 50158        (641) 752-3036      (641) 752-7475 fax
                     MIKE                                   X            BLUME SUPPLY INC                             3316 South Blvd                        Charlotte             NC              (704) 523-7811      (704) 525-3947 fax
                                                                         Bobcat of Casper                             2000 E F St.                           Casper                WY 82601        (307) 577-5842      (307) 577-5842 fax
                                                                         Bob's Lock Safe & Key Fax Line               3112 W 3500                            West Valley City      UT 84119-3634   (801) 963-5796      (801) 963-5796 fax
    X           Cheryl Judge              X                 X            Bob's Tools                                  1493 E Army Post Rd                    Des Moines            IA 50320        (515) 287-7805      (515) 287-7805 fax
                                                                         BONNIST INTERNATIONAL, INC.                  40B Wayne Avenue                       Suffern               NY 10901        (845) 368-2220      (845) 368-2424 fax
                                    PERMANENTLY
    X           JOHN SCHRAER           CLOSED               X            Bosch Tools                                  2585 W 8th Ave                         Denver                CO 80204        (303) 893-5124      (303) 595-8878 fax
                    RICK                                    X            Boston Square Lock & Key                     1625 Kalamazoo Ave SE                  Grand Rapids          MI 49507        (616) 243-5731      (616) 243-7751 fax
                    MIKE                  U                 X            Bowen's Sales & Sharpening Service           3001 E. Central Blvd.                  Orlando               FL              (407) 898-6669      (407) 898-3362 fax
    X              ROBERT                 U                 X            Brannen's Fasteners                          1835 Fredericksburg Road               San Antonio           TX 78201-5039   (210) 736-1625      (210) 736-1860 fax
                                                                                                                                                                                                   (918) 665-1721 or
                                                                         BREATHE EASY AIR DUCT CLEANING               10005 E 44th Pl                        Tulsa                 OK 74146        (918) 742-2000      (918) 665-1721 fax
                    CHRIS                                   X            Britt & Sons Electrical Whsle                3293 Highway 78 W                      Snellville            GA 30087        770-972-2735        (770) 972-2741 fax
                   ASHLEY                                   X            Broadview Instrumentation Services, Inc.     7632 Hub Parkway                       Valley View           OH 44125        (216) 525-0050      (216) 525-0051 fax
    X               # NG              # no good                          Brock Tool Co                                1475 Louis Ave                         Elk Grove Vlg         IL 60007-2393   (847) 956-7200      (847) 956-7209 fax
    X            FRONT DESK               X                 X            Brock Tool Of Detroit Inc                    31090 Industrial Rd                    Livonia               MI 48150-2033   (734) 261-9333      (734) 261-3058 fax
                    ALAN                  U                 X            Broward Hydraulic Jack Service and Sales     3907 Southwest 12th Court              Fort Lauderdale       FL 33312        (954) 583-2504      (954) 583-3265 fax
    x              DENNIS                 x                 X            Broward Tool Repair                          3547 N Dixie Hwy                       Fort Lauderdale       FL - 33334      (954) 566-4114      (954) 565-8229 fax
                    MIKE                                    X            Brozene Hydraulic                            1400 Mt. Pleasant St.                  Burlington            IA 52601        (319) 752-4017      (319) 754-7977 fax
                                                                         Brunell & Sons Inc.                          8701 Torresdale Avenue Unit K                                PA              215-624-5035        (215) 624-5038 fax
                                                                         Bryant Tool & Supply                         61-10 34th Ave                         Woodside              NY 11377        P (718) 672-1300    (718) 672-1378 fax
    X          RHONDA/MARTIN              U                 X            Bucknall Power Tool Service                  11910 Vose Street                      North Hollywood       CA. 91605       (818) 765-0228      (818) 765-2287 fax
    X             JEANETTE                X                 X            BUENA TOOL COMPANY                           433 Laguna St                          Santa Barbara         CA 93101-1782   (805) 963-3885      (805) 966-2956 fax
                    KELLY                 u                 X            Builders Equipment                           3261 Glenwood Road                     Decatur               GA 30032        404) 289-0456       (404) 289-4947 fax
    X        MATHEW/ CARLOS /JEFF         U                 X            Burns Tools                                  350 Mariano Bishop Blvd                Fall River            MA 02721-2365   (800) 341-2200      (508) 677-1300 fax
                                                                                                                                                                                                   (361) 289-6339 or
                    FRANK                                   X            Bush Hydraulics                              2012 N Lexington Blvd                  Corpus Christi        TX              (361)289-0441       (361) 289-6339 fax
                                                                         Butensky Services Co                         171 Industrial Pkwy                    Branchburg            NJ 08876-3451   (908) 707-9822      (908) 707-9822 fax
                    JOHN                                    X            Butler Cranberry Lock, Safe & Door Inc.      302 E Brady St                         Butler                PA 16001-4816   (724) 282-1266      (724) 282-2227 fax
    X                ROY                  X                 X            C & H Industrial Tool                        1160 3rd Ave                           Washington            WA              (360) 423-6496      (360) 423-0476 fax
    X                BOB                  X                 X            C & L ELECTRIC MOTOR REPAIR                  1402 N CHICAGO AVE                     GOSHEN                IN 46528        (574) 533-2643      (574) 533-1511 fax
                    MIKE                                    X            C & L TOOL SUPPLY                            218 FLAUGHERTY RUN RD                  Coraopolis            PA 15108        (724) 457-4900      (724) 457-4904 fax
                                     Permanently
    X               CLYDE               Closed              X            C & W Repair                                 111 Astrachan Avenue                   Volga                 SD 57071        (605) 627-9291      (605) 627-9291 fax
    X               STAN                   X                X            C H Bull Company                             229 Utah Ave                           So San Francisco      CA 94080        (650) 871-8440      (650) 583-4006 fax
    X               JOHN                  U                 X            C H Bull Company                             511 Harbor Blvd                        West Sacramento       CA 95691        (916) 617-2656      (916) 617-2659 fax
                                                                         C H Reed Inc.                                301 Poplar St                          Hanover               PA 17331-2370   (717) 632-6582      (717) 632-6582 fax
    X           JERRY, TAMARA                               X            C K & W SUPPLY, INC.                         623 S. Peoria                          Tulsa                 OK 74120        (918) 583-9151      (918) 583-9169 fax
    X               SHARON                X                 X            C.H. Bull Co.                                229 Utah Avenue                        South San Francisco   Ca. 94080       (650) 837-8400      (800) 229-2855 fax
                      TONY                                  X            Cable Center                                 8318 Olive Blvd                        St Louis              MO 63132-2814   (314) 993-3099      (314) 432-8024 fax
                   CHRISTINA                                X            Cal Lab Co., Inc                             17035 Westview Ave.                    South Holland         IL 60473-2743   (708) 596-5800      (708) 596-5802 fax
                       BILL                                 X            Calandra Industrial Supply Co - Lancaster    192 Quarry Rd Se                       43130 - Lancaster     OH              (740) 653-0541      (740) 653-8312 fax
    X             TONY, JENNY             U                 X            California Service Tool                      3875 Baycenter Place                   Hayward               CA 94545        (510) 782-1000      (510) 782-1422 fax
    X               CAROLE                U                 X            California Service Tool Inc                  855 National Dr # 101                  Sacramento            CA 95834-1195   (916) 925-0247      (916) 925-0247 fax
                  BECKY, JOHN             U                 X            Caltronics                                   10491 Old Placerville Rd., Suite 150   Sacramento            Ca 95827        (916) 363-2666      (916) 361-1829 fax
                 DAVID/DEBBIE             U                 X            Camouflage Electric Inc                      460 Nw Concourse Pl Unit 11            Port St Lucie         FL 34986        (772) 340-0111      (772) 340-0560 fax
    X            Sheree Silvey           X,U                X            Campbell Supply Co                           911 Commercial St                      Waterloo              IA              (319)234-6613       (319) 395-0003 fax
                     CALVIN                                 X            Capital Equipment Sales, Inc.                1451 Lakeside Circle                   Salem                 VA 24153        (540) 387-0473      (540) 389-9937 fax
                                                                         Capital Lock Inc                             1302 Regent St                         Madison               WI 53715-1255   (608) 255-6977      (608) 255-6977 fax
    X                                                                    Capitol Drilling Supplies Inc                5440 Rock Hampton Ct                   INDIANAPOLIS          IN              (317)875-7601       (317) 872-2077 fax
                ARMANDO, ED               u                 X            Carbide Saw & Tool                           336 S Waterman Ave # P                 San Bernardino        CA 92408-1534   (909) 884-9956      (909) 381-0773 fax
                JANE BURNETT                                X            CARBIDE SAWS INC                             701 Garrison St                        High Point            NC              336-882-6835        (336) 882-7912 fax
                                                                         Carlton Scale                                7512 Taggart Ln                        Knoxville             TN 37938        (865) 938-5054      (865) 938-5054 fax
                   KATRINA                                  X            Carlton Scales                               120 Landmark Drive                     Greensboro            NC 27409        336-668-7677        (336) 668-3463 fax




                                                                                                                     Page 5
                          Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 6
                                                              of 27


Estab. Bus                          Prior Perm. /    Verified Info. /
Relations     Contact/Contacts         Update       Perm. To Fax Doc.                         Busniess                                 Address                           City            State/ZIP         Phone                   Fax
                                                                        Carolina Cutlery Service, Inc.             10920 Southern Loop Blvd                Pineville                 NC 28134        704-504-3955        (704) 504-3782 fax
                 HEATHER                                   X            Car-O-Lina Hearing Center                  118 s Kerr Ave # c                      28403-1425 - Wilmington   NC              910-452-4888        (910) 452-5301 fax
                  NICOLE                                   X            Carolina Scales Inc                        PO Box 8233                             Columbia                  SC 29202-8233   (803) 739-4360      (803) 739-4365 fax
    X               JIM                                    X            Carolina Tool Repair & Sales               807 Huffman St                          Greensboro                NC 27405        (336) 275-6124      (336) 275-4565 fax
               TOM DUNCAN                                  X            CARPENTER AVIONICS INC                     624-B FITZHUGH BLVD.                    SMYRNA                    TN              (615) 355-9970      (615) 459-0656 fax
                                       Number
    X              GARY             Disconnected           X            Carson's Nut Bolt & Tool CO                3829 Barringer Drive                    Charlotte                 NC 28217        (704) 927-0169      (704) 927-0176 fax
    X         JENNIFER, CHRIS            U                 X            Carson's Nut, Bolt & Tool Co., Inc.        522 Broadcast Blvd                      Spartanburg               SC 29303        (864) 585-9686      (864) 583-9931 fax
    X          GARY, Melodie             U                 X            Carson's Nut, Bolt & Tool Co., Inc.        301 Hammett St. Extension               Greenville                SC 29609        (864) 242-4720      (864) 242-6821 fax
                DON/LAUREL               U                 X            Carspecken-Scott                           1707 N. Lincoln St.                     Wilmington                DE 19806        302-655-7173        (302) 655-8971 fax
                REPAIR DEPT                                X            Cascade Automation Inc                     1702 28th St                            Springfield               OR 97477-7803   (541) 747-7979      (541) 747-8288 fax
                   KATHY                                   X            Casey Equipment Corp                       15 Union St                             Struthers                 OH              (330) 750-1005      (330) 750-1009 fax
                                                                                                                                                                                                     (972) 791-2286 or
                    MIKE                                   X            Cash Technologies Of America               4545 Fuller Dr # 340                    Irving                    TX 75038        (972)887-1286       (972) 887-1286 fax
                   DURAN                                   X            CashTrans                                  3286 Humphries Hill Road                Austell                   GA 30106        (800) 262-7995      (770) 941-6819 fax
                                                                        Casper Appliance Service                   341 West Yellowstone Highway            CASPER                    WY 82601 USA    (307) 577-0569      (307) 577-0569 fax
                                                                        CCF of Atlanta, Inc.                       500 Arnold Mill Way STE B               Woodstock                 GA 30188        (770) 664-6860      (520) 624-4199 fax
                    RECP.                                  X            CDE                                        1200 Williams Drive, Suite 1210         Marietta                  GA 30066        1-770-499-5000      (770) 499-5015 fax
    X             JEFF, JUDY             U                 X            Center Electric                            1212 South 30th Street                  Tacoma                    WA 98409-8097   (253) 383-4416      (253) 272-2323 fax
                    WAYNE                                  X            Central Lock & Key                         355 Central Ave # 7                     Lawrence                  NY 11559        (516) 569-5340      (516) 569-5305 fax
                 KEITH JONES                               X            Central Oklahoma Winnelson                 5037 NW 10th Street                     Dayton                    OH 45401        (405) 947-8761      (405) 947-1934 fax
                     GINA                                  X            Central Piedmont Safe & Lock               517 Wilshire Ave SW                     Concord                   NC 28025-6414   (704) 788-3215      (704) 795-5560 fax
                    KEVIN                                  X            Central Saw Works LLC                      410 N Freya St                          Spokane                   WA 99202        (509) 535-4621      (509) 535-4799 fax
                    PETER                                  X            Centre Plumbing Hardware                   233 Centre Street                       New York                  NY 10013        212-965-8038        (212) 925-8998 fax
    X           TOM MAJCEN                                 X            Centurion Tool & Supply Co                 3101 W. Hampden Ave.                    Englewood                 CO 80110-1823   (303) 534-4959      (303) 534-2410 fax
                   SHAWN                                   X            Century Business Technologies, Inc.        2908 S. Santa Fe                        Chanute                   Ks 66720        (620) 431-4811      (620) 431-4841 fax
                                                                        Century Labs II                            2802 Congressional Pkwy # G             Fort Wayne                IN 46808        (260) 471-0501      (260) 471-0501 fax
    X             MELISSA                U                 X            Chandler Equipment Sales                   1124 S Center St                        Mesa                      AZ 85210        480-964-1871
                   ERIC                  U                 X            Channell Communications                    6950 Hargrove Road E.                   Tuscaloosa                AL 35403        205-345-7477        (205) 349-5747 fax
    X              JEFF                  X                 X            Charles H. Day Co., Inc.                   602 S.E. 11th Ave.                      Portland                  OR 97214        (503) 232-1659      (503) 232-9821 fax
                  Celeste                U                 X            Charlie's Day & Nite Safe Lock & Key Sv    706 North El Dorado St.                 Stockton                  CA 95207        (209) 465 2667      (209) 467-4810 fax
                                                                        Chesterfield Service Heating & Cooling     243 Chesterfield Industrial Blv         Chesterfield              MO              (636) 532-5841      (636) 532-2378 fax
                                                                        Chicago Jack Service                       2000 S. 25th Ave, STE T                 Broadview                 IL 60155        708-681-1800        (708) 681-1900 fax
                   CARLOS                                  X            CIMA Technologies                          1035 Eastside Rd.                       El Paso                   TX 79915        (915) 775-1919      (915) 775-1929 fax
                                                                        CIRCLE D Lawn Equipment                    1043 Ronald Reagan Hwy                  Covington                 LA 70433        (985) 898-0905      (985) 893-8867 fax
    X          ROBERT, MARIA             X                 X            Circle Saw Builders Supply                 2510 Ella Blvd                          Houston                   Tx 77008        (713) 864-8444      (713) 864-6014 fax
    X                CLAY                X                 X            City Electric Motor Company Inc.           631 Kennedy Road                        Lexington                 KY 40511        (859) 254-5581      (859) 253-0121 fax
                      LIZ                                  X            City Sign Service                          424 Caredean Dr                         Horsham                   PA 19044        215-442-1323        (215) 442-1328 fax
             DAVID / COLORADO            U                 X            CLARK HYDRAULIC SERVICE, INC.              2901 Confederate Blvd.                  Little Rock               AR 72206        (501) 375-1252      (501) 375-0706 fax
    X            JOHN, BRIAN             U                 X            Clark's Tool                               74 E. 69 Highway                        Kansas City               MO 64119        (816) 452-7873      (816) 452-0819 fax
    X         Close this Location        U                 X            Clark's Tool                               2907 W Broadway Blvd                    Sedalia                   MO 65301        (660) 826-3100      (660) 826-4597 fax
                     # NG           BAD # 2/21                          Cleaning Equipment Supplies                2701 SW 69th Ct                         Miami                     FL 33155        (305) 264-8430      (305) 264-8430 fax
                     Grant              U                  X            Clearwater Lock & Safe Co - Clearwater     PO Box 1437                             Clearwater,               FL 33757        (727) 799-7300      (727) 446-5625 fax
                     BARB                                  X            Clive Power Equipment                      7600 University Ave                     Clive                     IA 50325-1268   (515) 279-2296      (515) 279-3305 fax
                   ANNETTE                                 X            CMC Business Systems                       8000 W Us Highway 80                    Midland                   TX              432-563-1642        (432) 563-9397 fax
    X          DONNA / RICHIE            U                 X            CMI Equipment Corp.                        836 Hwy. 36                             Hazlet                    NJ 07730        (732) 739-2122      (732) 888-1857 fax
    X            JOSE, ALBERT            U                 X            CMS Industrial Equipment Company           6112 N. Mesa St. # 127                  El Paso                   TX 79912        (866) 566-0222      (915) 228-3777 fax
                                                                        CNC Machining Service                      1130 E. Acequia Ave                     Visalia                   CA 93292-6557   (559) 732-5599      (559) 732-7393 fax
             DENNIS MCLOUD                                 X            Coast Safe and Lock Inc.                   457 Dauphin Island Pkwy                 Mobile                    AL 36660-1257   (251) 479-5264      (251) 471-6967 fax
                JAMES/ LISA              U                 X            Coastal Tool & Supply Corp                 571 New Park Avenue                     West Hartford             CT 06110        (860) 233-8213      (860) 233-6295 fax
    X          COLTON, DON               X                 X            Coeur D'Alene Power Tool                   451 Cherry Ln                           Coeur D Alene             ID 83815        (208) 667-1158      (208) 765-1818 fax
                    NORA                                   X            Cohen's Key Shop Inc.                      127 Fitch Street                        New Haven                 CT. 06515       (203) 397-3528      (203) 389-8249 fax
               DIANE, MARGIE                               X            Coin Val Parts                             813-A Professional Place W. Suite 106   Chesapeake                VA 23320        (800) 486-1020      (757) 547-4772 fax
                  CHRISTINE                                X            Colonial Tools & Equipment                 33 Commerce Street                      Springfield               NJ 07081        (973) 376-3111      (973) 376-8788 fax
    X                ROB                 U                 X            Colony Hardware                            369 Industrial Blvd                     Naples                    FL 34104        (239) 643-3500      (239) 643-6554 fax
    X            JOSH/DAVE               U                 X            Colony Hardware                            9950 Business Park Way                  Lanham                    MD 20706        (301)967-2844       (301) 967-0218 fax
                                                                        Colony Hardware
    X           FRED, Logan              U                 X            Formerly: J J Hammond Co                   1037 Mckinley Ave                       Columbus                  OH              (614)228-8448       (614) 228-5445 fax
             JOHN DUNN, ALLEN            X                 X            Colorado Garage Door Svc Inc               4235 Thompson Ct                        Denver                    CO 80216-4005   (303) 292-3667      (303) 292-6529 fax
                  LOUISE                                   X            Command Systems Inc                        10 Ann St # 10                          Oakmont                   PA 15139-2005   (412) 820-9132      (412) 820-9134 fax
                                                                        COMMERCIAL ELECTRONICS INC                 209 E Jackson St,                       GATE CITY                 VA 24251-3421   (276) 386-9591      (276) 386-6615 fax




                                                                                                                  Page 6
                             Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 7
                                                                 of 27


Estab. Bus                                Prior Perm. /     Verified Info. /
Relations       Contact/Contacts             Update        Perm. To Fax Doc.                        Busniess                             Address                             City           State/ZIP         Phone                 Fax
                                                                               Commercial Kitchen Repair             1377 North Brazos                        San Antonio               TX 78207        (210) 735-8211    (210) 735-7421 fax
                                                                               Complete Copier Svc                   6101 Idlewild Rd # 214                                             NC              (704) 535-9520    (704) 535-7929 fax
                                                                               Compucal Business Systems             520 8th Ave, # 201                       New York                  NY 10018        (212) 695-7717    (212) 268-6952 fax
                      RICK                                        X            Compu-Lock                            85 Vernon St                             Norwood                   MA 02062-2103   (781) 440-9900    (781) 440-9903 fax
                SAM, LISA, DANNY               U                  X            Concord Locksmith                     2228 Concord Blvd                        Concord                   CA 94520-2107   (925) 689-1534    (925) 689-0911 fax
    X           GERRY OR WAYNE                X,U                 X            CONNECTIVE SYSTEMS & SUPPLY INC       5718 Wright Dr.                          Loveland                  CO 80538        (970) 663-0304    (970) 663-2012 fax
                                                                               Consignment Tools                     209 East Ben White Boulevard Suite 109   AUSTIN                    TX 78704 USA    (512) 444-2825    (512) 444-2825 fax
    X                RICK / JIM                U                  X            Construction Equipment                4817 N. 56th suite 34                    Lincoln                   NE 68521        (402) 474-7700    (402) 474-0141 fax
    X                  NANCY                   U                  X            Construction Rentals & Supply         5601 Grand Ave                           Neville Island            PA 15225-1200   (412) 269-9109    (412) 269-9168 fax
    X                 JR. TOM                  U                  X            Construction Tool & Supply            5213 S 30th St # C300                    Phoenix                   AZ 85040        (602) 323-2807    (602) 323-2810 fax
                        Zach                                      X            Construction tool & supply            2520 Winford Avenue                      Nashville                 TN 37211        615-256-3671      (615) 242-4702 fax
    X        JACQUES / RALPH YANEZ             U                  X            CONSTRUCTION TOOL SERVICE INC         3500 LIBERTY AVE                         PITTSBURGH                PA 15201-1325   (412) 681-6673    (412) 681-9185 fax
                       ADAM                                       X            Contractors & Indl Supply Inc         3304 Salem Tpke Nw                       Roanoke                   VA 24017        (540) 342-5348    (540) 345-8227 fax
    X                  AARON                   X                  X            Contractors Choice                    2070 Schappelle Ln                       Cincinnati                OH 45240        (513) 851-9070    (513) 851-9017 fax
    X        JESSE, SHELLY Z., JOHN Z.        X,U                 X            Contractors Supply Inc —TOOL TECH     225 Mariposa St                          Denver                    CO 80223-1319   (303) 825-8555    (303) 623-9483 fax
                       OMAR                    U                  X            Controlled Key Systems, Inc.          17248 Red Hill Ave                       Irvine                    CA 92614        (949) 756-1121    (949) 756-1143 fax
                       ROGER                                      X            Cook Iron Store Co., Inc.             P.O. Box 31237                           Rochester                 NY 14603-1237   (585) 454-5840    (585) 325-4465 fax
                      MARCIE                   U                  X            Cook´s Saw Manufacturing, LLC         160 Ken Lane                             Newton                    AL 36352        (334) 692-5074    (334) 692-3704 fax
                        AMY                                       X            Copier Sales & Svc Inc                8610 Farrow Rd                           Columbia                  SC 29203-9235   (803) 699-0222    (803) 699-0210 fax
                        MATT                                      X            Copiers Etcetera Inc                  15712 Mill Creek Blvd # 11               Mill Creek                WA 98012-1573   (425) 486-2679    (425) 379-5897 fax
                                                                               Copiers Plus                          3112 Fire Rd # C                         Egg Harbor Twp            NJ 08234-5859   (609) 645-1535    (609) 645-1535 fax
                     DAN K.                                       X            Cornelius Systems Inc                 3966 11 Mile Rd                          Berkley                   MI 48072-1005   (248) 545-5558    (248) 545-5557 fax
    X                 SEAN                     U                  X            cornerstone tool & fasteners          1110 Stuckey St                          Tallahassee               FL 32310        850-580-1200      (850) 580-1225 fax
    X                  JEFF                    X                  X            COUGAR ELECTRONICS & TOOL REPAIR      622 BROADWAY                             LONG BRANCH               NJ 07740        (732) 870-3302    (732) 870-8794 fax
                     GRACIE                                       X            Cowart Door                           204 W Powell Ln Bldg 2 B                 Austin                    TX 78753        (512) 459-3467    (512) 459-7469 fax
                     ALECIA                                       X            Cozzini Brothers Inc                  1919 Premier Row                         Orlando                   FL              (407) 888-2331    (407) 888-2257 fax
                     NANCY                                        X            Crawford's SAW & Tool Inc             120 Biblebrook Dr                        Greer                     SC 29651-2712   (864) 877-5828    (864) 877-5879 fax
                      MAY                                         X            Crc Inc Of Louisiana                  11684 Darryl Dr                          Baton Rouge               LA 70815        (225) 275-8810    (225) 273-4512 fax
                      JULIE                                       X            Creative Awnings & Shelters, Inc.     1792 North 42nd Street                   Springfield               OR 97477        (541) 988-1099    (541) 988-3502 fax
                     CURTIS                                       X            CROSSCOM NATIONAL LLC                 900 DEERFIELD PKWY                       BUFFALO GROVE             IL 60089        (847) 520-9200    (847) 520-9540 fax
                                                                               Cunningham Overhead Door              2133 Frankfort Ave                       Louisville                KY 40206        (502)897-5700     (502) 897-5793 fax
                  REPAIR DEPT.                                    X            Current Office Solutions.             211 West High St, Bryan                                            OH 43506        (888) 930-3999    (419) 636-9222 fax
                     TODD                                         X            CURT’S LOCK & KEY SVC                 1102 Main Ave                            Fargo                     ND 58103        (701) 232-9440    (701) 232-9446 fax
                                                                               CW Copier Service                     4553 Technology Dr #1                    28405-2134 - Wilmington   NC              (910) 791-4480    (910) 791-4480 fax
                                                                                                                                                                                                        714-632-5100 or
    X                ANDY                #,s not working          X            D & D Tool & Supplies                 1122 N Kraemer Pl,                       Anaheim                   CA              619-276-9199      (619) 276-9199 fax
    X          Permanently Closed                                              D & S Repair Service                  20 South Dove St.                        Alexandria                VA 22314        (703) 683-0009    (703) 683-6719 fax
                    AHMED                                         X            D C Martin & Sons Scales              370 36th St SE                           Grand rapids              MI              (616) 451-2079    (616) 451-4407 fax
                    CASSIE                                        X            D J Fastener Supply                   2431 W Superior St Duluth                Duluth                    MN 55806        218-722-3014      (218) 722-7842 fax
                                         PERMANENTLY
    X                 ANDY                  CLOSED                X            D&D Tool and Supply                   1445 Engineer St Ste 110                 Vista                     CA 92081        (760) 510-9968    (760) 510-9677 fax
                                                                               Dacorta Bros Hardware Incorporated    9107 Astoria Blvd                        East Elmhurst             NY 11369        (347) 399-1111    (718) 898-1756 fax
                     RAFAEL                    U                  X            Dade Lock & Key                       5804 Bird Rd                             Miami                     FL 33155        (305) 666-3446    (305) 666-1015 fax
                                                                               Dakota Fluid Power Inc                3500 N Saint Paul Ave                    Sioux Falls               SD 57104-7019   (605) 332-0988    (605) 332-0988 fax
                                                                               Dakota Hydra-power                    1724 40th Ave Se                         NORTH-DAKOTA state        ND 58554-4664   (701) 663-9878    (701) 663-0223 fax
                     CHUCK                                        X            DAVE & HARRY LOCKSMITHS               116 E. University Ave.                   Champaign                 IL 61820        (217) 352-5034    (217) 352-3505 fax
                                          permanently
    X                   DON                  closed               X            Dave's Tool Repair                    2392 S Highway 97 # 5                    Redmond                   OR 97756        (541) 548-0510    (541) 923-5431 fax
                    MR. DAVIS                                     X            Davis Appliance Repair                4024 Trolley Line Rd                     Aiken                     SC 29801-2746   (803) 648-3725    (803) 648-9407 fax
    X                  JOAN                    X                  X            DAVIS TOOL CO.                        2921 S Main D                            Santa Ana                 CA 92707        (714) 549-7836    (714) 549-0362 fax
                       JOHN                                       X            Davison Tool Svc Inc                  236 Mill St                              Davison                   MI              (810) 653-6920    (810) 653-6138 fax
                     TERRESA                                      X            Dawson Safe and Lock                  26309 Interstate 45                      The Woodlands             TX 79401-4937   (281) 364-0500    (281) 292-0911 fax
                        BILL                                      X            Day and Nite Doors                    370 E. Orangethorpe Ave.                 Placentia                 Ca. 92870       (888) 743-0056    (714) 961-1140 fax
                        JIM                                       X            DAYTON TOOL CRIB                      3348 Needmore Rd.                        Dayton                    OH 45414        (937) 233-5741    (937) 233-9516 fax
                      ASHLEY                   U                  X            Dbk Concepts Inc                      12905 SW 129rh Ave                       Miami                     FL 33186        (305) 596-7226    (305) 596-7222 fax
    X              Josh, OSCAR                 U                  X            DC Battery Specialists                7415 N.E. 1st Place                      Miami                     FL 33138        305-758-5041      (305) 758-3469 fax
                                         PERMANENTLY
    X                CEASAR                 CLOSED                X            De Walt Industrial Tool Co            2930 Capital Blvd                        Raleigh                   NC 27604-3235   (919) 878-0357    (919) 878-0915 fax
                                          Permanently
    X                  JIM                   Closed               X            De Walt Industrial Tool Co            1650 Miller Park Way                     Milwaukee                 WI 53214-3604   (414) 645-4285    (414) 645-4287 fax
                       JOE                     U                  X            Dedge’s Lock & Key Shop, Inc          4579 Lenox Ave.                          Jacksonville              FL 32205        (904) 387-2656    (904) 389-1329 fax




                                                                                                                    Page 7
                          Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 8
                                                              of 27


Estab. Bus                       Prior Perm. /     Verified Info. /
Relations    Contact/Contacts       Update        Perm. To Fax Doc.                       Busniess                                       Address                              City                State/ZIP         Phone                  Fax
                 DWIGHT                                  X            Delco Tools & Equipment                          Sw 11th St,s Agnew Ave                   Oklahoma City                OK -             (405) 235-8665     (405) 235-8667 fax
                   MIKE                                  X            Delegard Tool Co.                                4900 Campbell Road                       Houston                      TX 77041         (713) 688-4280     (713) 688-4398 fax
                  RYAN                                   X            Delegard Tool Company                            9141 Lyndale Ave So.                     Bloomington                  MN 55420         (952) 881-8683     (952) 884-5030 fax
              IAN ENG. DEPT                              X            DELTROL Fuid Products                            700 Le Bourge Dr.                        St. Louis                    MO               (314) 427-0600     (314) 427-3502 fax
                 SHERRY               U                  X            Desco Manufacturing Co                           23031 Arroyo Vista                       Rancho Santa Margarita       CA 92688         (949) 858-7400     (949) 858-9141 fax
                  GARY                                   X            Desert Scales & Weighing Equipment               1704 W Linden St                         Phoenix                      AZ 85045         (602) 258-5272     (602) 275-7582 fax
    X               TY                                   X            Detroit Jack & Tool Service Inc.                 2285 Indiandale                          Detroit                      MI 48238         313-867-2100       (313) 867-0033 fax
                                 Permanently
    X             FABIO             Closed               X            DeWalt                                           4343 South State Rd. 7 (441) Unit #107   Davie 33314                  FL               (954) 321-6635     (954) 321-6638 fax
                                 Permanently
    X                               Closed                            DEWALT                                           3408 Merle Hay Rd                        Des Moines                   IA               (515) 270-1340     (515) 276-9434 fax
                                 Permanently
    X              EY               Closed               X            DeWalt                                           6485 Pearl Road                          Parma Heights                OH 44130         (440) 842-9100     (440) 884-3430 fax
                                 Permanently
    X                               Closed                            DeWalt                                           746 Fesslers Ln                          Nashville                    TN               (615) 242-1633     (615) 242-8336 fax
    X             BRIAN               U                  X            DeWalt / Porter Cable Service                    5565 S Decatur Blvd,                     Las Vegas                    NV - 89118       (702) 889-6025     (702) 889-6030 fax
                                 Permanently
    X             SEAN              Closed               X            DEWALT FACTORY SVC                               5760 Northampton Blvd # 110              Virginia Beach               VA               (757) 363-0091     (757) 363-7512 fax

                                Not a working #                       DeWalt Industiral Tool Company                   4001 E Broadway Rd Ste B11               Phoenix                      AZ - 85040       (602) 279-6414     (602) 437-2200 fax
                                 Permanently
    X            CHRISTY            Closed               X            DeWalt Industrial Tool Co                        2982 28th St SW                          Grandville                   MI               (616) 261-0425     (616) 261-0432 fax
                                 PERmanently
    X         MIKE SHULTZ            closed              X            DEWALT INDUSTRIAL TOOL CO                        11414 E 51st St                          Tulsa                        OK 74146         (918) 249-8641     (918) 249-8676 fax
                                 Permanently
    X             STEVE             Closed               X            DeWalt Industrial Tool Co                        1638 6th Ave                             Charleston                   WV 25312-2424    (304) 343-0289     (304) 343-0715 fax
                                PERMANENTLY
    X            CARLOS             CLOSED               X            DeWalt Industrial Tool Company                   213 Us Highway 46                        Elmwood Park                 NJ 07407         (201) 475-3524     (201) 475-3526 fax
    X             Diego               U                  X            DeWalt Industrial Tool Company                   3120 W California Ave Suite E            Salt Lake City               UT 84104         (801) 486-5828     (801) 486-5848 fax
    X          ARMANDO                 u                 X            DeWalt Porter Cable Service                      2100 Airport Way S                       Seattle                      WA 98134         (206) 763-2010     (206) 763-1948 fax
    X                            SITE CLOSED             X            DeWalt Service Center                            732 Lakeside Dr                          Mobile                       AL 36693         (251) 602-1000     (251) 602-1100 fax
                                 Permanently
    X                               Closed                            Dewalt service center                            30475 Stephenson Highway (Detroit)       Madison Heights              MI 48071         (248) 597-5000     (248) 597-5004 fax
    X             Harry               U                  X            Dewalt Service Center                            5617 Queens Blvd                         Woodside                     NY 11377         (718) 779-8810     (718) 779-8810 fax
                                PerMANENTLY
    X          RHONDA              CLOSED                X            DeWalt Service Center                            2310 E Sharon Rd                         Cincinnati                   OH 45241         (513) 772-3111     (513) 772-0654 fax
    X        HENRY / WADE            U                   X            Dewalt Service Center                            1218 Arion Parkway Suite 114             San Antonio                  TX 78216         (210) 732-1221     (210) 732-6147 fax
    X           CHUCK                U                   X            DEWALT SERVICE CENTERS                           9201 Quivira Road                        Overland Park                KS 66214         (913) 495-4330     (913) 495-4378 fax
    X            Kenneth              U                  X            DeWalt/Portercable/Delta Svc                     1300 N Interstate 35 E Ste 112           Carrollton                   TX 75006         (972) 446-2996     (972) 446-8157
             Madeline/ Emily          U                  X            Dex Imaging                                      4827 Pembroke Rd                         Hollywood                    FL               (954) 966-9700     (954) 981-0745 fax
                                                                      DGM Controls                                     1416 Elliott Ave. W                      Seattle                      WA 98119         (206) 284-6919     (206) 284-5243 fax
    X              JILL              X,U                 X            Diamond Electric Motor & Tool                    1465 S 300 W                             Salt Lake City               UT 84115-5103    (801) 484-7541     (801) 484-7541 fax
                                                                      Diamond Knife & Shear                            10942 Wye Dr Ste 207                     San Antonio                  TX 78217-2649    (210) 650-3343     (210) 650-0039 fax
                                                                      Diamond Lock Svc                                 224 s 15th Ave                           23860-3731 - Hopewell city   VA               (804) 541-2585     (804) 541-1102 fax
                  Danny               U                  X            Dib's Safe & Lock                                342 W 6th St                             San Bernardino               CA 92401         (909) 885-0452     (909) 885-1933 fax
                                                                                                                                                                                             UT 84015-1733    8017731835or8017
                  JEAN                                   X            Dick Kearsley Svc Ctr                            520 S State St                           Clearfield                   (84015)          734836,            (801) 773-1835 fax
                                                                      Diebold                                          5995 Mayfair Rd                          North Canton                 OH 44720-1550    (330) 490-5794     (330) 490-5794 fax
                                                                      Diesel Electrical Equipment Co - Susan Pappas
                                                                      Gregroy, Martha Simpson                          139 N Griffith Blvd                      Griffith                     IN 46319         (219) 922-1848     (219) 922-1849 fax
                  Allen                                  X            DIGITAL IMAGING SVC INC                          5010 Us Highway 19,                      Palmetto                     FL               941-721-6012       (941) 721-1932 fax
    X               X                 X                  X            Direct Tools & Fasteners                         1710 Standard Ave                        Glendale                     CA 91201-2010    (818) 500-7358     (818) 500-7358 fax
                                                                      DIVERSIFIED HOME SVC INC                         4431 20th St NW                          Canton                       OH               (330) 478-5272     (330) 478-1424 fax
                  MIKE                U                  X            Dixie Construction Products                      970 Huff Rd.                             Atlanta                      GA               (404) 351-1100     (404) 350-2359 fax
               FRONT DESK                                X            Dixie Lock/Safe Servie                           7920 Gulf Freeway                        Houston                      TX 77017         (713) 643-5767     (713) 643-3243 fax
                                                                      DLOW REPAIRS                                     115 CHURCH ST                            O'FALLON                     MO 63366         (636) 978-7573     (636) 294-1567 fax
    X            Winston              U                  X            DMH Industrial Electric                          2701 Hewitt Ave                          Everett                      WA 98201         (425) 259-3124     (425) 339-8427 fax
    X         BECKY / JAMES           U                  X            Doc's Electric Motor Repair                      6419 Table Rock Rd                       Central Point                OR 97502         (541) 830-0505     (541) 830-0205 fax
                  DEAN                                   X            Dolphin Machine                                  2939 Brooks Park Dr                      North Las Vegas              NV 89030-3956    (702) 642-0075     (702) 642-1006 fax
                  CHRIS               U                  X            Domen Lawnmower                                  8470 Cerritos Ave Ste M                  Stanton                      CA 90680         (714) 527-2430     (714) 527-6603 fax
    X             VICKY               U                  X            Door Control Svc Inc                             321 Vz County Road 4500                  Ben Wheeler                  TX 75754         (903) 833-111      (903) 833-1020 fax




                                                                                                                      Page 8
                             Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 9
                                                                 of 27


Estab. Bus                            Prior Perm. /    Verified Info. /
Relations       Contact/Contacts         Update       Perm. To Fax Doc.                        Busniess                                        Address                      City            State/ZIP         Phone                    Fax
                JOHNNY, MIGUEL             U                 X            Door-Man                                         910 Hoover Ave.                  National City              CA 91950         (619) 474-3667       (619) 474-7413 fax
                                                                                                                                                                                                        (941)355-4546 or
                      NG#                                                 DOS Imaging                                      1225 Tallevast Rd                Sarasota                   FL               (941)355-7857        (941) 355-7857 fax
                   HEATHER                                   X            Doug's Appliance Service                         1711 E 5th St                    Lumberton                  NC 28358         (910) 738-7112       (910) 738-3115 fax
                     GLEN                                    X            Dover Flexo Electronics, Inc.                    217 Pickering Rd.                Rochester                  NH 03867         Ph:603-332-6150      (603) 332-3758 fax
                  MR. DOWNS                                  X            DOWNS Safe & Lock Co.                            1846 Cheshire Bridge Road        Atlanta                    GA 30324         (404) 873-2515       (404) 873-4581 fax
                    JACKIE                                   X            Dre Bo America Inc - Coal Center                 500 Technology Dr                15423-1054 - Coal Center   PA               (724) 938-3056       (724) 938-0692 fax
                                                                          DTE INC.                                         110 Baird Parkway                Mansfield                  OH 44903         (419) 522-3428       (419) 522-3568 fax
                   OK TO FAX                                 X            Du Page Security Solutions Inc                   603 S Addison Rd                 Du Page                    IL               (630)530-1300        (630) 530-7935 fax
                JEFF HAMMAKER                                X            Duotech                                          245 Industrial Park Rd.          Franklin                   NC 28734         (828) 369-5411       (828) 369-5412 fax
    X             C. Rodriguez             X                 X            Duran York Hydraulic Sv                          515 N. Hackberry                 San Antonio                TX 78202         210-224-5271         (210) 224-5250 fax
                     Randy                 U                 X            Duthie Power Service                             2335 E Cherry Industrial Cir     Long Beach                 CA 90805-4416    (800) 394-7697       (562) 790-8230 fax
                                                                          Dynamic Fastener Svc                             9911 E 53rd St                                              KS               (816) 358-9899       (816) 358-9899 fax
                     LOUIE                                   X            DYNAMITE TOOL CO INC                             1551 Smithtown Ave               Bohemia                    NY               631-563-8181         (631) 563-8928 fax
                                                                          Dynatech Electronics Inc                         4 Mill Dr                        Harlan                     KY 4831          (606) 573-7499       (606) 573-7466 fax
                     TYLER                                   X            Dyna-Tech Generators                             602 E Evergreen Rd               Lebanon                    PA 17042-7925    (717) 274-8934       (717) 274-8934 fax
                                                                          E T Industrial Supply Company, Inc.              3208 B Mike Padgett Highway      Augusta                    GA 30906         (706)-771-1980       (706) 771-1982 fax
                     GRACE                                   X            E/c Vibration & Balancing Svc                    726 Lunt Ave # C                 Schaumburg                 IL 60193-4476    (847) 352-7076       (847) 352-8231 fax
                     JAMES                                   X            East Cooper Lock & Safe Inc                      1545 Johnnie Dodds Blvd          Mt Pleasant                SC 29464-3209    (843) 881-2044       (843) 884-1151 fax
                                                                          East Tennessee Scale Works                       10000 Martel Rd                  Lenoir City                TN 37772-4362    (865) 986-8309       (865) 986-8309 fax
                     TOM                                     X            Eastern Industrial                               2231 Jericho Turnpike            Garden City                NY 11040         (516) 741-3198       (516) 739-3205 fax
                 REPAIR DEPT.                                X            Eastland Industries Inc                          4115 Washington Blvd             Hillside                   IL 60162-1126    (708) 547-6500       (708) 547-9059 fax
    X             MIKE, SUSAN             X,U                X            Eastside Saw                                     12880 Bel Red Rd                 Bellevue                   WA 98005         (425) 454-7627       (425) 454-6735 fax
                   AMANDA                                    X            Eastway Lock & Key, Inc.                         3807 Monroe Rd.                  Charlotte                  NC 28205         (704) 347-1088       (704) 347-0596 fax
                     MARK                                    X            EBN                                              1701 E. Columbia St.             Evansville                 IN 47711         812-477-0077         (812) 479-0100 fax
    X              Kerry Page              X                 X            Edge Construction Supply                         760 W Broadway St                Idaho Falls                ID 83402         (208) 522-7082       (208) 529-5456 fax
    X              Kerry Page              X                 X            Edge Construction Supply                         5419 Maynard Ave S               Seattle                    WA 98108         (206) 764-9488       (206) 764-9487 fax
    X            DANIEL / GABE             U                 X            EDMOND TOOL REPAIR                               552 E Memorial Rd                Oklahoma City              OK               (405) 752-2655       (405) 752-8360 fax
                                                                          EEU Inc                                          705 W Jones St                   Savannah                   GA 31401-3116    (912) 233-4355       (912) 233-4355 fax
    X         Wali Butt, Lisa Smith        U                 X            EIS INC- Vendor                                  1524 W 14th St # 106             Tempe                      AZ 85281-6974    (602) 325-3900 or direct To Walli :(678)-255-3630
    X            JANETTE, JOE             X,U                X            Electric Motor Co                                3433 Stanford Dr NE              Albuquerque                NM 87107         (505) 881-4077       (505) 881-6964 fax
    X          CATHY, SARAH H             X,U                X            Electric Motor Service                           1514 E Commerce St               San Antonio                TX 78205         (210) 226-3462       (210) 226-8228 fax
    X               SHELBY                 U                 X            Electric Motor Svc Of Shelby                     1143 Airport Rd                  Shelby                     NC 28150         (704) 482-9979       (704) 482-0904 fax
    X           DORIS / SCOTT              U                 X            electric panda sales corp.                       169 Main St.                     Everett                    MA 02149         (617) 389-1442       (617) 389-6823 fax
    X                LARRY                 X                 X            Electric Tool & Svc Co Inc                       19442 Conant St                  Detroit                    MI 48234         (313) 366-3830       (313) 366-1855 fax
    X          JEFF / MATTHEW              U                 X            Electrical Equipment Repair                      1330 e 2nd St                    42303-0160 - Owensboro     KY               (270) 684-5357       (270) 684-7709 fax
                                                                          Electrical Testing & Maintenance Corp.           3673 Cherry Road, Suite 101      Memphis                    TN 38118         (901) 566-5557       (901) 566-1605 fax
                     SCOTT                                   X            Electrical Testing Inc                           205 Evergreen St SW              Rome                       GA 30161         (770) 445-4993       (706) 236-9028 fax
                                                                          Electro Lab Services                             517 N. FULTON AVE                EVANSVILLE                 IN 47710         812-423-5211         (812) 421-3689 fax
                                                                          Electro Tech, Inc. Previously Electric Motors
    X                                      U                              Unlimited                                        1000 Jonathon Dr                  Madison                   WI 53713         (608) 271-2311      (608) 271-5152 fax
    X               SUSAN                 X,U                X            Electronic Balancing Company                     660 East D Street                 Wilmington                CA 90744         (310) 830-4995      (310) 830-2447 fax
                                                                          Electronic Office Systems Inc                                                   10 MISSOURI                  MO 64081-3130    (816) 358-7020      (816) 358-7119 fax
                                      PERMANENTLY
    X                                    CLOSED              X            Electronic Services Inc                          7700 Westbank Exp.               Westwego                   LA 70094         504 436 2596        (504) 436-2599 fax
                                                                          Electronic Systems Inc                           361 Southport Cir                Virginia Beach             VA 23452         (757) 497-2095      (757) 497-2095 fax
                    DANNY                                    X            Electronics Repair Center                        4069 Waterlick Rd,               Forest                     VA 24551-1556    (434) 525-1758      (434) 525-5226 fax
                    HARVEY                                   X            Elmer & Son Locksmiths - Steger                  3001 Chicago Rd                  60475-1053 - Steger        IL               (708) 755-5273      (708) 755-5283 fax
                                                                          Emc Electro Mechanical                           411 S Dawson St                  Seattle                    WA 98108         (206) 767-9307      (206) 767-8294 fax
             TONY /PEGGY / JOCELYN         U                 X            Empire Hydraulic Svc                             37 W Iron Ave                    Mesa                       AZ 85210         (480) 633-4700      (480) 633-4719 fax
                  STEVE, PAUL              U                 X            Empire Mowers                                    22410 Alessandro Blvd            Moreno Valley              CA 92553-8319    (951) 697-6688      (951) 697-6687 fax
                    LORENA                 U                 X            Enforcement Electronics                          3705 Century Blvd.               Lakeland                   FL 33811         863-646-7009        (863) 644-3325 fax
                                                                          Engine Service & Supply                          1902 Andrews Hwy                 Odessa                     TX 79761-1193    (432) 337-0181      (432) 337-0181 fax
                                                                                                                           2780 Courier Dr NW               Grand Rapids                                6167352252 or
                     ROBIN                                   X            Engineered Tooling Systems Inc,                                                                              MI               6167350077          (616) 735-2252 fax
                 CINDY, JIMMY                                X            Ensco Supply Co                                  4344 Federal Dr # 104            Greensboro                 NC               (336) 292-9000      (336) 292-7162 fax
                      BRAD                                   X            Environmental Protection SV                      4 Industrial Park Drive          Wheeling                   WV 26003         (304) 232-1590      (304) 232-1599 fax
                   ROY, Vicky              U                 X            Eric's Industrial Supplies Inc                   5490 NW 161st St                 Hialeah                    FL 33018         (305) 620-3588
    X         KEVIN, ERNIE, Nathan         U                 X            Ernie's Tool & Specialty                         20 South Dixie Hwy               St. Augustine              FL 32084         (904) 829-5712      (904) 829-6111 fax
    X             GLENN, SKY               U                 X            Escambia Electric Motor                          1101 W Main St                   Pensacola                  FL 32505         850-432-1577        No longer wants to recieve faxes. (850) 438-9544 fa
                     Tammy                 U                 X            ESCO                                             13901 Lynmar Blvd                Tampa                      FL               (800) 237-9710      (813) 855-1649 fax




                                                                                                                          Page 9
                                     Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 10
                                                                          of 27


  Estab. Bus                                         Prior Perm. /     Verified Info. /
  Relations              Contact/Contacts               Update        Perm. To Fax Doc.                         Busniess                                           Address                     City       State/ZIP         Phone                  Fax
                         OK TO FAX RECP                                      X            ETNA SUPPLY COMPANY                                 4901 Clay Avenue SW               Grand Rapids          MI 49548        (616) 241-5414    (616) 241-4786 fax
      X                   HEATHER, JULIE                  X                  X            Eurton Electric                                     9920 Painter Ave                  Santa Fe Springs      CA 90670        (562) 946-4477    (562) 946-0014 fax
                             SUMMER                                          X            Evergreen Marketing Group                           126 Calvary St.                   Waltham               MA 02454        (781) 899-0790    (781) 899-2482 fax
                               TRISH                                         X            expo service insuance                               285 Mill Rd                       Chelmsford            MA 01824        (978) 367-5600    (978) 367-5700 fax
      X                MISSY / STEVE HALLER               U                  X            F&M Mafco                                           9149 Dry Fork Rd,                 Harrison              OH - 45030      (513) 367-2151    (513) 367-0363 fax
                           FRONT DESK                                        X            FARMINGTON SAFE & LOCK CO                           6105 E Main St                    Farmington            NM 87402        (505) 327-3888    (505) 327-0659 fax
                                                                                          Fast Frame                                          615 S Randall Rd # 109            ILLINOIS state        IL 60174-1564   630-443-7255      (630) 443-7256 fax
                             GRANT                                           X            Fastco of Charlotte                                 5201 Nations Ford Rd              Charlotte             NC 28217        (704) 525-6401    (704) 525-2319 fax
                           FRONT DESK                                        X            Fastenal                                            3244 union Rd                     Cheektowaga           NY 14227        (716) 684-2293    (716) 684-2294 fax
      X                    CODY, Sarah                    U                  X            Fastenal                                            561 Cleveland St.                 Elyria                OH 44035        (440) 365-4955    (440) 365-4956 fax
                  ANGIE, RACHEL, TERESA, PHILLIP,
      X                      MICHAEL                      U                  X            Fastenal                                            940 W. Wilbeth Rd.                Akron                 OH 44314        (330) 745-5000    (330) 745-5011 fax
      X                    LAURA, Ryan                    U                  X            Fastenal                                            2949 Hoover Road                  Stevens Point         WI 54481        (715)344-4410     (715) 344-5453 fax
                              ZACK                                           X            Fastener's Inc                                      1605 Progress Dr.                 Madison Heights       MI 48071        (248) 542-5400    (248) 582-9033 fax
                            MONTELL                       U                  X            Fastframe                                           13401 Ventura Blvd # 102          SHERMAN OAKS          CA              (818) 784-3222    (818) 784-3299 fax

                               # NG                 Out of Buisness                       Fax Chance Network, Inc.                            317 Raleigh St                    Orlando               FL 32806        (407) 382-4996    (407) 658-1510 fax
                             VALERIE                                         X            FEDERAL EQUIPMENT                                   2029 9th Ave                      Ronkonkoma            NY              631-467-9400      (631) 467-8249 fax
                             EVONNA                                          X            Federal Lock & Safe Inc                             5130 Wilson Boulevard             Arlington             VA 22205        (703) 525-1436    (703) 525-1637 fax
                              TONY                                           X            FELTS LOCK & ALARM CO., INC.                        P.O. Box 5707                     Evansville            IN 47716-5707   (812) 473-4000    (812) 477-2690 fax
                             DORTHY                                          X            Fenton Sew-N-Vac & Janitorial Suplly                180 Gravois Bluffs Cir            Fenton                MO              (636) 343-8088    (636) 343-0609 fax
                             ROBERT                                          X            Fibrenetics Inc.                                    2 Cutters Dock Road, PO Box 632   Woodbridge            NJ 07095        (732) 636-5670    (732) 636-6624 fax
                                                                                          Fiduk's Industrial Svc                              7 Meco Cir                        Wilmington            DE 19804-1193   (302) 994-9176    (302) 994-9176 fax
                              LINDA                                          X            Fitzgerald Equipment                                4650 Boeing Drive,                Rockford              IL61109         (815) 397-7050    (815) 397-7357 fax
                              MIKE                                           X            FIVE BORO PNEU-TRONICS INC.                         801 E 42ND ST                     BROOKLYN              NY 11210        (718) 338-8911    (718) 338-8914 fax
                             NATALIE                                         X            Flag Service & Maintenance Inc                      Grove St & Crown Point Rd                               NJ 08086        (856) 848-2901    (856) 845-4387 fax
                                                    PERMANENTLY
      X                                                CLOSED                             Flannigan Electric                                  1820 South West Street            Yazoo City            MS 39194        (601) 355-8770    (601) 355-8770 fax
                          PAUL ROMANO                                        X            Fleetwood Lock                                      1085 Yonkers Ave.                 Yonker                Ny 10704        (914) 237-1073    (914) 237-1171 fax
                              JOAN                                           X            Flemington Fur Co.                                  8 Spring St                       Flemington            NJ 08822        (908) 782-2212    (908) 782-0378 fax
                            Jeff, Patty                   U                  X            Florida Industrial Scale Co                         728 Industry Rd                   Longwood              FL-32750        407-331-7972      (407) 831-0653 fax
                           ANNA JONES                     U                  X            FLORIDA TRANSFORMER, INC                            P.O. Box 507                      DeFuniak Springs      FL 32435        (850) 892-2711    (850) 892-6428 fax
                                AL                                           X            Flushing Lock & Key Service                                                           jamaica               NY              (718) 297-9711    (718) 523-6041 fax
                                                                                          Formally BERNIE'S TOOL & FASTENERS now Colony
      X                 JUNIOR RUCKMAN                    U                  X            Hardware                                      2322 NE Waldo Road                      Gainesville           FL 32609        (352) 375-1244    (352) 375-1408 fax
                                                                                          Formax                                        44 Venture Dr                           Dover                 NH 03820-5912   (603) 743-6366    (603) 743-6366 fax
                                                                                          Formerly: Allied Fastener & Tool Inc
                              Caesar                      U                  X            Present: Colony Hardware                      2487 Tradeport Dr.                      Orlando               FL 32824        (407)425-2884

      X                   CLAUDIA, Lilly                  U                  X            Formerly: BC Carbide Current:Stellar Industrial     2022 West 11th St.                Upland                CA 91786        (909) 946-8039    (909) 946-8069 fax
                                                                                          Formerly: Bernie's Tool & Fastener Svc
      X                     Junior, Lisa                  U                  X            Present: Colony Hardware                            4211 Highway Ave                  Jacksonville          FL - 32254      (904) 384-4999    (904) 384-0626 fax
                                                                                          Formerly: Bobcat West Construction Equip Now:
                          BRENDA, Justin                  U                  X            Pape Material Handling                              47132 Kato Rd                     Fremont               CA 94538        510-659-4100      (510) 661-5706 fax
                                                                                          Formerly: Carbide Saw
                                Ed                        U                  X            Current: California Carbide Inc.                    2521 Grand Ave                    Ventura               CA 93003        805-644-5917      (805) 644-5178 fax

                                                                                          Formerly: Heusser Neweigh Metrology Services                                                                                925-798-8900 Corporate number
                           Beck Morgan                    U                  X            Now: Rice Lake Weighing systems                     1400 Willow Pass Court            Concord               CA 94520
                                                                                          Formerly: Scalemasters Inc Now: USA Weighing
                              Nancy                       U                  X            Systems                                             17450 Mt. Herrman St.             Fountain Valley       CA 92708        (562) 699-0341    no longer have a fax
      X                   STEVE, SHERRY                   U                  X            Foss Industries Inc                                 1048 Elkton Dr                    Colorado Springs      CO 80907        (719) 590-7911    (719) 590-7917 fax
                          NOT IN SERVICE                                                  Foxboro Tool Repair Inc                             16 Railroad Avenue                Foxboro               MA 02035        (508) 543-2606    (508) 543-3914 fax

Out of Business               CHRIS                                          X            Framer's Workshop -No Longer in Business            4161 N Craftsman Ct               Scottsdale            AZ 85251        (480)945-4261     (480) 945-9986 fax
                                                     Nol Longer in
      X                  SAL (DECEASED)                Business                           Franco Power Tools                                  8226 Sorensen Ave Ste D           Santa Fe Springs      CA 90670        (562) 693-9639    (562) 693-9521 fax
                               J.R.                                          X            Fred M Velepec Co Inc                               7172 70th St                      Flushing              NY 11385-7246   (718) 821-6636    (718) 821-5874 fax
                              RENEE                                          X            Freebird Glass Inc.                                 163 Praire Lea                    Cypress               TX 77429        (281) 373-3423    (281) 256-2722 fax
                           STEPHANIE                                         X            Freeman Electronics Inc                             3404 W Wendover Ave, Ste J        Greensboro            NC 27407        (336) 299-9851    (336) 854-8004 fax
                          FRONT DESK                                         X            Fuelcell                                            400 W Cummings Park               Woburn                Ma 01801        (781) 938-5300    (781) 935-6966 fax




                                                                                                                                            Page 10
                        Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 11
                                                             of 27


Estab. Bus                         Prior Perm. /    Verified Info. /
Relations     Contact/Contacts        Update       Perm. To Fax Doc.                         Busniess                               Address                        City       State/ZIP         Phone                 Fax
                   ESTER                                  X            Fuller's Alamo Safe & Lock                 3723 West Ave                   San Antonio             TX 78213        (210) 344-4523 (210) 366-0723 fax
                                                                       Fulton Communications Co                   3146 Reps Miller Rd.            Norcross                GA 30071        (770) 446-3330 (770) 446-3330 fax
                GENTLEMAN                                 X            G & H Service Co                           449 E Lafayette St              Norristown              PA 19401        (610) 272-7695 (610) 272-7305 fax
                   GARY                                   X            G & L Locksmiths                           7247 Center St                  Mentor                  OH 44060        (440) 974-0550 (440) 974-0500 fax
                   JONI                                   X            Gainey Sharpening Service                  644 Erie St N                   Massillon               OH 44646-4675   (330) 832-4110 (330) 832-4246 fax
                                                                       Gap Power Equipment                        5399 Lincoln Hwy                Gap                     PA 17527-9701   (717) 442-4859 (717) 442-4859 fax
                  GRACE                                   X            Garcom, Inc.                               5861 Cleveland Ave              El Paso                 TX 79907        (915) 859-2424 (915) 775-0222 fax
                   BECKY                                  X            Gardner Marsh Gas Equipment Co Inc         8209 Brownleigh Dr,             Raleigh                 NC - 27617      (919) 787-8214 (919) 782-5133 fax
                 ANDREW                 U                 X            Gary Taylor Inc                            1843 COLUMBIA RD NW             WASHINGTON              DC 20009        (202) 483-5853 (202) 483-9512 fax
                   PATTY                U                 X            Gary's Repair Shop                         711 Highway 64 E                Bald Knob               AR 72010        (501)724-6308  (501) 724-6659 fax
                    TIM                                   X            Gas and Supply                             1452 4th St                     Harvey                  LA 70058        (504) 362-9395 (504) 366-4533 fax
                # NO GOOD                                              Gateway Telnet                             6842 Hayvenhurst Ave            Van Nuys                CA 91406-4790   (818) 374-7009 (818) 374-7011 fax
                   SAUL                 U                 X            Gear Driven Automotive                     8656 Reseda Blvd                Northridge              CA 91324        (818) 678-6500 (818) 678-6500 fax
                                                                       Gemini Technical Services                  66 River Rd                     Bow                     NH 03304        (603) 225-2003 (603) 225-2010 fax
                    RECP.                                 X            General Hydraulics                         701 N 20th St                   St Louis                MO              (314) 241-8985 (314) 241-7723 fax
    X              QUINN                X                 X            General Motor Repair & Service Inc         2206 Westbrook St               Greensboro              NC 27407        (336) 292-1715 (336) 292-1027 fax
    X        JESSICA /VERONICA          U                 X            General Servo & Spindle Motors             360 Industrial Dr, 60177-1199   South Elgin             IL              (630) 889-9261 (630) 889-9262 fax
                   SCOTT                                  X            General Tool & Supply Co                   2705 NW Nicolai St              Portland                OR 97210        (503)226-3411  (503) 778-5518 fax
                                                                       Generator Services Inc                     2719 S Whitney Ave              Independence            MO 64057-1551   (816) 478-0629 (816) 478-0629 fax
               DAVID/TAMMY              U                 X            Gen-Tech                                   7901 N 70th Ave                 GLENDALE                AZ              (623) 937-1719 (623) 937-0408 fax
                     BILL                                 X            GEN-TECH OF NEVADA                         1000 Sharp circle               N. Las Vegas            NV 85303-1300   (702) 633-6400 (702) 633-5960 fax
                 OK TO FAX                                X            Gerhart Measuremmation                     754 Roble Road, Suite 140       Allentown               PA 18109          888-437-4278 (610) 266-5775 fax
                # NO GOOD                                              Gerhart Scale Corp                         754 Roble Rd # 140              Allentown               PA 18109-9132   (732) 525-9610 (732) 525-9610 fax
    X        STEVE, KEITH, Sarah        U                 X            GEZON TOOL SERVICE                         322 RUMSEY SOUTH WEST           Grand Rapids            MI 49503        (616) 451-2725 (616) 451-2728 fax
                                   Permanently
                                      Closed                           Gima Appliance Service Inc.                570 Dillingham Blvd             Honolulu                HI 96817-6603   808-536-6956      (808) 845-7555 fax
                  RENEE                                   X            Glass Source                               7150 Madison Avenue West        Golden Valley           MN 55427        (763) 545-1800    (763) 545-2894 fax
    X              JEFF                 X                 X            GLENN'S TOOL SERVICE                       2149 E. INDIAN SCHOOL RD        Phoenix                 AZ 85016        (602) 264-6203    (602) 956-3787 fax
                  TADDA                                   X            Glens Key Lock & Safe Company              1147 South State Street         Salt Lake City          UT 84111-4596   (801) 413-0577    (801) 355-3414 fax
              JARED, TIM HERT          X,U                X            Global bolting technologies                317 S 25th St                   Billings                MT 59101        (406) 245-2078    (406) 248-1121 fax
    X            MICHELLE               U                 X            Global Electronics Service                 5325 Palmero Court              Buford                  GA 30518        (770) 965-9294    (770) 965-1314 fax
                                                                       GM TECHNICAL SERVICES                      8 Hammond Suite 105             Irvine                  CA 92616        (949) 588-6016    (949) 588-6023 fax
                    GUS                                   X            GMENI Inc                                  6801 Kentucky Dam Rd,           Paducah                 KY 42003        (270) 898-6018    (270) 898-8498 fax
              ANDREW, JIM               U                 X            Godby Safe & Lock                          902 South Dixie Hwy             Lantana                 FL 33462        (561) 540-6004    (561) 540-6005 fax
                MARYANN                                   X            Godwin & Son Signs                         313 Hanmore                     Harlingen               TX 78550        (956) 423-2689    (956) 423-3914 fax
                   STEVE                                  X            Gogel Fasteners &Industrial Supply Co.     1819th N 13th street            Toledo                  OH 43604        (419) 243-9144    (419) 243-9696 fax
                  CONNIE                                  X            Golden Needle Inc.                         330 S Kingshighway St           Cape Girardeau          MO 63703        (573) 339-0494    (573) 339-7090 fax
             ROBERT GOLDENS                               X            Goldens Casa Linda Keys                    10238 Garland Rd                Dallas                  TX 75218        (214) 324-4747    (214) 324-3737 fax
               #s NO GOOD                                              Goodstrong Lock & Alarm Co                 3366 Hillside Ave Suite 9       New Hyde Park           NY 11040        (516) 294-3969    (516) 294-3969 fax
    X           DOUG, IZZY              U                 X            Grabber construction products              2241 Carion Ct                  Pittsburg               CA 94565        (925) 680-0777    (925) 687-6261 fax
                  NANCY                                   X            Grand Blanc Industries                     8201 Industrial Park Dr         Grand Blanc             MI 48439        (800) 397-8511    (810) 694-7100 fax
                                                                       Grand Frame                                209 S. Arlington Heights Rd.    Arlington Heights       IL 60005        847 253-9393      (847) 253-9411 fax
    X             JAMEY                 U                 X            Granite City Tool Co Of Vt Inc - Barre     Po Box 411                      Barre                   VT 05641-0411   (802) 476-3137    (802) 476-8403 fax
                   JOHN                                   X            Granite Lock Co., Inc.                     755 Southern Artery             Quincy                  MA 02169        (617) 472-2177    (617) 479-3341 fax
                  HELEN                                   X            Great Lakes Rubber Co., Inc.               30573 Beck Rd                   Wixom                   MI 48393        (248) 624-5710    (248) 624-4770 fax
                 CHRIS JR.                                X            Great Valley Lock Shop                     16 Church Road                  Malvern                 PA 19355        (484) 324-2986    (610) 889-3837 fax
    X           KENNY, ERIN            X,U                X            Greeley Electric Repair, Inc               2509 1/2 8th Ave                Greeley                 CO 80631        (970) 352-1961    (970) 352-5536 fax
                   APRIL                U                 X            Green Valley Lock & Safe                   80 N. Pecos Road, Suite G       Henderson               NV 89074        (702) 897-0800    (702) 897-6500 fax
                                    Permantly
                   STEVE             Closed               X            Greene's Business Machines, Inc.           2169 Rocky Ridge Road           Birmingham              AL 35216        (205) 979-8201    (205) 979-5533 fax
                   LACY                                   X            Greentree Supply Co., Inc.                 3012-F S. Elm-Eugene St.        Greensboro              NC              336) 272-9954     (336) 272-3567 fax
                    JIM                                   X            Grott's Locksmith Ctr Inc                  1112 Winchester Rd              Lexington               KY 40505-4029   (859) 253-4811    (859) 225-3484 fax
                                                                                                                                                                                          336)856-2882 or
                 DELVIN                                   X            Guilford Locksmithing Inc                  505 Chimney Rock Rd             Greensboro              NC              (336)297-4195     (336) 297-4195 fax
    X             EARL                  X                 X            Gustin Hydraulics                          151 Commonwealth Ave            Salt Lake City          UT 84115        (801) 487-0624    (801) 466-4871 fax
    X            TAMMY                  U                 X            H & H Hydraulics                           8414 Gulf View Drive            Soddy Daisy             TN 37379        (423) 332-7800    (423) 332-6868 fax
                  GREG                                    X            H & H Lock & Security                      9140 Gaither Rd                 Gaithersburg            MD 20877-1489   (301) 948-1996    (301) 948-5265 fax
    X             STEVE                 X                 X            H & H Tool Service, Inc.                   2307 McAllister                 Houston                 TX 77092        (713) 682-8665    (713) 682-8624 fax
    X        DAVID / HOWARD             U                 X            H K & W SUPPLY                             610 W. Chestnut                 Springfield             MO 65806        (417) 869-4527    (417) 869-1734 fax
                   ROY                                    X            H K McJunkin; Inc                          7724 Edgewood Avenue            PITTSBURGH              PA              (412) 271-5400    (412) 271-0279 fax
                  DALE                                    X            HAJOCA                                     3000 Cofer Road                 Richmond                VA 23224        (804) 231-5790    (804) 230-4212 fax




                                                                                                                Page 11
                         Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 12
                                                              of 27


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Relations       Contact/Contacts        Update       Perm. To Fax Doc.                          Busniess                                       Address                 City                State/ZIP         Phone                  Fax
                  #s NO GOOD                                             HAMILTON APPLIANCE REPAIR                           1298 Bethel Dr                Eugene                     OR 97402         (541) 689-0242     (541) 689-0242 fax

                   VICTORIA                                 X            Hampton Roads Communication Technologies            2023 High Street              Portsmouth                 VA 23704         (757) 399-3350     (757) 397-3405 fax
                CHUCK HANCOCK                               X            Hancock Tool Co.                                    12000 Riverwood Drive         Burnsville                 MN 55337         (952) 890-5984     (952) 890-0058 fax
    X             ANNA, Jenna             U                 X            Hanes Supply Inc                                    20 Jetview Dr                 Rochester                  NY 14624-4904    (888) 426-3755     (585) 235-0229 fax
                                                                         Hang It Inc.                                        122 8th Street SE             Minneapolis                MN 55414         612-874-7222       (612) 871-1845 fax
    X                 WILL                U                 X            Harbor Freight Tools                                1616 e Interstate 40,         Amarillo                   TX               (806) 373-8161     (806) 342-5399 fax
                  DOGA / SIMON            U                 X            Harbor Freight Tools USA Inc                        5820 Asher Ave # 7e           Little Rock                AR 72204         (501)562-6262      (501) 562-6461 fax
                     DAVID                                  X            Harnessland                                         2146 Bingle Rd,               Houston                    TX 77055         (888) 688-8769     (713) 688-2583 fax
    X         BELINDA /PAUL, BRIAN        U                 X            Hatten Electric                                     130 S. Hastings ave           Hastings                   NE 68901         (402) 463-4596     (402) 462-5247 fax
                CAWNY (CONNIE)                              X            Hayes Instrument Svc                                530 Boston Rd                 Billerica                  MA 01821         (978) 663-4800     (978) 663-3812 fax
                                                                         Hearcare Audiology                                  5933 East State Blvd          Fort Wayne                 IN 46815         260-485-1231       (260) 486-6958 fax
               Jeanette/Corinnea                            X            Hearth & Home                                       949 Ault Field Rd             Oak Harbor                 WA 98277         (360) 679-8228     (360) 675-7292 fax
                                                                         Heartland Services Inc                              14206 Overbrook Rd            Shawnee Mission            KS 66224         (913)685-8555      (913) 685-8555 fax
                                                                         Heartland Services, Inc.                            1615 Dundee Ave. Dock G.      Elgin                      IL. 60120        847-888-7000       (847) 888-8940 fax
    X                ROB                  X                 X            HEATH SALES & SERVICE, INC.                         518 EAST 16TH STREET          KANSAS CITY                MO 64108         (816) 421-3330     (816) 421-3770 fax
                   TOMMY                                    X            Heavy Duty Tools Inc - St Louis                     14 Sunnen Dr # 142,           St Louis                   MO               (314) 645-4720     (314) 645-0878 fax
                 DUSTIN / HALIE           U                 X            Heavy Maintenance Supply, Inc.                      1803 Fifth Avenue South       Jasper                     AL 35501         (205) 384-5284     (205) 384-5283 fax

                                                                         Heights Crating Co Inc                              6100 n Shepherd Dr            77091-4250 - Houston HARRIS TX              (713) 697-2000     (713) 697-9224 fax
    X                BRAD                 X                 X            Hellgate Tool Repair                                2006 N Ave W                  Missoula                    MT 59801        (406) 549-3067     (406) 721-0067 fax
                                                                         Hembree Machine Inc                                 533 Trinity Ln                Decatur                     AL 35601        (256) 355-9568     (256) 350-5809 fax
    X                 TOM                X,U                X            HEMET VALLEY TOOLS                                  385 W Esplanade               San Jacinto                 CA 92583-5010   (951) 654-1034     (951) 654-4054 fax
                     CALEB                                  X            Heyman's Safe, Lock & Security                      131 14th Street               Springfield                 OR 97477        (541) 747-6713     (541) 747-6738 fax
               KAREN HUNT, BRAD                             X            HI Strength Bolt                                    20488 E RADCLIFF AVE          CENTENNIAL                  CO 80015        (303) 680-6783     (303) 287-4227 fax
                     GALE                                   X            Hickory Saw and Tool, Inc                           406 9th Street S.E.           Hickory                     NC 28602        (828) 324-5585     (828) 324-5588 fax
                     JUNE                                   X            Hill & Ferencz Electric Motor                       301 s George St               Goldsboro WAYNE             NC              (919) 736-7373     (919) 580-0107 fax
                    ERNEST                                  X            Hill Country Electric Supply                        1305 Sidney Baker - Suite C   Kerrville                   TX 78028        (830) 896-1212     (830) 896-1280 fax
                                                                         Hobart                                              202 Van Ness Ave              Fresno                      CA 93721-3186   (559) 237-2118     (559) 237-2441 fax
    X           ELLEN / HEATHER           U                 X            Hobart Sales & Svc                                  400 Greenwood Rd              Altoona                     PA 166 602      (814) 946-5436     (814) 946-1590 fax
    X        DARLENE,CHUCK, DARREL        U                 X            Holland Industrial Svc                              49191 Rabun Rd                Bay Minette                 AL 36507        (251) 937-4652     (251) 937-4657 fax
                     ROB                                    X            HOLLINGSHEAD AVIATION!                              300 Doug Warpoole Road        Smyrna                      TN 37167        (615) 459-3337     (615) 459-5995 fax
                    AARON                                   X            Holz Tool Supply                                    819 Broadway St               Jefferson                   IL              (618) 242-4676     (618) 242-4679 fax
                      JIM                                   X            Home Energy Products                                170 Daniel Webster Hwy        Belmont                     NH 03220        (561) 540 - 6004   (603) 528-2503 fax
                    TRAVIS                                  X            Hosse & Hosse Safe and Lock Company                 918 Woodland Street           Nashville                   TN 37209        (615) 226-2420     (615) 226-2488 fax
                    DAVID                                   X            Household Service                                   2052 W Sylvania Ave           Toledo                      OH              (419) 474-5754     (419) 472-7654 fax
    X                BARB                 U                 X            HPS Electric                                        3801 NW Stewart Pkwy          Roseburg                    OR 97470        (541) 673-3162     (541) 673-8598 fax
                                                                         Huber Locksmiths                                    729 S Main St                 Pleasantville               NJ 08232-3223   (609)641-2222      (609) 641-2222 fax
    X            JACK / LOUIS             U                 X            Hudson Saw and Tool                                 2919 N. Pacific Hwy.          Medford                     OR 97501        (541) 772-2293     (541) 772-2241 fax
               GLENDA NEWMAN                                X            Hudson-Payne Electronics Corp                       P.O. BOX 780                  MADISON HEIGHTS             VA 24572        434-847-5583       (434) 847-8812 fax
                   GEORGE                                   X            Huffman Security Company, Inc.                      1312 Lonedell Road            St. Louis                   MO 63010        (636) 282-7233     (636) 296-0844 fax
    X              RICHARD                U                 X            Hughe's Tool Supply                                 1208 Land O Lakes Blvd.       Lutz                        FL 33549        (813) 949-0441     (813) 949-2153 fax
                    JAMES                                   X            Hugo's Locksmithing & Keys Inc.                     206 s Euclid Ave              48706-2910 - Bay City       MI              989-684-2001       (989) 684-8497 fax
    X                CODY                 X                 X            Humboldt Fasteners                                  5100 Valley East Blvd Ste 1   Arcata                      CA 95521-7419   (707) 822-0209     (707) 826-1851 fax
                                                                         HUNTERDON LOCK & SAFE INC                           41 Mine St                    Flemington                  NJ 08822-1528   (908) 788-9696     (908) 782-8168 fax
                  Seana, Chad             U                 X            Hupp/Powerlift Division                             1120 Se Lorenz Dr             Ankeny                      IA 50021        515-965-5555       (515) 965-8165 fax
                                                                         Hydra Quip                                          4016 E. 23rd St.              Des Moines                  IA 50317        (515) 265-1453     (515) 265-2441 fax
                    AMBER                                   X            Hydraulic & Machining Sales & Services              1900 Benhill Ave.             Baltimore                   MD 21226        (410) 355-5300     (410) 355-5302 fax
              MARK BEAVER, STACEY         X                 X            Hydraulic Energy (MFCP)                             6800 Stapleton Drive          Denver                      CO 80216        (303) 333-7442     (303) 333-5008 fax

                      DON                                   X            Hydraulic Engineered Products & Service Co., Inc.   803 Pressley Road Suite 101   Charlotte                  NC 28217         (704) 374-1306     (704) 374-0029 fax
    X          TELLICIA, CRAYDEN          U                 X            Hydraulic Equipment Svc                             1021 N San Jacinto St         Houston                    TX 77002-1138    (713) 228-9601     no fax
    X                LARRY                U                 X            Hydraulic Service & Supply                          100 Howell St                 Dallas                     TX 75207         (214) 748-6015     (214) 748-7340 fax
    X                DAVID                X                 X            Hydraulic Service Company, Inc.                     3215 Victory Boulevard        Portsmouth                 VA 23702-1831    (757) 487-2513     (757) 487-4381 fax
    X          DARRYL / HOWARD            U                 X            HYDRAULIC SERVICE INC.                              3304 Barclay St.              21218 Baltimore            MD               (410) 467-9459     (410) 467-1019 fax
    X            DAVID, DEBBIE            U                 X            Hydraulic Technical Svc Inc                         620 Seneca Rd                 Eugene                     OR 97402         (541) 485-9882     (541) 485-0211 fax
                    TIFFANY               U                 X            Hyster Sales                                        1024 N. Emerald Ave.          Modesto                    CA 95351         (209) 526-1577     (209) 526-5473 fax
                     CECILIA                                X            HYSTER SALES CO.                                    34782 Lencioni Ave.           Bakersfield                CA 93308         (661) 393-3673     (661) 393-5636 fax
                     RENEE                                  X            Hytec Dealer Svc Inc                                3600 Vineland Rd # 121        Orlando                    FL 32811-6461    407-297-1001       (407) 297-4310 fax
    X         BOB, RAY, ERIC,CHUCK        U                 X            Idaho Tool & Equipment                              452 Caldwell Blvd.            Nampa                      ID 83651         208-465-7533       (208) 467-4757 fax
    X                   X                X,U                X            IDEAL SAW WORKS                                     351 O St                      Fresno                     CA 93721-3040    (559) 237-0809     (559) 237-8879 fax




                                                                                                                         Page 12
                            Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 13
                                                                 of 27


Estab. Bus                           Prior Perm. /    Verified Info. /
Relations       Contact/Contacts        Update       Perm. To Fax Doc.                          Busniess                         Address                                City               State/ZIP         Phone                Fax
    X              JASON                  X                 X            Ideal Tool Repair                     456 North 8th Street                      Philadelphia                  PA 19123        (215) 925-0672   (215) 440-9786 fax
                   JIMMY                                    X            IDG BORING-SMITH DIV                  1660 IOWA AVE # 400                       North Carolina                NC              (951) 683-0801   (951) 683-0822 fax
    X        BRANDY /DENISE/DALE          U                 X            Illinois Electric Works Inc           2161 Adams St                             Granite City                  IL 62040-3315   (618) 451-6900   (618) 451-6940 fax
                   EILEEN                                   X            In-Air Aviation Service               8225 Country Club Pl                      Indianapolis                  IN 46214        (317) 271-0195   (317) 271-0345 fax
                   BLAKE                  U                 X            Independent Appliance                 2843 E 15th St                            Panama City                   FL              (850)763-0656    (850) 769-6720 fax
                MAINTENANCE                                 X            Indian Trails                         28685 Smith Rd                            Romulus                       MI 48174        (734) 326-9801   (734) 326-9803 fax
                                                                         Industrial Air Tool                   1305 West Jackson                         Pasadena                      TX 77506        713-477-3144     (713) 920-8787 fax
                     JUNE                                   X            Industrial Air Tool                   220 29th Street South                     Texas City                    TX 77590        409-948-3527     (409) 948-1329 fax
                                     Going out of
                                     Business 3 or
    X                KERRY               4/20               X            Industrial Apparatus Repair Inc       5 Madison Ave NE                          Roanoke                       VA - 24016      (540) 343-9240   (540) 342-6404 fax
                    DREW                                    X            Industrial Battery & Charger          4211 Underwood Ind. Drive                 Irondale                      AL 35210        205-956-9482     (205) 956-3088 fax
    X                 JIM                 X                 X            Industrial Controls Inc               1710 Eastman Dr                           Tifton                        GA 31793-8225   (229) 387-8114   (229) 382-1034 fax
                                                                         Industrial Equipment Corp.            846 N. Main St.                           Shoemakersville               PA 19555        (610) 562-2700   (610) 562-4642 fax
    X                  DON                                  X            Industrial Equipment Repair           310 Kresge Lane                           SPARKS                        NV 89431        (732) 984-0504   (775) 331-6109 fax
                    SHANNON                                 X            INDUSTRIAL KNIFE COMPANY, INC.        16000 Trade Zone Avenue Suite 408         Upper Marlboro                MD 20774        (301) 390-8106   (301) 390-7929 fax
                      JOHN                U                 X            Industrial Lock & Security            401 Main St,                              El Segundo                    CA US           (310) 322-3252   (310) 322-3627 fax
                  KEVIN, Martha           U                 X            Industrial Sales & Svc                PO Box 31234                              Billings                      MT              (406) 652-7600   (406) 652-0717 fax
                    ANNETTE                                 X            Industrial Service Technology Inc     3286 Kentland Ct Se                       Grand Rapids                  MI 49548        (616) 247-1033   (616) 247-0086 fax
    X            PABLO, Brooke            u                 X            Industrial Supply                     1704 West 2550 South                      Ogden                         UT 84401        (801) 395-1868   (801) 395-1899 fax
    X               CHRISTINE             U                 X            Industrial Supply                     1724 Decora Dr.                           Rock Springs                  WY 82901        (307) 382-9050   no fax
    X        CLAIR MATTHEWS, Kevin        U                 X            Industrial Tool & Supply              839 N Main St                             Logan                         UT 84321-3228   (435) 753-4256   (435) 753-7429 fax
                     MELISSA                                X            INDUSTRIAL TOOL PRODUCTS, INC         919 North Central Avenue                  Wood Dale                     IL 60191        (630) 766-4040   (630) 766-4166 fax
                                                                                                                                                                                                       9099876678 or
                   Ira Martin             U                 X            Instrument & Control Systems          10088 6th St # F                          Rancho Cucamonga California   CA 91730-5748   9099874488       (909) 987-6678 fax
                 X #s NO GOOD                                            INSTRUMENT TECH CORP                  15060 BELTWOOD PKWY EAST                  ADDISON                       TX 75001        (800) 229-9078   (972) 458-8789 fax
                                                                         Intergrity one technologies           2920-C Fortune Circle                     Indianapolis                  IN 46241        317-241-5800     (317) 241-8544 fax
                                                                         International Systems Of Amer         1812 Cargo Ct                             LOUISVILLE                    KY 40299 USA    502) 499-9485    (502) 491-6543 fax
                 Dean/Charles             U                 X            International Tool                    2590 DAVIE ROAD                           DAVIE                         FL 33317        (954) 792-4403   (954) 792-3560 fax
                 FRONT DESK                                 X            Interstate Cash Register              961 Norfolk Square                        Norfolk                       VA 23502        (757) 461-1600   (757) 459-2151 fax
                   PONCH                                    X            inventory sales                       9777 Reavis Road                          St. Louis                     MO 63123        (314) 776-6200   (314) 776-0054 fax
                  COURTNEY                U                 X            Iowa Fluid Power                      1610 Blairs Ferry Rd NE                   Cedar Rapids                  IA              (319) 395-7000   (319) 795-0200 fax
                                                                         Iowa Machinery & Supply               1711 2nd Ave                              Des Moines                    IA 50314-3604   (515) 288-3733   (515) 288-3733 fax
                    SHELLY                                  X            Island Appliance Repair               110 Portwatch Way # 106                   28412-7008 - Wilmington       NC              (910) 790-8585   (910) 790-8608 fax
                     JEFF                                   X            ITR Inc.                              N16w22033 Jericho Dr 1                    Waukesha                      Wi 53186-1170   (262) 549-9414   (262) 549-9410 fax
    X           SAMANTHA, Mo              U                 X            J & A Repair Shop, Inc                6206 20th Ave Bet 62 and 63rd Street      Brooklyn                      NY 11204        (718) 232-5746   (718) 259-1083 fax
    X              MONICA                 X                 X            J & D Tool Repair                     14050 Orange Ave                          Paramount                     CA 90723        (562) 630-1644   (562) 633-4290 fax
                    JESSIE                                  X            J & H Sewing & Vacuum                 222 North Binkley Street                  Soldotna                      AK 99669        (907) 262-6363   (907) 789-2673 fax
                    PATTY                 U                 X            J & J Locksmiths                      3201 Fulton Ave                           Sacramento                    CA 95821-2312   (916) 482-4213   (916) 485-9385 fax
                    STEVE                                   X            J & K Lock & Security Pros            636 S Park St                             Madison                       WI 53715-1828   (608) 255-5799   (608) 255-2300 fax
             MARY BETH / SHAWNA           U                 X            J & S Electronic Business Syst        878 Jefferson St                          Burlington                    IA              319-752-5603     (319) 752-0537 fax
    X        RICARDO /TANYA, JOE          U                 X            J & S Tool Repair                     1309 Hodges St                            Raleigh                       NC 27604        (919) 856-0050   (919) 856-0051 fax
    X                MIKE                 U                 X            J & T Tool & Supply                   5317 Inker Street                         Houston                       Tx 77007        713-880-8013     (713) 880-5702 fax
    X              YVONNE                 X                 X            J M Mc Kinney Co                      12710 Yukon Ave                           Hawthorne                     CA              (310) 978-9650   (310) 978-2795 fax
                      T.                                    X            J&S LockSmiths                        5816 Yadkin Rd                            28303-2657 - Fayetteville     NC              (910) 822-5625   (910) 867-1881 fax
                   RICHARD                U                 X            J. Pocker & Son                       175 W. Putnam Ave.                        Greenwich                     CT 06830        (203) 629-0811   (212) 750-2053 fax
                     JEFF                                   X            J. Technical Services                 5017 N. Summit st                         Toledo                        OH 43611        (419) 729-5263   (419) 729-4337 fax
                     KIM                                    X            J.A. King                             1650 US HWY 60                            Ledbetter                     KY 42058        (270) 898-7941   (270) 898-7957 fax
    X                LISA                 X                 X            J.M. MCKINNEY EQUIPMENT               14624 Titus St.                           Panorama City                 CA 91402        (818) 786-2527   (818) 786-2709 fax
    X               CHILLY                X                 X            Jack X Change                         1609 N Orangethorpe Way                   Anaheim                       CA 92801        (714) 871-4966   (714) 871-4591 fax
    X         MIKE, ROD, RANDY           X,U                X            Jack's Rental Inc                     6642 26th St                              Berwyn                        IL 60402        (708) 788-4300   (708) 788-0288 fax
                                                                         Jackson Heating & Cooling             8827 Maple St                             Omaha                         NE 68134        (402) 391-4287   (402) 391-4176 fax
                                     Permanently                                                               3255 Brighton Henrietta Town Line Road,
    X               SALLY               Closed              X            Jackson Saw                           Suite 103                                 Rochester                     NY 14623        (585) 546-7485   (585) 546-2979 fax
    X            RON WINDAU                X                X            James Machinery Co                    223 N Macarthur Blvd                      SPRINGFIELD                   IL              (217) 522-9115   (217) 698-9179 fax
                                                                         JDG Door Inc                          679 Mcdonald Ave                          Brooklyn                      NY 11218-4913   (718) 435-6505   (718) 435-4719 fax
                                                                         Jean Luft                             719 Thomson Park Dr                       Cranberry Township            PA 16066        724-772-1700     (724) 772-0740 fax
                      TIM                                   X            Jencso Industrial Service Inc         8610 Euclid Chardon Rd                    Kirtland                      OH 44094        (440) 256-6262   (440) 256-6263 fax
                    RENEE                                   X            Jenkins Security Svc Inc              102 Pump St                               Staunton                      VA 24401        (540)886-8616    (540) 886-0155 fax
                    JEANIE                                  X            Jensen Equipment Co., Inc.            N 27 W 23017 Roundy Dr.                   Pewaukee                      WI 53072        (800) 875-8875   (262) 547-4973 fax
                                                                         Jesse Philips                         235 Sweet Spring Rd                       Glenmoore                     PA 19343-2600   (610) 458-8438   (610) 458-8438 fax




                                                                                                             Page 13
                             Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 14
                                                                  of 27


Estab. Bus                                   Prior Perm. /    Verified Info. /
Relations          Contact/Contacts             Update       Perm. To Fax Doc.                           Busniess                           Address                   City         State/ZIP         Phone                Fax
    X                LAURA, TERI                 X,U                X            Jet Fitting & Supply Corp.               810 S. Grand Ave.            Santa Ana               CA 92705        (714) 558-9381   (714) 541-4491 fax
                        RECP.                                       X            JFJ INDUSTRIES, INC                      2301 E L Anderson Blvd       Claremore               OK 74017-2121   (918) 342-2453   (918) 342-2423 fax
                       GILBERT                                      X            Jiffy Fastening Systems                  2433 Fortune Dr              Lexington               KY 40509-4126   (859) 252-5312   (859) 231-9851 fax
                                            THIS LOCATION
    X             ZACK R. MIKE, CARLA          CLOSED               X            JIM AND SLIM'S TOOL SUPPLY               13065 S. BELCHER ROAD        LARGO                   FL 33773        (727) 535-5661   (727) 535-3841 fax
    X                     JIM                      U                X            Jim Klippel Tool Repair                  725 E. Haley St              Santa Barbara           CA 93103        (805) 963-0020   (805) 966-5544 fax
    X                    LARRY                     U                X            Jim's Tool & Repair Svc                  515 Wilson St                Eugene                  OR 97402        (541) 344-1243   (541) 344-1513 fax
                        WAYNE                                       X            JLW Instruments, Inc.                    452 N. Sangamon St.          Chicago                 IL              (312) 666-0595   (312) 733-0009 fax
                         TRENT                                      X            JME Companies                            1401 Fallon Ave.             Monticello              MN 55362        (763) 295-3122   (763) 295-8765 fax
                         EMILY                                      X            JOHN'S LOCK & KEY, INC                   2901 1 Ave Se                Cedar Rapids            IA 52402-4426   (319) 362-7866   (319) 363-4653 fax
                       WALTER                                       X            Johnson & White Equipment                1104 4th Avenue South        Nashville               TN 37210        (615) 256-0443   (615) 256-0444 fax
                        Barbara                                     X            Johnson Hydraulics                       1720 Indiana Ave             Salt Lake City          UT 84104        (801) 972-0909   (801) 972-2120 fax
    X        # nO gOOD, NO LONGER IN BUS.                           X            Jones Tool Svc                           1314 Madison Ave             Memphis                 TN 38104        (901) 726-0191   (901) 725-5545 fax
                            X                                       X            Jorson and Carlson Company, Inc.         1291 BRUMMEL AVE             ELK GROVE VLG           IL 60007        (847) 437-7550   (847) 437-0933 fax
    X                     JOE                      X                X            Jossam Tool                              411 Burnham St               East Hartford           CT 06108        (860) 289-4064   (860) 290-8384 fax
                                             Permanently
    X                 JIM POBST                 Closed              X            JP Tool Repair                           3440 Sacramento Dr           San Luis Obispo         CA 93401        (805) 544-7152   (805) 544-9327 fax
                                             Permanently
    X                   JOE                     Closed              X            JR Tool Repair                           2505 E Venango St            Philadelphia            PA 19134-5524   (215) 289-2900   (215) 289-4403 fax
                     HUEY / SUSIE                 U                 X            K-119 OF CALIFORNIA                      925 San Mateo Ave.           San Bruno               CA 94066        (650) 588-0160   (650) 588-8842 fax
    X                   TIM                        X                X            Kalamazoo Electric Motor                 414 Mills St                 Kalamazoo               MI - 49001      (269) 345-7802   (269) 345-7929 fax
                                                                                 Kanawha Scales & Systems                 5525 Chantry Dr              Columbus                OH 43232        (614) 501-8800   (614) 501-8828 fax
                        Travis                                      X            Katayama Framing                         2219 NW Raleigh St           Portland                OR 97210        (503) 224-3334   (503) 295-2966 fax
                                                                                 Katsy Electric Inc                       2480 12th St,                Sarasota FL             FL              (941) 330-9227   (941) 330-9220 fax
                        ANNA                      U                 X            Kaufmann's Overhead Door & Awn           133 Barnett Ln               Bozeman                 MT              406-586-9636     (406) 586-9736 fax
                                             Permanently
                                                closed                           Kay Office Equipment Co                  1401 N 7th St                Ponca City              OK 74601-2847   (580)762-7610    (580) 762-7610 fax
    X                 STEVE, TIM                   X                X            KayDee Tools                             5466 Lake Court              Cleveland               OH 44114        (216) 881-2565   (216) 881-2566 fax
                         MIKE                                       X            Kel-Welco Distributing                   1232 Southwest Blvd.         Kansas City             KS 66103        (800) 798-4003   (913) 831-0264 fax
                                                                                 Kentech Inc                              21855 E Hammond Dr           Porter                  TX 77365        (281)354-8895    (281) 354-8895 fax
                       SONYA                                        X            KENTECH INC                              7943 EAST EVANS RD           San Antonio             TX 78266        (210) 946-2474   (210) 946-2473 fax
                       ADAM                       U                 X            Key Evidence Lock & Safe                 2343 W Whitendale            Visalia CA 93277-6130   CA              (559) 733-3333   (559) 733-0433 fax
                        DON                                         X            Key One Inc                              PO Box 2422, Easton          MD                      MD              (410) 820-4419   (410) 770-9664 fax
                        JIM                                         X            Keyplace Safe & Lock                     234 N Main St                Colville KS             KS              (509) 684-3605   (509) 685-0139 fax
                                             Permanently
                        KATHY                   closed              X            Keystone Mountaineer Systems             80 Stewart Ave               Washington              PA 15301-3751   (724) 228-4160   (724) 228-4165 fax
                        CRAIG                                       X            Keytel Systems                           1624 Brice Road              Reynoldsburg            OH 43068        (614) 866-7700   (614) 866-7747 fax
                      Valentina                   U                 X            Kimball Electronic Laboratory            8081 W 21st Ln               Hialeah                 Fl 33016-1891   (305) 822-5792   (305) 362-3125 fax
                     FRONT DESK                                     X            Kings III Emergency Communications       751 Canyon Drive Suite 100   Coppell                 TX 75019        (866) 354-6473   (972) 745-3682 fax
    X                MIKE, Christy                U                 X            KINGSPORT ARMATURE & ELECTRIC CO INC     323 EAST MARKET STREET       KINGSPORT               TN 37660        (423) 247-7189   (423) 247-6394 fax
                        DOUG                                        X            Kissler & Co.                            770 Central Blvd.            Carlstadt               NJ 07072        (201) 896-9600   (201) 896-9190 fax
    X                 ROBERTA                     X                 X            KOCH ELECTRIC                            202 E Palmer Street          INDIANAPOLIS            IN              (317) 639-5624   (317) 638-5624 fax
                       MARTIN                                       X            Koehler Scale, Inc.                      3475 Nemesis Ave.            Waukegan                IL 60087        (847) 336-7883   (847) 336-1456 fax
    X              ADDISON MOROZ                 X,U                X            Kreco Electric Co                        49 Center St                 Coal Township           PA 17866        (570) 644-6199   (570) 644-6508 fax
                       TRACEY                     U                 X            Kroeger Equipment & Supply Co            2645 S Chestnut Ave          Fresno                  CA 93725-2113   (559) 485-9907   (559) 485-9907 fax
                                                                                 Kwikset Fasteners Inc                    4006 Bishop Ln               Louisville              KY 40218        (502)969-5311    (502) 969-5619 fax
                       CINDY                                        X            KWIK-Set Fasteners Inc                   1151 Commercial Dr           Lexington               KY 40505        (859) 252-7518   (859) 254-7473 fax
    X                   NICKI                     U                 X            L & D Hydraulics                         1717 W Grant St              Phoenix                 AZ 85007        (602) 258-6188   (602) 258-6815 fax
    X                 LOWELL                      X                 X            L & L Tool Specialties                   1927 E 1st St                Port Angeles            WA              (360) 457-1116   (360) 457-1269 fax
    X                  LAURIE                     X                 X            L B Swift Mfg                            10150 Magnolia St            Bloomington             CA 92316-1820   (909) 421-9906   (909) 421-9768 fax
                        Darcy                     U                 X            L. J. Walch Co., Inc.                    6600 Preston Ave.            Livermore               CA 94551        925-449-9252     (925) 294-1780 fax
    X                 Corinna                     U                 X            L.A. Grinding Company                    305 N. Victory Blvd.         Burbank                 CA 91502        (818) 846-9134   (818) 846-1786 fax
                     DON HEAPF                                      X            L.H. BRUBAKER APPLIANCES, INC.           5303 E. Trindle Rd           Mechanicsburg           PA 17050        (717) 796-0150   (717) 620-2308 fax
                                                                                 Laabs Appliance Parts & Svc              6907 W North Ave             Milwaukee               WI 53213-1940   414-475-0333     (414) 475-0353 fax
                        JAMIE                                       X            Lafayette Business Machines              217 Hope Mills Rd.           Fayetteville            NC 28304        (910) 424-2770   (910) 424-1355 fax
                                                                                 LAPPEN SECURITY PRODUCTS                 2300 W. Main St              Little Chute            WI 54140        (920) 734-3027   (920) 734-3049 fax
    X                EDY, LINDA                  X,U                X            LARIMER ELECTRIC MOTOR CO                1808 E Lincoln Ave           Fort Collins            CO              (970) 484-8411   (970) 484-0574 fax
                       SUSAN                                        X            Laser Care Inc                           10865 SW 5TH St Ste 100      Beaverton               OR 97005        (503) 646-6034   (503) 646-6557 fax
                       JACLYN                     U                 X            Laser Resources                          1601 SE Gateway Dr. #130     Grimes                  IA 50111        (515) 278-4050   (515) 276-8700 fax
                                                                                 Laser Tech Company                       2922 Baltic Ave              Greensboro              NC 27406        (336) 274-6730   (336) 274-9989 fax
                     # NOT GOOD                                                  Latrobe Tool Service, Inc.               4339 RT 30                   LATROBE                 PA 15650        724-532-1411     (724) 532-1757 fax




                                                                                                                        Page 14
                            Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 15
                                                                 of 27


Estab. Bus                                  Prior Perm. /    Verified Info. /
Relations          Contact/Contacts            Update       Perm. To Fax Doc.                        Busniess                               Address                      City       State/ZIP         Phone                  Fax
                        VICKY                                      X            Lawn Mowers-Sharpening & Repairing        PO Box 329                         ALABAMA            AL              1-334-493-9645     (334) 493-0955 fax
    X                   ALLEN                   X,U                X            Lawter Electric Motor Co                  202 Adams Ave                      Huntington         WV 25701        (304) 522-8297     (304) 523-9004 fax
                        BRAD                     U                 X            Lee Whitford Co.                          58 Connecticut Blvd.               East Hartford      CT 06108        (860) 528-7237     (860) 528-3897 fax
    X                   BILLY                   x,U                X            Lee's Electric                            1310 4th St. SW                    Albuquerque        NM 87102        (505) 247-2635     (505) 247-2635 fax
                       LAURIE                                      X            Leo's Pneumatic & Hydraulics              1821 Franklin Ave                  Erie               PA 16510-1327   (814) 899-0271     (814) 898-4001 fax
                   VANCE, CINDY                                    X            LESCORPIUS ENTERPRISES INC                303 Gale St                        Rock Springs       WY 82901-6426   307-382-8051       (307) 382-2985 fax
             REBECCA, SUE CLIFFORD, JERRY                          X            Lewan & Associates                        1400 S. Colorado Blvd.             Denver             CO 80222        (303) 759-5440     (303) 758-7563 fax
                        SEAN                                       X            Liberty Lock & Security                   1205 Taft Street                   Rockville          MD 20850        (301) 424-5625     (301) 424-3080 fax
                                                                                Litecheck                                 301 N. Havanna St.                 Spokane            WA 99202        (509) 535-7680     (509) 535-7680 fax
                     MIKE GREEN                                    X            Little Creek Electronics Inc              816 Post St Ste E                  Greensboro         NC 27405        (336) 230-2425     (336) 230-2435 fax
                                                                                Lnl Machine Tools Inc - Stevens           1912 n Reading Rd                  Stevens            PA 17578-9312   (717) 336-0237     (717) 336-0979 fax
                         MARK                                      X            Lock Doctor                               310 Ne 291 Hwy                     Lees Summit        MO 64086-2503   (816) 525-5522     (816) 525-8628 fax
                        JESSICA                                    X            LockNet                                   100 Courchelle Dr.                 Nicholasville      KY 40356        (800) 887-4307     (859) 887-4958 fax
                       TOMMY                                       X            Locksmiths Inc                            635 Martin Luther King Jr Drive    Meridian           MS 39301-5664   (601) 482-8525     (601) 483-3475 fax
                  SYLVANNA NIEVES                U                 X            LOCKSMITHS safe techs                     124-A Mary Esther Blvd             Mary Esther        FL 32569        (850) 664-7557     (850) 664-6769 fax
    X                    BRIAN                   X                 X            Logan Supply                              2636 Malt Ave.                     City of Commerce   CA 90040        (323) 724-4330     (323) 725-3930 fax
    X           CARITA / MIKE SCHMIDT            U                 X            Longo Electrical-Mechanical               PO Box 511                         Wharton            NJ 07885        (973) 537-0400     (973) 537-0404 fax
    X                 JOHN Ross                 X,U                X            Lubbock Electric Co.                      1108 34th St                       .                  TX              (806) 744-2336     (806) 744-5690 fax
                                                                                LUBRICATION EQUIP. & SUPPLY CO/UNITED
                    DAVE / DEBBIE                U                 X            CENTRAL INDUSTRIAL                        3526 E. Broadway Rd.               Phoenix            AZ 85040        (602) 437-1245     (602) 437-8862 fax
                       DEBRA                                       X            Ludwig Saw & Tool Sharpening              1701 Maple Ave                     Waco               TX 76707-1532   (254) 754-6951     (254) 752-3799 fax
                                                                                LYNCH CO., INC.                           841 Pohukaina, Suite 201           Honolulu           HI              808-596-8870       (808) 596-7044 fax
    X                   LESLIE                   U                 X            Lynwood Building Materials                1146 W. Laurel                     San Antonio        TX 78201-6942   (210) 477-3000     (210) 477-3090 fax
                    SOPHIE, Kieth                U                 X            M & M Appliance Sales & Service           6201 Blair Road NW                 Washington         DC 20011        (202) 882-7100     (202) 882-7104 fax
    X             MICHAEL, Josh/Jose             U                 X            M & M Tool and Machinery, Inc.            3362 Main Street                   Salt Lake City     UT 84115        801-485-8200       (801) 485-4288 fax
    X                   SCOTT                    X                 X            M & R Electric Motor Service Inc.         1516 E 5th Street                  Dayton             OH 45403        (937) 222-6282     (937) 222-1901 fax
                        KURT                                       X            M L Lock & Safe Co                        21 N Beverwyck Rd,                 Lake Hiawatha      NJ 07034        (973) 263-3953     (973) 402-1447 fax
                         Jim                     U                 X            Maclock                                   1980 N Atlantic Ave                Cocoa Beach        FL 32931        (321) 783-4118     (321) 784-4776 fax
    X                ANITA, Sheri                U                 X            MAC'S Hydraulics                          5150 S 100th E Ave                 Tulsa              Ok 74146        (918) 627-5505     (918) 627-8808 fax
                   CARL SCHRENKER                                  X            Mac's Jack & Equipment Svc                121 Putnam St                      Pittsburgh         PA 15206-4135   (412) 361-1555     (412) 361-2855 fax
                      MELISSA                                      X            MAILING SYSTEMS INC                       2301 Moss St                       Lafayette          LA              (337) 234-8292     (337) 234-6478 fax
                        LARRY                                      X            mainline-security                         84 2nd St                          San Francisco      CA 94105-3439   (415) 398-6161     (415) 495-6161 fax
                                            PerMANENTLY
    X        # NOT GOOD nO LONGER IN BUS       CLOSED                           Maintenance Unlimited & Tool              9493 Reading Rd                    Cincinnati         OH 45215        513-554-1313       (513) 531-0135 fax
    X                KEN / ARTHUR                U                 X            Makita                                    1450 Feehanville Drive             Mount Prospect     IL 60056-6011   (847) 297-3100     (847) 297-1544 fax
    X               BLANCA. KENNY                U                 X            Makita U.S.A., Inc.                       2101 Nw 33rd St Ste 800            Pompano Beach      FL 33069-1061   (954) 781-6333     (954) 781-6315 fax
    X                TONY, Veronica              U                 X            Makita USA Inc                            14930 Northam St                   La Mirada          CA 90638-5753   (714) 522-8088     (714) 522-8133 fax
    X            Suzanne, MARK, David            U                 X            MANN TOOL AND SUPPLY                      802 CHRIS DRIVE                    West Columbia      SC 29169        1-800-356-6266     (803) 252-1119 fax
    X           LISETTE, JESSIE, CHARLES         X                 X            Manor Hardware & Construction             10111 South Tacoma Way # D4,       Tacoma             WA 98499-5424   (253) 581-7746     (253) 581-7827 fax
                                                                                Marco Supply Co                           2601 Stuart Ave                    Richmond           VA 23220        804-358-3326       (804) 358-3326 fax
                        JAMIE                                      X            Marco Supply Co Inc                       2231 Washington St W               Charleston         WV 25312-1412   (304) 345-4747     (304) 345-4746 fax
                                                                                Marco Supply Co., Inc.                    812 Pocahontas Ave.                Roanoke            VA 24012        (540) 344-6211     (540) 344-6153 fax
                                                                                Marcone Appliance Parts Ctr               480 Us Highway 46                  Hackensack         NJ              201)641-3444       (314) 231-5481 fax
                                                                                                                                                                                                (402)734-6734 or
                        BECKY                                      X            Mark Hydraulic Co                         4771 G St                          Omaha              NE 68117        402)734-0227       (402) 734-0227 fax
                   # NOT IN SERVICE                                             MARTEK of MD Inc.                         9917 Stephen Decatur Hwy Unit #5   West Ocean City    MD 21842        410-213-0888       (410) 213-2790 fax
    X           THERESA / JASON ATKINS           U                 X            Masco Service Corp                        850 S. Dooly St.                   Grapevine          TX 76051        (817) 481-8205     (817) 488-8918 fax
                                                                                Mass Lock Incorporated                    277 Main St,                       Everett            MA 02149        (617) 387-0077     (617) 387-0077 fax
    X                  JACKIE                    U                 X            Master Wholesale                          520 So. Front Street               Seattle            WA 98108        (206) 767-6771     (206) 767-6772 fax
    X                   TIM                      U                 X            matheson                                  122 Warren Ave                     Portland           ME 04103        207-7970840        (207) 878-3251 fax
                       PETER                                       X            Matheson Gas                              51 Payne Ave                       Rockland           ME 04841        (207) 594-4500     (207) 596-6923 fax
    X                   GALE                     U                 X            Matlock Electric Co.                      2780 Highland Ave                  Cincinnati         OH 45212        (513)731-9600      (513) 731-9646 fax
    X                 TAMMY                                        X            MAT-SU TOOL REPAIR LLC                    522 MCKINLEY STREET                WASILLA            AK 99654 US     (907) 357-0647     (907) 357-0649 fax
                 OK TO FAX MAGMT.                                  X            Mc Elheney Locksmiths                     1214 Jefferson Ave                 Toledo             OH              (419) 244-5851     (419) 244-7581 fax
                      CHANCE                                       X            Mc Guire Lock & Safe                      4800 Ne Vivion Rd                  Kansas City        MO 64119-2933   (816) 454-2552     (816) 454-8083 fax
                   SCOTT / JANET                 U                 X            McCaleb Tool Supply                       710 Highway 43 South               Winfield           AL 35594        (205) 487-2222     (205) 487-4958 fax
    X               JOHN/TRISH                   U                 X            McCally Tool & Supply                     2445 S. Industrial Hwy 1           Ann Arbor          MI 48104        (734) 525-4225     (734) 747-6098 fax
                         JIM                                       X            McCord Pump                               3801 N County Rd W                 Odessa             TX - 79764      (432) 362-4611     (432) 363-0132 fax
    X                   MIKE                     U                 X            McKee & Strub                             778 Natoma St.                     San Francisco      CA 94103        (415) 431-6463     (415) 431-6482 fax
                NANCY, HENRY OR ERIC             U                 X            Med Repairs & Mobility                    4014 43rd Ave. Suite 5             Vero Beach         FL 32960-7901   (772) 569-2901     (772) 569-1771 fax
    X                  HOLLY                     X                 X            Medford Tools & Supply                    2160 N Pacific Hwy                 YONCALLA           OR 97499        (541)772-0144      (541) 772-0471 fax




                                                                                                                        Page 15
                         Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 16
                                                              of 27


Estab. Bus                            Prior Perm. /      Verified Info. /
Relations       Contact/Contacts         Update         Perm. To Fax Doc.                          Busniess                                    Address                    City           State/ZIP          Phone                    Fax
                 THET (CHET?)                                  X            Mercer Machine & Hydraulics, Inc.                2840 Leiszs Bridge Rd          Reading                  PA 19605         (610) 921-0287       (610) 921-3830 fax
    X               BUTCH                  U                   X            Mercury Electric                                 1041 Puuwai St                 Honolulu                 HI               (808) 841-5711       (808) 842-6022 fax
                     JEFF                                      X            Merrimack Valley Business Machines, Inc.         4 Kennedy Dr., P.O. Box 336    North Chelmsford         MA               (978) 251-7877       (978) 251-3700 fax
    X          CARLOS GREGORY              U                   X            Metabo Corp                                      1231 Wilson Dr                 West Chester             PA 19380         (610) 436-5900       (610) 436-9072 fax
    X          MILTON, S. STORCH           U                   X            Metro Hydraulic Jack Co Inc                      1271 Mccarter Hwy              Newark                   NJ 07104-3711    (973) 350-0111       (973) 350-0112 fax
                   MEAGAN                                      X            Metropolitan Appliance Service                   4515 Isabella St.              Midland                  MI 48640         (989) 631-6541       (989) 631-4688 fax

                                          #
                                    DISCONNECTED                            MH Equipment                                     3512 S. 11th Ave.              Black Hawk Ind. Park     IA               Eldridge, IA 52748   (563) 285-1660
                   LANETTE                U                    X            Michaelson's Appliance Repair                    9231 Lazy Ln                   Tampa                    FL 33614         (813) 935-1919       (813) 935-1917 fax
                     # NG                                                   Michigan Saw & Cutter, Inc.                      3326 Monroe St.                Toledo                   OH 43606         419) 241-5418        (419) 882-3426 fax
                    PAUL                                       X            Mid America Vacuum Ctr                           6221 Northwest Hwy             Crystal Lake             IL 60014-7932    (815) 459-1069       (815) 459-3337 fax
    X            STEVE, BETTY             X,U                  X            Mid States Ind Supply Inc                        8320 S Shields Blvd            Oklahoma City            OK -73149-3096   (405) 632-5571       (405) 632-1434 fax
                                                                                                                                                                                                      (402)371-6838 or
                 SERVICE DEPT                                  X            Mid-City Super Store                             1900 Center Dr                 Norfolk                  NE               (402)379-0258        (402) 379-0258 fax
    X                BOB                                       X            Mid-Kansas Tool & Electric                       314 W Cloud St                 Salina                   KS 67401         (785) 825-6287       (785) 825-2585 fax
                   ROBERT                                      X            Mid-States Bolt and Screw                        4126 Somers Drive              Burton                   MI 48501         810) 744-0123        (810) 744-3798 fax
                    DAVID                                      X            Midwest Electric Transformers                    1324 N. Oliver Rd., Hanger P   Newton                   KS               (316) 283-7500       (316) 283-7538 fax
                                                                            Midwest Service Center (MSC) - Dave Banas - Vice
                     LINDA                                     X            President/Managing Partner                       408 South Shelby Street        Hobart                   IN 46342         (219) 942-8585       (219) 947-1099 fax
                                      Permanently
                     MIKE                Closed                X            Mike's Workshop Inc                              5202 W MISSOURI AVE            GLENDALE                 AZ 85301         (623) 247-4870       (623) 939-1486 fax
                                                                            Millenia Home Improvements                       29 Sterling Rd                 Mount Pocono             PA 18344         (570) 839-1100       (570) 839-4073 fax
                                                                                                                                                                                     IN 47591-5411
                     ABBY                                      X            Miller Construction Co                           518 S 15th St                  Vincennes                (47591)          (812) 882-6690       (812) 886-0573 fax
    X                STEVE                 X                   X            Milne Power Tool Repair                          1303 W Lewis St                Pasco                    WA 99301         (509) 547-7834       (509) 547-4559 fax

    X               HECTOR          No longer in Bus.          X            Minit Tool Co                                    4170 E Washington Blvd         Commerce                 CA 90023         323-264-7006         (323) 264-2309 fax
                    DENNIS                                     X            Minneapolis Lock & Key                           4448 Nicollet Ave,             Minneapolis              MN               (612) 823-8148       (612) 822-7716 fax
                     MIRIC                                     X            Miric Industries, Inc.                           1516 Union Turnpike            North Bergen             NJ 07047         (212) 594-9898       (201) 864-9168 fax
                VICKY MITCHELL                                 X            Mitchell Appliance Co.                           PO Box 795                     Douglasville             GA 30134         (770) 942-2337       (770) 942-4257 fax
                    Theresa                U                   X            MITCHELL HARDWARE COMPANY INC                    130 Washington Ave             Homestead                FL - 33030       (305) 247-7233       (305) 247-7142 fax
                      # NG                                                  Mitchell Tools                                   1000 Broadway Dr.              Hattiesburg              MS 39401-7572    (601) 582-3308       (601) 582-3374 fax
                    JORDAN                                     X            Mittler Supply Inc                               1820 Mishawaka St              Elkhart                  IN 46514-1896    (574)264-2104        (574) 262-9953 fax
                      # NG               BAD #                              Mnr Construction And Design                                                                              CA               (964) 263-4200       (818) 786-5239 fax
                     FRANK                                     X            Mobile Mower Repair Inc - Dexter                 1535 Baker Rd # 2              48130-1601 - Dexter      MI               (734) 426-5665       (734) 426-6384 fax
                      TOM                                      X            MOHAWK LTD.                                      One Newell Lane                Chadwicks                NY 13319         (315) 737-7328       (315) 737-7347 fax
                                                                            Moline Service Center, Inc.                      7308 Forest Hills Rd           Loves Park               IL 61111         (815) 877-1777       (815) 877-1954 fax
                  JULIE, CIERA             U                   X            Montana Bolt Co                                  3110 W Broadway St             Missoula                 MT 59808         (406) 721-2184       (406) 721-3412 fax
                     # NG                                                   Montana-Dakota Utilities                         909 Airport Rd                 Bismarck                 ND 58504         (701) 224-5800       (701) 224-5834 fax
                JIMMY/NATHAN               U                   X            Montgomery Lock & Key Inc                        131 Eastdale Rd S              Montgomery               AL               (334) 272-5397       (334) 271-5226 fax
                    CORRINE                U                   X            Mo's Gallery & Fine Framing                      3650 E Fort Lowell Rd          Tucson                   AZ 85716         (520)795-8226        (520) 795-9442 fax
                                                                                                                                                                                                      (406) 453-2481 or
    X               TERRY                  X                   X            Mosch Electric Motors, Inc.                      2513 17th St. N.E.             Black Eagle              MT 59414-1051    (800) 254-2481       (406) 453-2482 fax
    X              DENNIS                  U                   X            motion industries                                410 W Saint Peter St           New Iberia               LA               337-364-2431         (337) 365-0548 fax
    X            MIKE / CRIAG              U                   X            Motion Industries                                628 Nw Platte Valley Dr        Riverside                MO 64150-9798    (816) 587-0894       (816) 587-3377 fax
                   KAYLEN                  U                   X            Mountz Eastern Service Center                    19051 Underwood Rd.            Foley                    AL 36535         (251) 943-4125       (251) 943-4979 fax
                    DOUG                                       X            Mr Lock LockSmiths                               2061 Beechmont Avenue          Cincinnati               OH 45230         (513) 232-2424       (513) 232-0088 fax
                     KYLE                                      X            Mr. Keys Inc                                     353 Herbertsville Rd           Brick                    NJ 08724         (732) 840-8877       (732) 840-8885 fax
                     Bob                   U                   X            Mr. Stuff Warehouse                              19625 Parthenia St.            Northridge               CA 91324         (818) 700-0053       (818) 700-0054 fax
                   Dorothy                 U                   X            Mulholland Security                              21260 Deering Port             Canoga Park              CA 91304         (818) 980-1241       (818) 980-2412 fax
                   MONTY                                       X            Murdock Companies Inc.                           1111 E. 1st                    Wichita                  KS 67214         316-262-0401         (316) 263-8100 fax
                    MARK                                       X            Myco-Com Inc                                     9232 Joor Road                 Baton Rouge              LA 70818         (225) 261-2666       (225) 262-1578 fax
                                                                            N H Bragg & Sons(now parent Co.) Horizon
    X               BRENT                  U                   X            Solutions                                        P.O.Box 927                    Bangor                   ME 04402-0927    (207) 947-8611       (207) 947-6752 fax
                 BRAD GUFFEY                                   X            Nashville Medical Electronics                    1616 Hayes St # 102            Nashville                TN               (615) 320-1001       (615) 320-1057 fax
                    IRWIN                                      X            National Security & Door                         8142 Hull Street Road          Richmond                 VA 23235         (804) 745-4936       (804) 745-5085 fax
                 DEAN FULLER                                   X            National Solar Technologies                      166 Taylor Road Depew                                   NY 14043         (716) 683-2505       (716) 683-8655 fax
                    MARK                                       X            Nationwide Gage Calibration, inc.                159 Covington Drive            Bloomingdale             IL 60108         (630) 529-4959       (630) 529-9087 fax
                                                                            Nature's Gallery Inc                             314 n Main St                  54868-1717 - Rice Lake   WI               (715) 234-9324       (715) 736-0678 fax
    X        ANGELO/ EDDIE HARMON          U                   X            NC Servo Technology Corporation                  38422 Webb Drive               Westland                 MI 48185-1974    (734) 326-6666       (734) 326-6669 fax




                                                                                                                          Page 16
                                 Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 17
                                                                      of 27


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                        MATT                                       X            Ne Security Sollutions                         74 Doty Cir                                    West Springfield      MA               (413) 584-4341    (413) 739-5476 fax
                       BRET G.                   X                 X            Nelson Appliance Repair                        1220 East Fillmore Street                      Colorado Spring       CO 80907-6402    (719) 635-1928    (719) 630-1577 fax
                    KEITH HOLMES                 U                 X            network twenty                                 5009 W Nassau St                               Tampa                 FL 33685         (813) 639-9444    (813) 639-9344 fax
                        PETER                                      X            New England Hydraulic Svc Co                   21 6th Rd # B                                  Woburn                MA 01801-1757    (781) 932-8880    (781) 932-9715 fax
                       JEREMY                                      X            New Tech Inc                                   1600 Van Ess Rd                                New Franken           WI 54229-9356    (920) 866-2317    (920) 866-9259 fax
                      No Listing                                                NO LISTING                                                                                    Norcross              GA                                 (770) 242-8450 fax
                         #NG                                                    NO LISTING                                                                                    Norfolk               VA                                 (757) 626-0606 fax
    X          CHRISTY, BRIAN. MARY              U                 X            North Florida Power Tool                       4851 Rosselle St Unit #3                       Jacksonville          FL 32254         (904) 387-4455    (904) 387-2460 fax
                                                                                North Star Svc & Supply *                      3410 E 42nd St                                 Minneapolis           MN                                 (612) 722-3415 fax
                       TOM                                         X            Northeast Commercial Appliance                 949 Troy Schenectady Rd                        Latham                NY 12110-1180    (518) 785-0190    (518) 785-4643 fax
    X              ROBERT GREEN                  X                 X            Northend Rental                                13927 Hwy. 99                                  Lynwood               WA 98087-1725    (425) 745-5690    (425) 742-4848 fax
    X                 STEVE                                        X            Northern States Supply                         1416 Riverfront Drive                          Mankato               MN 56001         (507) 388-4060    (507) 388-1279 fax
    X                  JAKE                      U                 X            Northern States Supply                         600 Industrial Dr SW                           Willmar               MN 56201-2717    (320) 235-0555    (320) 235-0981 fax
                                                                                                                                                                                                                     (605) 334-5695
    X                 D.J., Terri                U                 X            Northern States Supply                         520 E Benson Rd                                Sioux Falls           SD - 57104       (800) 450-0555    (605) 332-0228 fax
    X               SCOTT, BRYAN                 U                 X            Northwest Sales Group Inc.                     5718 1st Avenue South                          Seattle               WA 98108         (206) 762-5111    (206) 762-5546 fax
    X                   CHRIS                    X                 X            Northwest Tool Repair                          1000 Baker Ave,                                Whitefish             MT 59937         (406) 862-6275    (406) 862-6280 fax
                       ROBERT                                      X            Norvac Lock Technology Inc                     2001 S Loudoun St                              Winchester            VA 22601         (540) 662-5641    (540) 662-2970 fax
                        MIKE                                       X            Novato Lock                                    7395 Redwood Blvd.                             Novato                CA 94945         (415) 892-9111    (415) 892-3351 fax
                      TAMARA                                       X            Nre Wheel Works                                5300 N 33rd St,                                Milwaukee             WI - 53209       (414) 462-8244    (414) 462-8231 fax
                     ADAM/ NICK                  U                 X            Nutter Appliance                               5805 Market St                                 San Diego             CA               (619)- 262-9981   (619) 262-9985 fax
                        TOM                      U                 X            Nu-Way Tool Supply                             3232 El Camino Real                            Santa Clara           CA 95051         (408) 984-5395    (408) 984-0162 fax
                                                                                Oestreich Locksmiths                                                                          Joliet                IL 60431         (815) 722-6635    (815) 722-6635 fax
                     FRONT DESK                                    X            Office Automation Ctr Inc                      1125 Ohio Ave                                  Morrisville           Pa 19067         (215) 295-3080    (215) 295-3082 fax
                                                                                Office Machine Consultants                     3624 46th Ave                                  Rock Island           IL 61201-7046    (309) 786-0126    (309) 786-0126 fax
                       WILLIAM                                     X            OHIO HYDRAULIC SVC                             PO Box 2375                                    Columbus              OH               (614) 221-8495    (614) 221-6246 fax
    X                  IAN, AJ                   U                 X            Ohio Power Tool                                999 Goodale Blvd                               Columbus              OH 43212         (614) 481-2111    (614) 481-2112 fax
                        JAMIE                                      X            Oil Safe System                                1108 Front Stree                               Lisle                 IL 60532         (630) 922-5009    (630) 852-3678 fax
                                                                                                                                                                                                                     3202865302 or
                          L.J.                                     X            Olsen Chain & Cable data                       300 1st St E                                   55321 0000            MN               3202862187        (320) 286-5302 fax
                          JEN                                      X            Omni Cart Services                             PO Box 366                                     Mentor OH             OH               800-525-2278      (440) 205-8366 fax

                                                                                ONSHORE RESOURCES                              1402 E Martin Luther King Jr Industrial Blvd   Lockhart              TX 78644         (512) 825-9070    (512) 376-3330 fax
                        SHERRY                                     X            Owens Communications                           1815 21st Street                               Columbus              IN 47201         (812) 376-9652    (812) 376-9729 fax
                         Cindy                   U                 X            P H Hydraulic Service Inc                      6530 Trixy St                                  Jacksonville          FL - 32219       (904) 781-3558    (904) 783-9957 fax
                       HEATHER                                     X            P&R Supply                                     8 South 109 East Pl.                           Tulsa                 OK 74128         (918) 438-6270    (918) 438-9993 fax
                         JULIE                                     X            P.F. Markey, Inc.                              2880 Universal Dr.                             Saginaw               MI 48603         (989) 793-0900    (989) 793-9511 fax
                                            No Longer in
    X               Joel @ S & S             Business              X            Pacific Coast Air: NOW: S & S Supply Solutions 3630 Placentia Court                           Chino                 CA 91710-2978    (909) 627-8519    (909) 628-5290 fax
                      MICHAEL                    U                 X            Pacific Electronic Enterprises                 7471 Talbert Ave,                              Huntington Beach      CA 92648         (714) 848-9091    (714) 847-2474 fax
    X            James Jones (JJ), Lisa          U                 X            Pacific Industrial Supply                      1231 S Director St                             Seattle               WA 98108         (206) 682-2100    (206) 623-2173 fax
                      MEAGAN                                       X            Paco Ventures                                  7400 Second Ave South                          Seattle               WA 98124         206-762-3550      (206) 763-4232 fax
                    TODD, Yumi                   U                 X            Painter's Place                                1141 Magnolia Ave,                             Larkspur CA           CA 94939-1042    (415) 461-0351    (415) 925-0857 fax
                                                                                Palesh & Associates *                          3659 Lost Nation Rd.                           Willoughby            OH 44094         (440) 942-9168    (440) 953-4529 fax
             Sandy Martin, Sarah Burnette        U                 X            Pape Material Handling Inc                     2410 Grand Ave                                 Sacramento            CA 95838         (800) 347-2955    (916) 565-5622 fax
                      PATRICK                                      X            Patrick's Locksmith Svc                        1300 Skinner St                                Freeport              TX 77541         (979) 233-5633    (979) 233-0737 fax
                        JEFF                                       X            Patriot Supply                                 172 Copeland Drive                             Mansfield             MA 02048         800-339-7287      (508) 339-6921 fax
                                            Permanently
    X                                          Closed                           Patterson Mold & Tool Inc                      24 Joseph E Kennedy Blvd # 8                   Statesboro            GA 30458-3108    (912) 681-9255    (912) 681-8549 fax
                                            Permanently
    X                                          Closed                           PATTERSON MOLD & TOOL INC *                    24 Joseph E Kennedy Blvd # 8                   Statesboro            GA 30458-3108    (912) 681-9255    (913) 338-0838 fax
                  DANNY, PRICILLA                                  X            Paul's Repair Shop Inc                         32127 Riverside Dr                             Big Rock VA           VA 24603         (276) 530-7311    (276) 530-7315 fax
    X                 SKIP                       U                 X            Payne's Tool & Supply Inc                      5010 Nc Highway 55                             Durham                NC 27713-9433    (919) 544-9134    (919) 544-0474 fax
                                                                                PCS Stattion Inc. *                            515 W Garvey Ave                               Monterey Park         CA               626-458-0342      (626) 289-3100 fax
    X                   KEVIN                    U                 X            Penn Tool Branch Locations                     625 Bev Road                                   Youngstown OH         OH 44512         (330) 758-0845    (330) 758-6028 fax
                        SEAN                                       X            Penn Tool Sales & Service                      601 NW Business Park Lane                      Riverside             MO 64150         (816) 741-1010    (816) 741-1019 fax
                         KYLE                                      X            Penn Tool Sales & Service                      2631 Crescentville Road                        Sharonville           OH 45241         (513) 772-8982    (513) 772-8044 fax
    X                   EDDIE                    U                 X            Pennsylvania Tool Service                      912 Links Ave                                  Landisville           PA 17538-1615    717-898-3197
                                                                                PERFECT WIRELESS                               3405 W 96TH ST                                 INDIANAPOLIS          IN 46268         (317) 874-4260    (317) 874-4266 fax
    X                   MARY                     U                 X            Perrine Electric                               6067 Crater Lake Hwy.                          Central Point         OR 97502         (541)826-5505     (541) 826-1259 fax
                                                                                Petersburg Trading                             5927 Boydton Plank Rd.                         North Dinwiddie       VA 23803-7482    (804)861-3565     (804) 861-3565 fax




                                                                                                                            Page 17
                        Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 18
                                                             of 27


Estab. Bus                        Prior Perm. /    Verified Info. /
Relations    Contact/Contacts        Update       Perm. To Fax Doc.                          Busniess                                 Address                    City        State/ZIP         Phone                Fax
                    AL                                   X            Phil & Son Security Technology             871 N. Madison St.              Crown Point             IN 46307-8212   (219) 663-5757   (219) 663-1066 fax
    X              TONY                U                 X            Philbin Mfg                                28 N. Russell St.               Portland                OR 97227        (503) 287-1718   (503) 287-3144 fax
                                                                      PINEWOOD APPLIANCE REPAIR                  833 SE 2nd St                   Bend                    OR 97702-1759   (541) 389-2112   (541) 389-4856 fax
                  ANNETTE                                X            Plastech Inc                               3903 Washington Blvd # A        Baltimore               MD              (410) 737-4700   (410) 737-6764 fax
                    KEVIN                                X            Platt Electric Products                    10605 SW Allen Blvd.            Beaverton               OR 97005        (503) 641-6121   (503) 255-8082 fax
                    JANET                                X            Pointer Electric Inc                       13845 Rector Rd                 Bow                     WA              (360)757-1300    (360) 757-2681 fax
                     RITA                                X            PolyMod® Technologies                      P.O. Box 10180                  Fort Wayne              IN 46851-0180   (260) 436-1322   (260) 432-6051 fax
                     JULIE                               X            POPLAR BLUFF ELECTRICAL SUPPLY COMPANY     120 South 6th Street            Poplar Bluff            MO 63901        (573) 686-1737   (573) 686-4874 fax
                     TARA                                X            Porter Services                            4091 Sinclair St                Denver                  NC 28037        (704) 483-3529   (704) 483-3529 fax
                     RICK                                X            Posner Industries                          4003 Westfax Dr                 Chantilly               VA - 20151      (703) 631-3313   (703) 631-0175 fax
                    JAMES                                X            Posner Industries Inc                      44180 Airport View Dr # 12      Hollywood               MD 20636        (301) 373-6390   (301) 373-6394 fax
                   BERNIE                                X            Posner Industries Inc                      4600-J Wedgewood Blvd.          Frederick               MD 21703        (301) 668-4450   (301) 668-4454 fax
    X              AARON                                 X            Pousson's Tool & Fasteners Co              3312 Hodges St                  Lake Charles            LA 70601-8579   (337) 477-9401   (337) 477-2425 fax
                     PHIL                                X            Power Clinic                               12901 Nicholson Ln., Ste. 200   Dallas                  TX 75234        (972) 620-9711   (972) 620-1926 fax
                    CHRIS                                X            Power Place, Inc                           319 US HWY 46,                  ROCKAWAY                NJ 078663833    (973) 627-8005   (973) 627-4252 fax
               SHANIE/ DENISE          U                 X            POWER SECURE                               240 Circle Dr.                  Maitland                FL 32751        (407) 628-8186   (407) 628-8919 fax
                  BRAD, JIM            U                 X            Power Service                              4025 1st Ave. South             Billings                MT 59101        (800) 823-8665   (406) 259-3956 fax
    X        MARLENE/NATHAN            U                 X            Power Tool & Supply Inc                    3699 Leharps Dr                 Mahoning                OH              (330) 792-1487   (330) 792-3687 fax
    X                DAN               U                 X            Power Tool Repair                          371 West Ave.                   Tallmadge               OH 44278        (330) 630-0022   (330) 630-3320 fax
    X              DUSTIN              X                 X            POWER TOOL SERVICE OF NASHVILLE            1106 Elm Hill Pike Ste 130      Nashville               TN - 37210      (615) 255-8227   (615) 254-8229 fax
    X        JENNIFER / LAUREN         U                 X            Power Tool Specialist                      37009 Lirocchi Park Rd          Prairieville            LA 70769        (225) 356-0101
    X              ROBERT              X                 X            Power Tools Inc                            1200 S Bellevue Blvd            Memphis                 TN 38106-3497   (901) 774-1212   (901) 774-7808 fax
    X            BILL, CINDY          X,U                X            Power Tools Sales & Svc                    6713 Angola Rd                  Holland                 OH 43529        (419) 868-8665   (419) 868-9084 fax
                     ANDY                                X            Powerhouse Tool & Supply Inc               201 Ritchie Road # C            CAPITOL HEIGHTS         MD 20743        (301) 350-8200   (301) 350-4026 fax
             NO LONGER IN BUS                            X            PRECISION CALIBRATION LABS *               11789 Lackland Rd               St Louis                MO              314-997-1981     (314) 997-7420 fax
    X           SHERRI, KARRY          U                 X            Precision Electronics Service              332 Ringgold Industrial Pkwy    Danville                VA 24540        (800) 732-4695   (434) 792-5672 fax
                   NICOLE                                X            Precision Locksmith Svc Inc                10345 SW Canyon Rd              Beaverton               OR 97005        (503) 644-9881   (503) 626-7231 fax
                    MATT                                 X            PRECISION OUTDOOR POWER                    614 W MAIN                      RIVERTON                WY 82501-3338   (307) 856-1432   (307) 856-1434 fax
                      JAN                                X            Precision Propeller Repair                 78 Bridge Street                Newburgh                NY 12550        (845) 562-3880   (845) 569-1558 fax
    X               DEREK             X,U                X            Precision Tool & Const Sup Inc             4857 E 29th                     Tucson                  AZ 85711        (520) 745-1100   (520) 745-2500 fax
                                                                      Preferred Testing Labs                     5148 N Commerce Ave # D         Moorpark                CA 93021-7139   (805) 532-2092   (805) 532-2094 fax
    X              MIKE                X                 X            Prescotts Power Tool                       1050 Willow Creek Rd Ste 1,     Prescott                AZ - 86301      (928) 445-2628   (928) 776-8159 fax
    X             DAVE                 X                 X            Priest Electric                            412 W Simplot Blvd              Caldwell                ID 83605        (208) 459-6351   (208) 459-6586 fax
                 ZHANAIA                                 X            Prime Power                                8225 Troon Circle,              Austell                 GA 30168        770.739.2300     (770) 739-7033 fax
                                                                      Pro Foundation Technology Inc.             5525 Raytown Road               Raytown                 MO 64133        816-656-2434     (816) 358-4933 fax
    X               Ashley             U                 X            PRO TOOL INC                               110 NORTH CHURCH ST             Goshen                  NY 10924        845-294-2645     (845) 294-3864 fax
    X        VICKI, JAIME, MIKE       X,U                X            Pro Tool Service                           1125 Glendale Milford Rd # 2    Cincinnati              OH 45215        (513) 772-1490   (513) 772-1066 fax
                     LISA                                X            Probst Refrigeration & Heating Inc         318 W Jefferson Ave             Effingham               IL 62401        (217) 646-0017   (217) 342-2898 fax
                    STEVE                                X            Process Sciences, Inc.                     310 S. Brushy St.               Leander                 TX 78641        512-259-7070     (512) 259-7073 fax
    X               CODY               U                 X            Production Tool Supply Co                  29710 Groesbeck Hwy             Roseville               MI 48066        (586) 771-8800   (586) 771-1072 fax
               JOSEPH GEAR                               X            Professional Engine Systems                Po Box 326                      44406-0326 - Canfield   OH              (330) 533-6636   (330) 533-5235 fax
                    MATT                                 X            Professional Testing                       1601 N. A.W. Grimes Blvd.       Round Rock              TX 78665        (512) 244-3371   (512) 244-1846 fax
                                  #no longer in
                  TONYA             service              X            Pruitt Communications Inc                  208 Sumac Ct                    Headland                AL              (334) 693-3014   (334) 671-4544 fax
                   JOHN                                  X            QUALITY MOWER & SAW EQUIP.                 106 STALLINGS ROAD              DURHAM                  NC 27703        (919) 596-9468   (919) 596-1671 fax
                                                                      Quality Screening & Window                 2001 Princeton St               Sarasota                FL 342 237      (941) 953-2670   (941) 953-2674 fax
                                                                      Quality Scrub Car Wash                     30 S Frank Blvd                 Akron                   OH 44313        (330) 864-4704   (518) 753-4496 fax
    X                KIM               X                 X            Quality Supply & Tool                      5722 S Harding St,              Indianapolis            IN 46217        (317) 786-0042   (317) 786-0044 fax
                    GREG               X                 X            QUEST INC.                                 65 S. 1ST AVE                   Brighton                CO 80601        (720)-685-9091   (303)-655-8143 fax
               AUDREY, ERICA                             X            QUICK APPLIANCE REPAIR SERVICE             1825 E Mulberry St,             Fort Collins            CO 80524-3503   (970) 493-3236   (970) 493-1239 fax
                    JANE                                 X            Quick Servant Co Inc                       7395 Washington Blvd # 102      Elkridge                MD              (410) 796-0888   (410) 796-1248 fax
                   RALPH                                 X            R & S Industrial Supply Co., Inc.          436 Ga Highway 247 S            Bonaire                 GA 31005        (478) 328-2120   (478) 328-1374 fax
                   BRIAN                                 X            R N T Supply Inc                           4801 James A McDivitt St        Jackson                 MI 49201-8904   (517) 750-3898   (517) 750-4737 fax
    X           NICOLE, DAN            U                 X            R&D Services                               45 Old Turnpike Road,           Southington             CT 06489        (860) 628-5205   (860) 621-2415 fax
                    BARB                                 X            R&L Hearing Services LLC                   3005 Niagara Lane N., Suite 2   Plymouth                MN 55447        (763) 383-1429   (763) 383-1437 fax
                   DENISE                                X            R. Scheinert & Son Inc.                    10092 Sandmeyer Ln              Philadelphia            PA 19116        (215) 673-9800   (215) 673-9360 fax
                 STEPHANIE                               X            Radioland, Inc.                            1421 Lexington Road             Louisville              KY 40206        (800) 626-2447   (502) 589-4276 fax
    X         TANYA, SHAWN,           X,U                X            Radwell International, Inc                 309A South Regional Road        Greensboro              NC 27409        (336) 547-1934   (336) 547-1909 fax
    X         GEORGE, TERESA           U                 X            Rainbow Electric Motors-Cntrls             2910 Birch St                   Franklin Park           IL 60131        (847) 455-4605   (847) 455-0385 fax




                                                                                                               Page 18
                          Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 19
                                                               of 27


Estab. Bus                             Prior Perm. /    Verified Info. /
Relations       Contact/Contacts          Update       Perm. To Fax Doc.                         Busniess                                Address                    City         State/ZIP         Phone                  Fax
                                       Permanently
                  NO GOOD #               closed              X            Ralls Appliance *                          800 Weatherly St,              Borger                 TX 79007         (806) 274-5269     (806) 274-2165 fax
                      JOE                                     X            Ralph's Industrial Electronic Supplies     6807 Telephone Road            Houston                TX 77061         (713) 645-2211     (713) 645-2111 fax
               ZACHARY ROBERSON             X                 X            Ram Tool & Supply Co Inc                   541 Oliver Rd                  Montgomery             AL 36117-2261                       (423) 698-0835 fax
                    LINDSEY                 U                 X            Ray O. Cook Heating & Air                  889 Riverside Ave Ste C        Roseville              CA 95678-4385    (916) 784-6525     (916) 784-5335 fax
                    ROBERT                                    X            Ray's Appliance Sales & Svc                86 Lake St,                    Rouses Point           NY 12979-1219    (518) 297-2899     (518) 297-2114 fax
                                       Permanently
    X        MIKE, NO LONGER IN BUS.     CLosed               X            RECCO TOOL & SUPPLY CO. *                  8805 Joliet Rd.                McCook                 IL 60525         (708) 442-7850     (708) 442-7871 fax
                PRICILLA, ADRIANA          U                  X            Reed Brothers Security                     2950 Alvarado St. Suite D      San Leandro            CA 94577         (510) 652-2477     (510) 652-7081 fax
               Permanently Closed                                          ReGenCo                                    6609R West Washington Street   West Allis             WI 53214-        (414) 475-3342     (414) 475-2858 fax
                       BILL                                   X            Regent Hydraulic                           4051 Cresson St                Philadelphia           PA 19127         (215) 482-2050     (215) 482-6863 fax
                       RINA                                   X            Reliable Equipment                         301 Ivyland Rd                 Warminster             PA 18974         (215) 357-3500     (215) 357-9193 fax
    X                  FLO                  U                 X            Reliable Tool Service                      6970 WALLIS RD, 1A             WEST PALM BEACH        FL 33413         (561) 689-1676     (561) 689-1644 fax
    X                 BRIAN                 U                 X            RELIANCE ELECTRIC SERVICE CO., INC         573 S Canal St                 Holyoke                MA 01040-5555    (413) 533-3557     (413) 533-3560 fax
                                                                           Remco office systems                       4767 Gateway Circle            Kettering              OH 45440         (937) 436-2448     (937) 436-2449 fax
                     ADAM                                     X            Reno Hydraulic & Rebuild                   50 E. Glendale Ave             Reno                   NV 89431         (775) 356-2703     (775) 356-6635 fax
    X                 ROB                   U                 X            RENU ELECTRIC CO., INC.                    20163 John R Rd.               Detroit                MI 48203         313-366-1570       (313) 366-1728 fax
                                                                           Restoration Technologies                   3695 Prairie Lake Ct           Aurora                 IL               630-851-1744       (630) 851-1774 fax
                 GEORGE Janina              U                 X            Rex Lock & Safe                            3511 Clayton Rd                Concord                CA 945 519       (925) 798-9673     (925) 798-3850 fax
    X             MR. RICHARD                                 X            Richard's Sharpening Service               824 W Mill Rd                  Northfield             NJ 08225         (609) 641-9481     (609) 645-3890 fax
                    MAURY                                     X            Richland Industrial Inc                    919 Catawba St PO Box 11327    Columbia               SC 29201         (803) 252-3360     (803) 252-6902 fax
                                                                                                                                                                                             (419)472-3053 or
                    RECP. OK                                  X            Richland Industries                        1941 W Alexis Rd               Toledo                 OH               (419)472-1148      (419) 472-3053 fax
                                       Permanently
    X                                     Closed                           Ridge Electric *                           1235 G St                      Fresno                 CA 93706         (559) 268-8315     (559) 268-8315 fax
                   OK TO FAX                                  X            Ridgewood Locksmith                        104 N Maple Ave                Ridgewood              NJ 07446         (201) 327-4200     (201) 818-6611 fax
                                                                           Rio Industrial Supply                      3522 Frutas Ave.               El Paso                TX 79905         (915) 533-0984     (915) 544-2658 fax
                 KIM SCHEFFLER                                X            Rivercity Communications Inc.              1951 NW Loop 410. Ste E10      San Antonio            TX 78213         (210) 690-0403     (210) 558-3209 fax
                  PAUL MILLER                                 X            Riverdale Tool                             16 Midland Ave                 Elmwood Park           NJ 07407         (201) 791-8787     (201) 791-2699 fax
    X              SAL, MARY                U                 X            Robert Bosch Tool Corp                     4990 E Landon Dr               Anaheim                CA 92807         (714) 779-4900     (714) 779-4909 fax
                      ROB                                     X            ROBERTS AND SONS                           20 JEWEL ST.                   GARFIELD               NJ               (973) 772-1009     (973) 772-3232 fax
                   OK TO FAX                                  X            Robi Tool Sales                            168 Broadway                   Somerville             MA               (617) 776-1234     (617) 625-1650 fax
    X           KATELYN/AUSTIN              U                 X            Robinson's Saw Service Inc                 52211 Van Dyke Ave             Utica                  MI 48316         (586) 731-7175     (586) 731-3509 fax
                     ELISHA                                   X            Rochester Industrial Services, Inc.        1940 Lyell Ave.                Rochester              NY 14606         (585) 254-5880     (585) 254-1839 fax
                  RON, LAURA                U                 X            Rocky Mtain Aircraft Svc                   Glacier Park Intl Airport,     Kalispell              MT 59901         (406) 752-5810     (406) 756-0420 fax
                                                                           Rogan Inc.                                 400 Devils Glen Rd S           Bettendor              IA 52722-6476    (563)355-8333      (563) 355-8333 fax
                     SARAH                                    X            Rohlinger Enterprises; Incorporated        PO Box 1340                    SUQUAMISH              WA               (360) 598-4287     (360) 598-6166 fax
                                                                                                                      732 Monroe Dr NE                                                       404-873-5022 or
                     LILLIAN                U                 X            Rolling Frame Revue                                                       Atlanta                GA               404-873-6911       (404) 873-6911 fax
                                                                           Roys Electric Motor Sales and Service      3201 Norfolk Street            Richmond               VA 23230         (804) 355-5713     (804) 355-5716 fax
    X            DARRYL, DUSTIN             X                 X            Runge Tool                                 1330 S. Inca Street,           DENVER                 CO 80223         (303) 744-1224     (303) 744-1229 fax
    X                  ALEX                 X                 X            Rupe's Hydraulics                          725 N Twin Oaks Valley Rd      San Marcos             CA 92069-1713    (760) 744-9350     (760) 744-7859 fax
                       DAN                                    X            Rusco Hydraulics Inc.                      1029 Dillerville Rd            Lancaster              PA 17603         (717) 393-0401     (717) 299-1241 fax
    X                 SCOTT                 X                 X            S S ELECTRIC REPAIR SHOP INC               2470 Seneca St                 NY                     NY               (716) 823-1232     (716) 823-0371 fax
                     JENILLE                U                 X            Safemart                                   15100 Crenshaw Blvd            90249-4047 - Gardena   CA               (310) 324-4048     (310) 323-9251 fax
                   KERRY PAGE                                 X            Safway Supply Inc                          1503 E. Riverside              Spokane                WA 99219         (509) 535-9841     (509) 534-3139 fax
    X              MARK, Tony               U                 X            SAKO ELECTRIC MOTOR REWINDING CORP         2023 Republican St             Honolulu               HI - 96813       (808) 845-9751     (808) 841-6989 fax
                     SUSAN                                    X            Same Day Svc Co Inc                        1 Presidential Way             Woburn                 MA 01801-1757    (781) 334-3909     (781) 935-2342 fax
    X             JOHN SANKEY               U                 X            Sankey Equipment                           4331 Milling Rd                San Antonio            TX 78219         (210) 227-4178     (210) 228-0377 fax
                       TIM                                    X            Sarver's Hydraulic & Pneumatic             2730 Johnson Ave Nw            Roanoke                VA 24017-5236    (540) 344-0799     (540) 342-9808 fax
                                       Permanently
    X          NO LONGER IN BUS.          Closed                           S-B Power Tools                            1850 Beaver Ridge Cir.         Norcross               GA 30071         (770) 242-9880     (770) 242-9880 fax
                    PATTY                                     X            Sbm Electronics Inc                        628 California Ave             PITTSBURGH             PA 15202-2429    (412) 734-3330     (412) 761-0190 fax
                 MATT STUART                                  X            Sbs Industries Llc                         1843 n 106th East Ave          Tulsa                  OK 74116-1510    (918) 836-7756     (918) 834-8513 fax
                     JULIE                  U                 X            Scales Unlimited Inc.                      4814 East Hwy 20-26            Caldwell               ID 83605         (208) 455-1856     (208) 455-2831 fax
                    CHUCK                                     X            Schaub Equipment Rental Inc.               2902 Seneca Street             West Seneca            NY 14224-1949    (716) 824-1555     (716) 824-7731 fax
                                                                           Schmidt SAW & Knife Works                  2510 S 4th St                  Beaumont               TX 77701-6610    (409) 835-5976     (409) 835-6009 fax
    X           SANDY /. SHIRLEY            U                 X            Schneider Electric Industrial Services     235 Burgess Road               Greensboro             NC 27409         (800) 950-9550     (336) 668-4878 fax
                  # NO GOOD                                                School of Lock Technology *                1049 Island Avenue             San Diego              CA 92101         619-234-1036       (619) 234-5937 fax
                     MIKE                                     X            Schutte-Buffalo Hammermill LLC             61 Depot St                    Buffalo                NY 14206         (800) 447-4634     (716) 855-3417 fax
                     BILL                                     X            Scott Electric                             39 Ann St, 15223               Pittsburgh PA          PA               412-687-5000       (412) 621-7169 fax




                                                                                                                    Page 19
                        Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 20
                                                             of 27


Estab. Bus                          Prior Perm. /     Verified Info. /
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                                                                         Scotty's Hydraulic Svc                            1200 Markley Dr                  Plymouth                IN 46563-3207    (574) 935-5175      (574) 935-5162 fax
                   DOUG                                     X            Seals Unlimited Inc                               17300 Sw Baseline Rd             Beaverton               OR 97006         (503) 690-6644      (503) 690-6688 fax
                  JOHNNIE                                   X            Security Lock And Safe Hallford Bros. LLC         705 Roswell St. NE               Marietta                GA 30060         (770) 422-2483      (770) 422-2593 fax
                  ANTHONY                                   X            Security Locksmiths, Inc.                         2040 7th Street N.               St. Cloud               MN 56303         (320) 253-4862      (320) 259-4727 fax
                                    Permanently
                    Carol              closed               X            Security Services & Technologies                  2450 Boulevard of the Generals   Norristown              PA 19403         (610) 630-6790      (610) 630-6785 fax
                   STEVE                                    X            SERIAL SCENE, INC.                                410 Wilmot Rd                    Deerfield               IL 60015-3953    847-948-0224        (847) 948-0221 fax
                Lee McDavid               U                 X            Service Care, Inc.                                2812 5th Ave South               Irondale                AL 35210         (205) 956-3777      (205) 956-3922 fax
                   JERRY                                    X            Sewer Cable Equip. Co.                            2834 Marco St                    Las Vegas               NV 89115-3466    (702) 433-5401      (702) 433-5403 fax
    X        ANDREW, Mira, Kevin          U                 X            Sew-N-Vac                                         2600 South Rd Ste 6              Poughkeepsie            NY - 12601       (845) 473-2770      (845) 473-0089 fax
    X           FRED / DAVID              U                 X            Sharkan Supply Co.                                1825 Weaversville Rd             Allentown               PA 18109         (610) 264-4501      (610) 264-3094 fax
                  LINDSEY                                   X            Sherer Lock & Supply                              1242 Brighton Rd,                Pittsburgh              PA 15233         (412) 321-7000      (412) 321-6002 fax
                                    Permanently
                  STEPHANIE            closed               X            Shoe Equipment Co.                                7340 S.W. Bonita Rd.             Tigard                  OR 97224         (503) 620-2794      (503) 620-1763 fax
                    TRAVIS                                  X            Shreveport Air Tool, Inc.                         125 Freestate Blvd.              Shreveport              LA               (318) 227-9412      (318) 227-0013 fax
                     RAY                                    X            Sierra Saw & Tool Inc                             9 Harter Ave                     Woodland                CA 95776         (530) 666-5267      (530) 666-0658 fax
                                    both #'s fax #                       Signet 6 Network Sciences                         123 W 3rd St                     Little Rock             AR 72201         (501)375-7156       (501) 375-7156 fax
                                    NO LONGER IN
                                      BUSINESS                           Simple Office Solutions                           1831 Guerneville Rd              Santa Rosa              CA 95401         (707) 636-2679      (707) 575-9448 fax
                                                                         Sinclair Material Handling - Trenton              61 2nd Ave                       Trenton                 NJ 08619-3205    (609) 586-2077      (609) 584-8882 fax
                 BRANDON                                    X            Si-tes Inc                                        1658 Katy Ln                     Fort Mill               SC 297 708       (803) 396-3952      (803) 396-3953 fax
                    BILL                  U                 X            Sky Products Tools                                10035 NW 7th Ave,                Miami                   FL- 33150        (305) 759-8665      (305) 759-8669 fax
    X              DOUG                   X                 X            SkywayTools.com                                   2499 Bruce Road                  Chico                   CA 95928         530-891-1495        (530) 891-4025 fax
    X           Wade, Megan               U                 X            Slim's Power Tools                                142 Kalepa Place                 Kahului                 HI               (808) 242-7878      (808) 242-7790 fax
                                                                                                                                                                                                     (803) 796-6130 or
                    CHRIS                                   X            SLOAN APPLIANCE CAROLINAS, INC.                   635 Frink St                     Cayce                   SC 29033-3511    (803) 796-6132      (803) 796-3348 fax
                     TIM                                    X            Smileys Air Tool & Hydraulic                      4552 Poplar Level Rd             Louisville              KY 40213         (502) 966-3433      (502) 966-3910 fax
                                                                         So-Fro Fabrics *                                  31910 Gratiot Ave                Roseville               MI 48066         (586) 293-5210      (586) 293-5210 fax
                   WAYNE                                    X            South Shore Generator Service                     2696A Cranberry Highway          Wareham                 MA 02571         (888) 339-4248      (508) 291-2544 fax
                 JERRY/JUDY               U                 X            SOUTHEASTERN JACK CO.                             500 FOURTH AVE. NORTH            BIRMINGHAM              AL 35204         (205) 252-1511      (205) 252-1586 fax
    X               JOHN                  U                 X            Southern Apparatus Services, Inc.                 500 Industrial Blvd.             West Monroe             LA 71291         (318) 396-1738      (318) 396-0083 fax
                    WADE                                    X            southern carlson                                  420 NE Butler Market Rd          Bend                    OR 97708         (541) 317-8383      (541) 317-8384 fax

    X            ERIC / DAVID             U                 X            Southern Carlson(formally)Western Tool Supply     1750 McGilchrist St SE Ste160    Salem                   OR 97302         (503) 588-8222      (503) 588-8225 fax
    X              ARNOLD                 U                 X            SOUTHERN FASTENER & TOOL CO INC.                  9450 Mammoth Avenue              Baton Rouge             LA 70814-4107    (800) 272-8025      (225) 927-3335 fax
                     AMY                  U                 X            Southern Photo Technical Service                  37 Northeast 167 St.             North Florida           FL - 33483       (561) 272-2306      (305)653-7356 fax
    X            Hilda, DIEGO             U                 X            Southern Tool                                     4401 Northwest 37th Avenue       Miami                   FL 33142         (305) 633-6372      no fax number
                  ELIZABETH                                 X            SOUTHERN TOOL HYDRAULIC                           910C CREEKSIDE RD                Chattanooga             TN 37405         (423)622-8282       (423) 629-0125 fax
                    WALLY                                   X            SPECMO Enterprises                                1200 East Avis Drive             Madison Heights         MI. 48071        (248) 307-2211      (248) 307-2571 fax
                     BILL                                   X            Spectrum Sound Inc.                               3440 W 30th Street               Indianapolis            IN 46222         317-923-7868        (317) 925-4166 fax
                     LOU                                    X            Spirit Aeronautics                                4808 E. 5th Avenue               Columbus                OH 43219         614-237-4271        (614) 237-6387 fax
                    George                                  X            Spokane Pump *                                    3626 E. TRENT                    SPOKANE                 WA 99202         (509) 535-9771      (509) 535-4565 fax
                    SANDY                                   X            Spring Hill Lock & Key, Inc.                      11223 Spring Hill Drive          Spring Hill             FL 34609         (352) 686-3855      (352) 686-3868 fax
                                                                         St Joseph Electric Supply Company                 1515 Buchanan Ave                Saint Joseph            MO 64501-2025    (816) 232-3843      (816) 232-3843 fax
                                                                         Staley Co Inc                                     1000 w Roberts St                23220-1527 - Richmond   VA               (804) 321-6595      (804) 321-5341 fax
             AMBER, Michael, mike                           X            Standard Calabrations Inc.                        908 VENTURES WAY                 CHESAPEAKE              VA 23328         (757) 549-6534      (757) 549-0666 fax
                   TRAVIS                                   X            Standard TV & Appliance                           63736 Paramount Dr               Bend                    OR - 97701       (541) 388-0088      (541) 389-0778 fax
                    Doug                                    X            Star Avionics                                     521 Airport Rd                   Chattanooga             TN 37421         423-499-1100        (423) 499-1107 fax
    X              DENISE                 U                 X            Star Hydraulics                                   7012 Long Point Rd               Houston                 TX 77055         (713) 681-4105      (713) 681-6246 fax
              OCTAVIO, Veronnica          U                 X            Star Microwave Service                            41458 Christy St.                Fremont                 CA 94538         (510) 498-7900      (510) 498-7901 fax
                   NANCY                                    X            Static Power Conversion Services Inc              9051-H Red Branch Road           Columbia                MD 21045         800-873-8793        (410) 992-1494 fax
                                    Permanently                                                                                                                                                      405)948-8226 or
                                       closed               X            Steve's Wholesale *                               4340 NW 39th St                  Oklahoma City           OK               405)948-1199        (405) 948-8226 fax
                                    Permanently
                    LARRY              closed               X            Steve's Wholesale Distributors                    7010 SE 15th St                  Oklahoma City           OK 73110         (405) 737-3500      (405) 737-2366 fax
                                    Permanently
                                       closed               X            Steve's Wholesale Tools                           9500 e 51st St                   74145-9048 - Tulsa      OK               918-663-2212        (918) 663-4171 fax
                CHERYL , ANDY                               X            Steve's Wholesale Tools                           5342 E Admiral Pl                Tulsa                   OK 74115-8410    (918) 834-0991      (918) 834-1065 fax
                   MARIA                                    X            STRATA WORLDWIDE                                  8995 Roswell Road                Sandy Springs           GA 30350         1-800-691-6601      (770) 321-2520 fax
    X              TODD                   X                 X            Strom Electric                                    405 S Main St                    Troy                    ID 83871-5009    (208) 835-2331      (208) 835-2332 fax
                                                            X            Stronghold Supply                                 12189 Balls Ford Rd              Manassas                VA 20109-2449    (703) 257-5910      (703) 257-1563 fax




                                                                                                                         Page 20
                       Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 21
                                                            of 27


Estab. Bus                       Prior Perm. /    Verified Info. /
Relations    Contact/Contacts       Update       Perm. To Fax Doc.                        Busniess                                      Address                       City             State/ZIP         Phone                 Fax
                MATTHEW                                 X            summit electric supply                            515 Electric Avenue            Farmington                   NM 87401        505-326-9300      (505) 326-1620 fax
    X         DESTINY / CURT          U                 X            Sunbelt Rentals                                   1400 BISCAYNE DRIVE            CONCORD                      NC 28027        (704) 795-2640    (704) 795-2152 fax
                   DON                                  X            SUNRISE TOOL                                      124 Sunrise Highway            West Islip                   NY 11795        1-877-213-8912    (631) 661-4085 fax
    X          ROD / STACY            U                 X            Sunsource                                         5109 Taravella Road            Marrero                      LA 70072        800-349-1134      (504) 349-4792 fax
                                                                                                                                                                                                   800-427-3623 or
    X             DAN                                   X            Sunsource                                         113 Winter Drive               Granite Falls                MN 49512        888-786-7723      (800) 636-2755 fax
    X             KASSI               U                 X            Sunsource                                         12800 South Hwy. 13            Savage                       MN 55378        888-216-0858      (800) 764-2468 fax
                                                                                                                                                                                                                     (800) 586-9502 fax
    X          ANDY, TRENT            U                 X            Sunsource                                         1172 113th Street              Grand Prairie                TX 75050        877-329-0339      (972) 660-0607
    X             LINDA               U                 X            Sunsource                                         1833 Johanna Street            Houston                      TX 77055        713-548-5500      (800) 586-9504 fax
                 WENDY                                  X            Superior Framing                                  89 A W Lawson Boulevard        Jasper                       GA 30143        (706)253-0253     (706) 253-0254 fax
    X           JENNIFER             X,U                X            Sweinhart Electric Company                        7425 Orangethorpe Ave.         Buena Park                   CA 90621        (714) 521-9100    (714) 521-9300 fax
                 PEGGY                                  X            SYSTEM SCALE CORPORATION                          332 Hill Ave                   Nashville                    TN 37210-4712   (615) 254-3440    (615) 254-3443 fax
                                PERMANENTLY
    X                              CLOSED                            T J Tool Supply                                   5080 State Route 132           BATAVIA                      OH 45103        (513) 732-3686    (513) 732-3466 fax
                  RUBEN              U                  X            Tako Tyko                                         5002 Venice Boulevard          Los Angeles                  CA 90019-5308   (323) 937-4445    (323) 937-3912 fax
                   ROSS                                 X            TEACO Inc.                                        2117 Ohio St.                  Michigan City                IN 46361        (219)874-6234     (219) 874-6080 fax
                   # NG                                              Technisys *                                       65 Cooper St                   Woodbury                     NJ 08096-4646   opp0-             (856) 853-9455 fax
                  SARAH               U                 X            Telephone Sales & Installation - Fayetteville     275 n Jeff Davis Dr            30214-1625 - Fayetteville    GA              (770) 460-0442    (770) 460-5162 fax
                  JOANIE              U                 X            Telrepco Services Inc                             101 N Plains Ind Rd            Wallingford                  CT 06492-5824   800-537-0509      (203) 269-1466 fax
                 JOCELYN                                X            Telstar Locksmith                                 79 Pine St.                    New York                     NY 10005        212-809-4363      (212) 809-0141 fax
                                                                     Test & Measurement, Inc.                          1304 Adams St                  Kansas City                  KS 66103        P: 913-233-2724   (913) 233-2702 fax
    X            PHILLIP              U                 X            Texas Tool & Equipment                            3102 Ave A                     Lubbock                      TX 79404        (806) 763-1641    (806) 763-1685 fax
                  JEFF                                  X            Texas Tool & Hardware                             303 E Crestwood Dr             Victoria                     TX 77901        361-573-6376      (361) 573-6575 fax
                 GWEN                                   X            Texas Tool Traders                                120 Gulf Freeway North         League City                  TX 77573        281 332-9201      (281) 554-8893 fax
    X             DAN                X,U                X            THACKER ELECTRIC, INC.                            8517 I STREET                  OMAHA                        NE 68127        402-592-9433      (402) 592-3768 fax

                 MICHELLE                               X            The Andersons Mower Center John Deere Dealer      1220 Ford Street,              Maumee                       OH 43537        419-893-1199      (419) 893-8313 fax
             KALEY SAMANTHA           U                 X            The Frame Maker                                   3102 Raynar, Waysan            San Diego                    CA              619-260-2600      (619) 260-2606 fax
               Aloha, BOBBY           U                 X            The Gellert Co., Inc.                             444 Waiakamilo Road            Honolulu                     HI 96817-4941   (808) 847-2695    (808) 847-1433 fax
                  CHRIS                                 X            THE HOSE CONNECTION INC                           3351 N W LOOP 338              ODESSA                       TX 79764        432 381-7867      (432) 381-2521 fax
    X         Rosemary/Willy          U                 X            The Lawn Mower Shop                               8894 SW 131 St                 Miami FL 33176               FL              (305) 233-3664    (305) 233-4935 fax
                  DENISE                                X            The Lock Doctor                                   433 So. Main St                Phillipsburg                 NJ 08862        908-859-3135      (908) 213-1267 fax
                   JESS                                 X            The Lock Shop, Inc                                5600 Post Road                 East Greenwich               RI 02818        (401) 885-7878    (401) 885-7879 fax
                  WAYNE                                 X            The Parker Group, Inc.                            44810 Vic Wertz Drive          Clinton Township             MI 48036        (586) 469-0606    (586) 469-2826 fax
              MARK FRAZIER                              X            The Savannah Toolhouse                            4408 Augusta Rd                Savannah                     GA 31408        (912) 965-0500    (912) 963-0044 fax
                  JASON                                 X            The Toolshed Baton Rouge                          1856 Wooddale Court            Baton Rouge                  LA 70806        225-926-6500      (225) 924-7700 fax
                  MARK                                  X            The Vac Shak                                      485 Pleasant St.               Lewiston                     ME 04240        207-783-2902      (207) 795-0229 fax
                                                                     THOMAS PNEUMATICS                                 2424 KEYSTONE AVENUE           GREENSBURG                   PA 15601        (724) 832-1110    (724) 832-7060 fax
    X         JEFF / HUNTER           U                 X            Thomas Tool & Supply                              3401 Highway 13 W              Burnsville                   MN - 55337      (952) 895-5613    (952) 895-5636 fax
    X              JOHN               X                 X            Thomas Tool & Supply                              945 37th Ave NW                Rochester                    MN 55901        (507) 281-3786    (507) 281-3879 fax
    X            YVONNE               X                 X            THOMAS TOOL & SUPPLY INC                          1201 Lincoln Ave               Sauk Rapids                  SD              (320) 253-4526    (320) 253-9109 fax
    X        JACOB, BILL, JOY        X,U                X            Thompson Electric Motor Service                   Rt. 10, Box 511                Stollings                    WV 25646        1-800-697-6070    (304) 752-6084 fax
                                                                     Tidewater Service                                 4540 Bonney Rd                 Virginia Beach               VA 23468        (757) 490-2650    (757) 490-8369 fax
               MARGERET                                 X            Tinder Co. Lock and Access                        2802 E. 55th Place             Indianapolis                 IN 46220        (317) 251-9003    (317) 255-2917 fax
    X            STEVE                X                 X            Titan Equipment Repair                            7298 Melrose St                Buena Park                   Ca 90621        (714) 739-2810    (714) 739-2831 fax
                 EDDIE                                  X            Tomba Communications                              14168 RIVER RD                 DESTREHAN                    LA. 70047       985) 764-7627     (985) 725-0061 fax
                 JAMES                                  X            Ton Tex Corp.                                     5346 36th St Se                Grand rapids                 MI              616-957-3200      (616) 957-8927 fax
                SAMMY                                   X            Tony's Appliance Inc                              2090 County Road 42 w # 100,   55337-6922 - Burnsville MN   MN              (952) 435-2442    (952) 435-0521 fax
                 HARRY                                  X            Tool Box Sales & Service                          119 Lakeview Ave,              Clifton NJ 07011             NJ              (973) 340-7652    (973) 340-4041 fax
    X           DERRICK               U                 X            Tool Central                                      2919 S Caraway Rd              Jonesboro                    AR 72401        (870) 972-6864    (870) 972-6925 fax
    X         MISTY, JASON            U                 X            Tool Central                                      2010 Industrial Dr.            Pocahontas                   AR 72455        (870) 892-8665    (870) 892-7076 fax
    X           DONALD                U                 X            Tool Central                                      1240 N Saint Louis             Batesville                   AR 72501-9421   (870) 698-8665    (870) 698-0009 fax
    X         LAURA / LOIS            U                 X            Tool Crib supplies Inc.                           420 SE Fleetway Cir            Lees Summit                  MO 64081-3114   (816) 525-1444    (816) 525-0288 fax
    X           AUSTIN                U                 X            Tool Doctor                                       1825 N Magnolia Ave            Ocala                        FL              (352) 622-5655    (352) 622-6704 fax
                                      #
                                DISCONNECTED
    X            SCOTT               3/2                X            Tool House Inc                                    510 Walnut St                  Ouachita                     LA              (318)322-6167     (318) 323-3410 fax
    X            HOLLY                X                 X            Tool House Inc                                    11949 Reading Road             Sharonville                  OH 45241        (513) 821-3000    (513) 821-3353 fax
                  # NG                                               Tool L Equipment supply *                         3047 Atlantic Ave              Brooklyn                     NY 11208        (718) 277-8860    (718) 277-8860 fax
    X            JUSTIN               U                 X            Tool Mart                                         10568 Sentinal                 San Antonio                  TX 78217        210-655-6116      (210) 655-6727 fax




                                                                                                                     Page 21
                        Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 22
                                                             of 27


Estab. Bus                          Prior Perm. /    Verified Info. /
Relations     Contact/Contacts         Update       Perm. To Fax Doc.                       Busniess                                     Address                              City         State/ZIP           Phone                  Fax
    X            ERIC, Jorge            U                  X            Tool Parts Pro                                 929 Poinsettia Avenue, Suite 105         Vista                  CA 92081          (760) 201-8800     (760) 747-2626 fax
                     ED                 U                  X            Tool Place Corp                                9389 NW 13th St                          Doral                  FL 33172          (305) 591-5650     (305) 591-5653 fax
                                   PERMANENTLY
    X                                 CLOSED                            Tool Service Company                           5732 Wheeler Avenue                      Fort Smith             AR 72901          (479) 648-3125     (479) 648-0046 fax
    X              KATHY                U                  X            TOOL SERVICE CTR                               2431 Raymond dr.                         St. Charles            MO                (636) 940-2525     (636) 940-0691 fax
                                   perMANENTLY
    X                                 CLOSED                            Tool Shack *                                   5120 E Washington Blvd                   Los Angeles            CA 90040-1296     (323) 262-7201     (818) 956-8370 fax
    X              JIMBO                U                  X            Tool Shack Inc                                 226 Edgewood Ave S                       Jacksonville           Fl 32254          (904)384-8120      (904) 384-8120 fax
    X                                    X                 X            Tool Shed - Grass Valley                       654 Maltman Dr # b                       Grass Valley           CA 95945-5192 -   (530) 477-1185     (530) 477-7316 fax
    X              JOHN                  X                 X            Tool Tech Construction Supply Inc              4647 Las Positas Rd Ste A                Livermore              CA 94551-8855     (925) 443-7922     (925) 443-4735 fax
    X            Erick Diaz              X                 X            Tool Time                                      4126 W Burbank Blvd,                     91505-2121             CA                (818) 841-6501     (818) 841-6501 fax
                   RUEBEN                                  X            Tool Town                                      704 North 7th Street.                    West manroe            LA                (318) 329-2929     (318) 329-2988 fax
    X            JEFF / RYAN             U                 X            Tool Warehouse inc.                            127 Main Ave. W.                         West Fargo             ND 58078          701-282-6151       (701) 282-6083 fax
    X              MANNY                 X                 X            Tool Works                                     1431 E 28th St                           Signal Hill            CA 90755          (562) 988-9150     (562) 608-8802 fax
                    MIKE                                   X            Tool Zone Inc                                  970 W 104th Ave                          Northglenn             CO 80234-3801     (303) 252-8500     (303) 252-8770 fax
                                   New Company at                                                                                                                                                        (402)597-3850 or
    X               LEE              this adress           X            Toolbarn Inc                                   6620 F St                                Omaha                  NE                402)331-5666       (402) 331-5666 fax
    X           ERIC HOUSE                X                X            Toolmart Inc.                                  2750. Auto Park Way                      ESCONDIDO              CA 92029          (760) 480-1444     (760) 480-0411 fax
                   BRET                                    X            Tools & Accessories Corp.                      8975 Henkels Ln. Suite #710              Annapolis Junction     MD 20701          (410) 735-8800     (410) 796-4492 fax
                                     BAD #,s see
                TOOL PLUS              notes               X            TOOLS PLUS                                     153 Meadow St.                           Waterbury              CT 06702          (203) 573-0750     (203) 753-9042 fax
    X              RAY                   U                 X            Tools R Us                                     9055 Central Ave                         Montclair              CA 91763          (909) 626-9599     (909) 626-9599 fax
                PAUL LOPEZ               U                 X            TOOL-SMITH                                     1300 4TH AVENUE SOUTH                    BIRMINGHAM             AL 35233          (205) 323-2576     (205) 323-9060 fax
                  JOHN                                     X            TOOL-SMITH                                     665 Massman Drive                        Nashville              TN 37210          (615) 883-4833     (615) 883-4236 fax
                                    No Longer in
    X                                   Bus.               X            Tool-smith Co.                                 3657 Government Boulevard # B            Mobile                 Al 36693-4303     (251) 661-8970     (251) 661-8970 fax
                   KEVIN                 U                 X            Torrance Lock & Key, Inc.                      2421 Torrance Blvd.                      Torrance               CA 90501          (310) 320-8840     (310) 320-8844 fax
    X          CHRIS / ADDIE             U                 X            Total Tool                                     2510 Bell Ave                            Des Moines             IA 50309          (515) 244-1516     (515) 244-2164 fax
    X               RYAN                 U                 X            Total Tool                                     315 N. Pierce St                         St. Paul               MN 55104          800-444-4899       (651) 646-8610 fax
    X              ALLEN                 U                 X            Total tool                                     275 S.W. Blvd.                           Kansas City            MO 64108          (816) 842-7777
    X           PERRY, MARK              U                 X            Total Tool Supply                              215 Allegiance Court                     Appleton               WI 54913          (888) 509-5566     (920) 687-4062 fax
    X          CHARLIE, JERRY            X                 X            Total Tool Supply Inc.                         2611 Kimco Dr                            Lincoln                NE 68521          (402) 476-6673     (402) 476-0049 fax
                   SARAH                 U                 X            Toyota Material Handling Co *                  773 Vertin Ave                           Salinas                CA 93901-4581     (831) 757-1091     (831) 757-2648 fax
                    ALEX                                   X            Tractor Central in Menomonie                   E4650 County Road BB                     Menomonie              WI 54751          (715) 235-4203     (715) 235-1015 fax
                  DARRYL                                   X            Transcat                                       1181 Brittmoore Rd                       Houston                TX - 77043        (713) 465-4399     (713) 465-0525 fax
                   MARY                                    X            Treml Sales & Service                          8411 W Becher St                         Milwaukee              WI 53227          (414) 545-5000     (414) 545-2185 fax
                   DAWN                  X                 X            Tri County Instruments                         211 E Simpson St                         Layfayette             CO 80026-2323     (303) 665-0360     (303) 666-7458 fax
                                                                        Tri Mount Corp                                 327 Passaic Ave                          Fairfield              NJ 07004          (973) 575-5606     (973) 575-0196 fax
    X        JASON / JEFF / MATT         U                 X            Tri State Supply                               205 S 4th Ave                            Yakima WA 98902-3429   WA                (509) 576-0370     (509) 576-0372 fax
                    # NG                                   X            Triangle Engine & Bumper Dstrb *               2055 Calder St                           Beaumont               TX                409-833-6567       (409) 835-6763 fax
                                                                        Tri-City Business Machines Co                  2125 E Center S                          Kingsport              TN                (423) 245-8821     (423) 245-6405 fax
             DEANETTE, JEANETTE                            X            Tricon Tool & Supply                           5809 Clinton Dr                          Houston                TX 77020          (713) 678-7444     (713) 678-4419 fax
    X           TRI COUNTY                                 X            Tri-County Power Tool, Inc.                    1300 Brookpark Road                      Cleveland              OH 44109          (216) 398-6120     (216) 398-6121 fax
                                    Permanently
    X               CHRIS              Closed              X            Tri-county Tool Repair Center                  1900 Discher St                          Charleston             SC 29405          (843) 554-9005     (843) 554-5974 fax
                   SANDY                                   X            Tri-State Hydraulics Inc                       1300 Mckean Ave                          Charleroi              PA 15022-2135     (724) 483-1790     (724) 489-0911 fax
                    DAVID                                  X            Tri-State Lock and Safe                        419 W. 3rd Steet                         Tifton                 GA 31794          229-382-1317       (229) 388-0386 fax
    X              SHAWN                 X                 X            Tristate Repair                                1327 N. Ferris Ave.                      Evansville             IN 47711          (812) 464-9341     (812) 423-3323 fax
    X              SANDY                 X                 X            Tropical Construction Supl Inc                 18412 Paulson Dr                         Port Charlotte         FL                (941) 743-5863     (941) 255-0411 fax
              BILLY JOE FARLEY                             X            Truflex/Pang Rubber Products Company, Inc.     200 East Coshocton Street P.O. Box 486   Johnstown              OH 43031-0486     (740) 967-9015     (740) 967-3583 fax
                     # NG                                               Tulas Power *                                  913 N Wheeling Ave                       Tulas                  OK 741101-4924    918-584-3421       (918) 584-3421 fax
                   BRIGGS                                  X            TULSA LOCK & KEY INC                           10314 E 21st St.                         Tulsa                  OK 74129          (918) 664-5010     (918) 664-5017 fax
                  TIFFANY                                  X            Turk's Kern Copy Inc.                          1701 18th Street                         Bakersfield            CA 93301          (661) 324-3737     (661) 324-1231 fax
                                                                        Turner Hydraulics Inc.                         1605 Industrial Dr                       Carlisle               PA 17013-9615     (717) 243-8865     (717) 243-8865 fax
                JOJO/ JOE JOE                              X            Two Bill Supply, Inc.                          1615 N Highland St                       Memphis                TN 38108          (901) 525-2348     (901) 525-4087 fax
                                    Permanently
                                       closed                           TXR Global Techonogy Service                   2564 Boulevard Of Generals               Norristown             PA 19403-5226     (610) 630-9805     (610) 630-9805 fax
                  SHANE                                    X            TY'S OUTDOOR POWER & SVC INC                   21616 R And R Rd                         Gretna                 LA                (402) 332-5577     (402) 332-5958 fax
                   JERRY                                   X            TYSINGER SEWING & VACUUM CTR                   1690 Us Highway 64 W                     Asheboro               NC                336-629-2825       (336) 629-0959 fax
    X              DEAN                 X,U                X            UCI Sales Inc                                  2601 Douglas Ave                         Racine                 WI 53402          (262) 639-1225     (262) 639-6670 fax
    X             ALVARO                 U                 X            Unicoa Industrial Supply Co                    2224 N 23Rd Ave                          Phoenix                AZ 85009          (602) 254-4666     (602) 254-7100 fax




                                                                                                                     Page 22
                          Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 23
                                                               of 27


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Relations       Contact/Contacts         Update       Perm. To Fax Doc.                       Busniess                                 Address                       City       State/ZIP         Phone                   Fax
                      RICK                                   X            UniCure Spray Booths                       104 Spence Lane                 Nashville              TN 37210        (615) 889-3330      (615) 889-6773 fax
                                                                          Unitec                                     358 Upland Drive                Seattle                WA 98188        (866) 575-1101      (206) 575-1248 fax
                 DAVID,MIRELLA             U                 X            United California Glass & Door             745 Cesar Chavez                San Francisco          CA 94124        (415) 824-8500      (415) 648-3838 fax
                                                                          United Electronic Services, Inc.           816 Monument St.                Danville               VA 24541        (434) 791-3600      (434) 797-9805 fax
                     NICK                                    X            United Hydraulic Inc                       101 Spruce St                   Rich Creek             VA 24147-9710   (540) 726-9512      (540) 726-9518 fax
    X             PAUL/SCOTT               U                 X            United Rentals                             8807 Highway 225                La Porte               TX 77571        (281) 479-3341      (281) 479-7043 fax
    X                # NG                                                 United Rentals *                           8280 Gateway Blvd E             El Paso                TX 79907        (915) 779-7155      (915) 598-1192 fax
    X                BOB                   X                 X            UNIVERSAL REPAIR SHOP                      1611 BOYLSTON AVE               SEATTLE                WA 981122       (206) 322-2726      (206) 322-2126 fax
                                                                          University Lock & Key - Chicago            1344 e 55th St                  60615-5320 - Chicago   IL              (773) 324-7960      (773) 324-7258 fax
                     MARK                                    X            US Telphonics OUT OF BUSINESS              2204 Hagerman Street            Colorado Springs       CO 80904        (800) 358-0066      (719) 633-0072 fax
                     JODY                                    X            Usherwood                                  1005 West Fayette Street        Syracuse               NY 13204        (315) 472-0050      (315) 472-5022 fax
    X                 LEO                 X,U                X            UTILITY ELECTRIC SERVICE                   255 Chapell Road                South Windsor          CT 6074         (860) 246-7271      (860) 241-0051 fax
                PHILLIP BARKER                               X            Vacuum Systems International               7500 Wall Street                Cleveland              OH 44125        (800) 997-8227      (216) 642-8779 fax
    X                JERRY                 X                 X            VALLEY CONSTRUCTION SUPPLY                 45346 N. Trevor                 Lancaster              CA 93534        (661) 948-5074      (661) 948-7310 fax
                      KIM                  U                 X            Valley Office Systems                      2050 First Street               Idaho Falls            ID 83401        (208) 529-2777      (208) 529-0135 fax
                      TIM                                    X            Valley Scale Company, LLC                  751 West Kenwood Avenue         Clarksville            IN 47129        (812) 282-5269      (812) 284-6572 fax
                      KEN                                    X            Valley Scale Svc Inc                       5555 N 28th Ave                 Wausau                 WI 54401-8349   (715) 675-0222      (715) 675-8852 fax
    X               PATRICK               X,U                X            Valley Tool Repair                         4131 Power Inn Rd # B           Sacramento             CA 95826-4335   (916) 737-3234      (916) 737-3234 fax
                  CHRISTINA                                  X            Valmet                                     25 Beloit Street                Aiken                  SC 29805        803 649 1541        (803) 649-1036 fax
    X          WILLIAM SANDERS             X                 X            Valu Tool Repair & Sales                   2501 Crittenden Dr              Louisville             KY 40250        (502) 636-2835      (502) 636-0798 fax
    X                 JOE                 X,U                X            VAMACO TOOL                                6718 E 38TH ST                  INDIANAPOLIS           IN 46226        (317) 632-2208      (317) 244-3920 fax
                      WILL                                   X            Vancouver Bolt & Supply                    420 California Way              Longview               WA 98632        (360) 425-9360      (360) 425-9324 fax
                 BRUCE QUINN                                 X            Viking Electric Supply                     451 Industrial Blvd NE # 2      Minneapolis            MN 55413-8717   (612) 627-1300      (612) 627-1313 fax
                      BILL                                   X            VILLAGE LOCK & KEY INC                     8970 State Route 108 # C,       Columbia               MD              (410) 997-5969      (410) 997-0463 fax
    X             GREG/ KIM                U                 X            Vortex Doors                               5800 Bandini Blvd               Commerce               CA - 90040      (323) 721-5545      (323) 721-5064 fax
                 CINDY / LUCY              U                 X            Vortex Industries - Carson                 865 Sandhill Ave,               Carson CA              CA              310-549-6050        (310) 549-4911 fax
                ANDREA, Emmy               U                 X            Vortex Industries, Inc.                    7370 Opportunity Road Ste Q     San Diego              CA 92111        (858) 560-1507      (858) 560-4051 fax
                ARACELI, TIANA             U                 X            Vortex Industries; Inc                     20 Odyssey                      Irvine                 CA 92618        (714) 434-8955      (714) 434-0727 fax
                     MIKE                                    X            W & E Phillips Locksmiths Inc              351 Central Ave                 Albany                 Ny 12240        (518) 462-5467      (518) 462-6413 fax
                                                                          W.A. Chester LLC                           4309 Parliament Place Suite Q   Lanham                 Md 20706        (240) 487-1940      (240) 487-1941 fax
    X           CHERYL, JENNIFER          X,U                X            Wagner Electric                            3610 North Clinton Street       Fort Wayne             IN 46805-1898   (260) 484-5532      (260) 484-4485 fax
    X          JOAN, Mary, Debra           U                 X            WALCO                                      303 Allens Avenue               Providence             RI 02905        (401) 467-6500      (401) 941-4451 fax
                     LISA                                    X            WALTCO TOOLS AND EQUIPMENTS                1005 e edwardsville rd          IL                     IL 62094        (618) 259-5133      (618) 259-5134 fax
                 MARK, Dominic             U                 X            Walton's Saw Works                         44 Woodland Ave.                San Rafael             CA 94901-3910   (415) 456-6320      (415) 456-5482 fax
    X                BILL                  X                 X            Waring Industrial Tool                     4524 N. Lincoln Ave.            Chicago                IL 60625        (773) 728-1100      (773) 728-2799 fax
                                                                          Watson Security                            2106 3rd Avenue                 Seattle                WA 98121        206-448-5625        (206) 728-8806 fax
                        AL                                   X            Wayne Fasteners, Inc.,                     2611 Independence Drive         Fort Wayne             IN 46808        (800) 994-0393      (260) 483-8082 fax
                ROKKI (ROCKY?)                               X            WD DISTRIBUTING                            807 S.E. 83rd St                Oklahoma City          OK 73149        (405) 634-3603      (405) 634-3637 fax
                      JUSTIN                                 X            Weatherford Co                             804 Shelby Ln                   Austin                 TX 78745        (512) 444-6765      (512) 444-6766 fax
                     SHERRIE               U                 X            WECOM, Inc.                                2332 Kingman Avenue             Kingman                AZ 86401        (928) 753-3829      (928) 753-5991 fax
    X          FILLIPE, KIM, TONY         X,U                X            We-Do Equipment Repair & Supl              1932 Elise Cir                  Corona                 CA 92879        (951) 808-9167      (951) 808-9171 fax
                    JENNIFER                                 X            Weigh-Rite Scale Co., Inc.                 425 County Road V V             Somerset               WI 54025        (800) 446-3689      (715) 247-3638 fax
                                                                                                                                                                                            (940) 723-4181 or
                    DUSTIN                                   X            Wesbrooks Inc                              2012 Sheppard Access Rd         Wichita Falls          TX 76306-5323   (940)723-4190       (940) 723-4190 fax
                  ELIX, FELIX?                               X            West Caldwell Calibration Laboratories     1575 State Route 96             Victor                 NY14564         (585) 586-3900      (585) 586-4327 fax
    X             SHANNON                  U                 X            West Coast Electric Motors                 1126 East 5th St.               Oxnard                 CA 93030        (805) 483-0167      (805) 487-3666 fax
    X              JOHN, JEN               U                 X            West Equipment Company                     1545 East Broadway              Toledo                 OH 43605        (419) 698-1601      (419) 698-2540 fax
                      SAM                                    X            West Philadelphia LockSmith                31 South 42nd Street            Philadelphia           PA 19104        (215) 386-2929      (215) 386-7550 fax
                                                                                                                                                                                            7753595800or7753
                     KELLY                                   X            Western Nevada Supply                      950 S Rock Blvd                 Sparks Nevada          NV 89431-5922   594649              (775) 359-4649 fax
                     ROBIN                                   X            WESTERN STATES CALIBRATION                 105 W 2950 S,                   Salt Lake              UT 84115-3425   (801) 466-1700      (801) 484-5107 fax
                                      permanently
    X        # NG NO LONGER IN BUS.      closed                           Western Tool Supply *                      2141 Santiam Hwy SE             Albany                 OR 97322        (541) 967-4222      (541) 967-4342 fax
    X                LEO, JOSE             X,U               X            WESTSIDE BLDG MATERIALS                                                    Anaheim                CA - 92815      (714) 385-1644      (714) 385-1688 fax
    X                 ROGER                 U                X            White Cap Construction Supply              3670 Elm Springs Rd             SPRINGDALE             AR 72762        (479) 927-0300      (479) 927-0303 fax
                       MIKE                 U                X            White Cap Construction Supply              2003 S Gilbert St               Iowa city              IA              (319) 337-4681      (319) 337-9619 fax
    X          ERIC WOOLSEY/BRIAN           U                X            White Cap Construction Supply              1631 2nd Ave                    Des Moines             IA 50314        (515) 243-6969      (515) 243-6640 fax
                                                                                                                                                                                            (804) 648-7004
    X             ROB, LARRY               U                 X            White Cap Construction Supply              2405 Hermitage Rd               Richmond               VA - 23220      (804) 358-7191      (804) 257-5950 fax
                JULIE OR MASON                               X            White Star Machinery & Supply              3223 N Hydraulic St             Wichita                KS              (316)838-3321       (316) 832-1375 fax
                    RICHARD                                  X            Whitehead Hardware Co                      104 S Lee St Valdosta           Valdosta               Ga 31601-5743   (229) 242-3910      (229) 245-0579 fax




                                                                                                                   Page 23
                          Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 24
                                                               of 27


Estab. Bus                              Prior Perm. /    Verified Info. /
Relations       Contact/Contacts           Update       Perm. To Fax Doc.                      Busniess                             Address                             City       State/ZIP         Phone                   Fax
    X             SUSIE, CHRISTY            X,U                X            Whitton Supply Co.                    1419 West Reno                         Oklahoma City         OK 73106        (405) 236-5561      (405) 236-5595 fax
                       ALEX                                    X            Wilks Air Conditioning                139 Waleetka St                        San Antonio           TX 78210        (210) 534-9911      (210) 533-2281 fax
                      CHERYL                 U                 X            Williams Appliance Svc                432 S Pacific Ave                      San Pedro             CA              (310) 833-1396      (310) 833-3186 fax
    X               DAVE, TINA               U                 X            Willis Electric                       4465 BUCK OWENS BLVD. P.O. BOX 81085   BAKERSFIELD           CA 93308        (661) 324-2781      (661) 324-1605 fax
             JEFF/ Permanently Closed                          X            Wisconsin Power Tool Inc              3132 N Mayfair Rd                      Milwaukee             WI              (414)- 774-3650     (414) 774-3653 fax
    X                  DAN                   X                 X            Wisdom Tool Repair                    2238 Ritchey St                        Santa Ana             CA 92705        (714) 432-1601      (714) 432-1651 fax
                      KAREN                                    X            Wizard Lock & Safe Co.                218 N Prince St                        Lancaster             PA 17603        (717) 299-2385      (717) 299-5609 fax
                                                                                                                                                                                               (301) 797-1399 or
                                                                            Word Processing Service, Inc          14500 Byers Road                       Hagerstown            MD 21742        (800) 456-1977      (301) 797-9029 fax
                     JESUS                                     X            Worldwide Automation                  920 Santa Maria Ave                    Laredo                TX 78042        (956) 727-0441      (956) 723-6258 fax
                      MIKE                   U                 X            Wurth Action Bolt & Tool              701 Boutwell unit#A1                   Lake Worth            FL 33461        (561) 845-8800      (561) 845-0255 fax
                 CHRISTA, PARTS                                X            Yarbrough's Machine Shop Inc          514 N Fremont Ave                      Springfield           MO 65802-3589   (417) 869-5344      (417) 869-6678 fax
                     KATIE                                     X            Ye Olde Locksmith Shoppe              1777 Central Ave                       Albany                NY 12205        (518) 869-7352      (518) 869-1388 fax
                  BOBBIE/BRIAN               U                 X            Yeagle Technology                     140 Nott Hwy                           Ashford CT            CT              (860) 429-1908      (860) 429-7176 fax
                     ALLEN                                     X            York Lock & Key Co                    1554 Alton Rd                          Miami Beach           FL - 33139      (305) 672-5622      (305) 672-0301 fax
                TIFFANY, Theresa             U                 X            Yuba Lock & Safe                      1251 E Main St                         Grass Valley          CA 95945-5711   (530) 272-6600      (530) 272-1523 fax
                      Alex                                     X            Zarco Electronic Supply               6831 Commerce Ave.                     El Paso               TX 79915        (915) 778-3593      (915) 778-0671 fax
                     ISAAC                                     X            Zemarc Corp                           3510 E Church Ave                      Fresno                CA 93725        (559) 264-2009      (559) 268-2361 fax
                 ANNE WISMER                                   X            Zenmar Power Tool & Hoist Systems     243 Cockeysville Road                  Cockeysville          MD 21030        410-785-5790        (410) 785-1103 fax
                     MARK                                      X            Zo-Air Co., Inc.                      1320-6 Lincoln Ave.                    Holbrook              NY 11741        (631) 737-4242      (631) 737-5682 fax
                                                                            NO LISTING *                                                                                                                           (561) 533-1514
                                                                            NO LISTING ***                                                                                                                         (561) 845-6749
                                                                            NO LISTING***                                                                                                                          (562) 799-0624
                                                                            NO LISTING***                                                                                                                          (570) 321-8207
                                                                            NO LISTING***                                                                                                                          (573) 322-8201
                                                                            NO LISTING***                                                                                                                          (573) 324-5260
                                                                            NO LISTING***                                                                                                                          (574) 264-3465
                                                                            NO LISTING***                                                                                                                          (585) 254-5159
                                                                            NO LISTING***                                                                                                                          (585) 427-0887
                                                                            NO LISTING***                                                                                                                          (586) 758-0589
                                                                            NO LISTING***                                                                                                                          (586) 758-2079
                                                                            NO LISTING***                                                                                                                          (586) 977-6518
                                                                            NO LISTING***                                                                                                                          (601) 264-5146
                                                                            NO LISTING***                                                                                                                          (601) 353-5331
                                                                            NO LISTING***                                                                                                                          (601) 683-6570
                                                                            NO LISTING***                                                                                                                          (602) 232-4100
                                                                            NO LISTING***                                                                                                                          (602) 323-1942
                                                                            NO LISTING***                                                                                                                          (602) 437-9143
                                                                            NO LISTING***                                                                                                                          (602) 957-9754
                                                                            NO LISTING***                                                                                                                          (603) 382-6482
                                                                            NO LISTING***                                                                                                                          (603) 666-0115
                                                                            NO LISTING***                                                                                                                          (603) 889-2849
                                                                            NO LISTING***                                                                                                                          (604) 303-0134
                                                                            NO LISTING***                                                                                                                          (605) 225-8169
                                                                            NO LISTING***                                                                                                                          (606) 574-0452
                                                                            NO LISTING***                                                                                                                          (607) 732-8061
                                                                            NO LISTING***                                                                                                                          (608) 275-7170
                                                                            NO LISTING***                                                                                                                          (608) 754-3257
                                                                            NO LISTING***                                                                                                                          (610) 353-2512
                                                                            NO LISTING                                                                                                                             (203) 262-8206
                                                                            NO LISTING                                                                                                                             (210) 662-1604
                                                                            NO LISTING                                                                                                                             (724) 346-1225
                                                                            NO LISTING                                                                   MN                                                        (763) 550-1776
                                                                            NO LISTING                                                                                                                             (765) 282-2717
                                                                            NO LISTING                                                                                                                             (770) 246-0539
                                                                            NO LISTING                                                                                                                             (770) 423-7385
                                                                            NO LISTING                                                                                                                             (860) 445-2313
                                                                            NO LISTING                                                                                                                             (860) 529-9869
                                                                            NO LISTING                                                                                                                             (770) 448-7395
                                                                            NO LISTING                                                                                                                             (770) 631-0664
                                                                            NO LISTING                                                                                                                             (864) 284-0800




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                      Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 25
                                                           of 27


Estab. Bus                      Prior Perm. /    Verified Info. /
Relations    Contact/Contacts      Update       Perm. To Fax Doc.                Busniess             Address   City   State/ZIP   Phone             Fax
                                                                    NO LISTING                                                             (901) 942-9487
                                                                    NO LISTING                                                             (219) 696-7793
                                                                    NO LISTING                                                             (240) 492-1529
                                                                    NO LISTING                                                             (248) 540-0958
                                                                    NO LISTING                                                             (248) 541-3490
                                                                    NO LISTING                                                             (253) 473-9667
                                                                    NO LISTING                                                             (253) 833-7521
                                                                    NO LISTING                                                             (253) 854-7954
                                                                    NO LISTING                                                             (253) 922-9709
                                                                    NO LISTING                                                             (253) 946-6143
                                                                    NO LISTING                                                             (270) 442-7151
                                                                    NO LISTING                                                             (281) 469-0915
                                                                    NO LISTING                                                             (281) 471-7690
                                                                    NO LISTING                                                             (303) 292-9743
                                                                    NO LISTING                                                             (909) 854-5092
                                                                    NO LISTING                                                             (904) 693-9281
                                                                    NO LISTING                                                             (905) 542-8300
                                                                    NO LISTING                                                             (905) 850-8978
                                                                    NO LISTING                                                             (907) 344-3414
                                                                    NO LISTING                                                             (913) 631-8372
                                                                    NO LISTING                                                             (425) 454-8673
                                                                    NO LISTING                                                             (434) 447-6740
                                                                    NO LISTING                                                             (440) 473-4842
                                                                    NO LISTING                                                             (443) 543-2235
                                                                    NO LISTING                                                             (479) 649-0909
                                                                    NO LISTING                                                             (479) 782-3087
                                                                    NO LISTING                                                             (501) 760-5055
                                                                    NO LISTING                                                             (502) 380-3829
                                                                    NO LISTING                                                             (502) 634-1931
                                                                    NO LISTING                                                             (502) 635-0712
                                                                    NO LISTING                                                             (503) 223-0666
                                                                    NO LISTING                                                             (503) 231-2521
                                                                    NO LISTING                                                             (503) 234-0748
                                                                    NO LISTING                                                             (503) 598-7320
                                                                    NO LISTING                                                             (503) 690-9515
                                                                    NO LISTING                                                             (503) 693-6080
                                                                    NO LISTING                                                             (505) 292-7134
                                                                    NO LISTING                                                             (505) 326-5624
                                                                    NO LISTING                                                             (505) 342-0556
                                                                    NO LISTING                                                             (508) 870-1697
                                                                    NO LISTING                                                             (509) 535-8544
                                                                    NO LISTING                                                             (510) 658-6594
                                                                    NO LISTING                                                             (513) 674-6469
                                                                    NO LISTING                                                             (515) 253-9584
                                                                    NO LISTING                                                             (520) 882-0692
                                                                    NO LISTING                                                             (702) 382-9866
                                                                    NO LISTING                                                             (702) 734-8330
                                                                    NO LISTING                                                             (703) 802-0727
                                                                    NO LISTING                                                             (713) 228-0619
                                                                    NO LISTING                                                             (713) 247-9304
                                                                    NO LISTING                                                             (713) 722-8218
                                                                    NO LISTING                                                             (713) 991-2139
                                                                    NO LISTING                                                             (714) 288-9149
                                                                    NO LISTING                                                             (714) 630-9339
                                                                    NO LISTING                                                             (843) 398-0289
                                                                    NO LISTING                                                             (847) 843-7622
                                                                    NO LISTING                                                             (850) 469-0387
                                                                    NO LISTING                                                             (858) 566-8920
                                                                    NO LISTING                                                             (858) 569-0954
                                                                    NO LISTING                                                             (770) 973-5187
                                                                    NO LISTING                                                             (770) 995-0927




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                      Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 26
                                                           of 27


Estab. Bus                      Prior Perm. /    Verified Info. /
Relations    Contact/Contacts      Update       Perm. To Fax Doc.                      Busniess             Address   City   State/ZIP   Phone             Fax
                                                                    NO LISTING                                                                   (787) 782-7177
                                                                    NO LISTING                                                                   (801) 352-0352
                                                                    NO LISTING                                                                   (801) 394-2941
                                                                    NO LISTING                                                                   (801) 487-8649
                                                                    NO LISTING                                                                   (801) 627-0801
                                                                    NO LISTING                                                                   (804) 421-8556
                                                                    NO LISTING                                                                   (310) 258-0213
                                                                    NO LISTING                                                                   (614) 236-8122
                                                                    NO LISTING                                                                   (614) 895-3187
                                                                    NO LISTING                                                                   (615) 256-8020
                                                                    NO LISTING                                                                   (615) 320-0498
                                                                    NO LISTING                                                                   (615) 563-5122
                                                                    NO LISTING                                                                   (618) 833-8823
                                                                    NO LISTING                                                                   (619) 220-7178
                                                                    NO LISTING                                                                   (626) 331-7508
                                                                    NO LISTING                                                                   (630) 851-9855
                                                                    NO LISTING                                                                   (631) 271-2148
                                                                    NO LISTING                                                                   (631) 277-7513
                                                                    NO LISTING                                                                   (636) 530-1316
                                                                    NO LISTING                                                                   (808) 841-7492
                                                                    NO LISTING*                                                                  (810) 225-4602
                                                                    NO LISTING*                                                                  (313) 388-9677
                                                                    NO LISTING*                                                                  (317) 243-7297
                                                                    NO LISTING *                                                                 (320) 235-5351
                                                                    NO LISTING *                                                                 (616) 458-2554
                                                                    NO LISTING*                                                                  (616) 791-8997
                                                                    NO LISTING*                                                                  (618) 664-0772
                                                                    NO LISTING*                                                                  (630) 628-7978
                                                                    NO LISTING*                                                                  (636) 239-4178
                                                                    NO LISTING*                                                                  (315) 472-0855
                                                                    NO LISTING*                                                                  (316) 686-3151
                                                                    NO LISTING*                                                                  (318) 861-3821
                                                                    NO LISTING*                                                                  (319) 247-2893
                                                                    NO LISTING*                                                                  (319) 393-7533
                                                                    NO LISTING*                                                                  (319) 752-0796
                                                                    NO LISTING*                                                                  (479) 967-3944
                                                                    NO LISTING*                                                                  (480) 507-2566
                                                                    NO LISTING*                                                                  (661) 940-0359
                                                                    NO LISTING*                                                                  (703) 421-4900
                                                                    NO LISTING*                                                                  (610) 874-6372
                                                                    NO LISTING*                                                                  (847) 439-0699
                                                                    NO LISTING*                                                                  (323) 721-0596
                                                                    NO LISTING*                                                                  (334) 899-7378
                                                                    NO LISTING*                                                                  (336) 378-9819
                                                                    NO LISTING*                                                                  (336) 676-9271
                                                                    NO LISTING*                                                                  (336) 922-3318
                                                                    NO LISTING*                                                                  (337) 873-7062
                                                                    NO LISTING *                                                                 (352) 596-4403
                                                                    NO LISTING*                                                                  (361) 883-7365
                                                                    NO LISTING*                                                                  (386) 329-3555
                                                                    NO LISTING*                                                                  (386) 775-0379
                                                                    NO LISTING*                                                                  (401) 434-3778
                                                                    NO LISTING *                                                                 (337) 456-5259
                                                                    NO LISTING*                                                                  (401) 467-7799
                                                                    NO LISTING*                                                                  (949) 498-0459
                                                                    NO LISTING *                                                                 (847) 956-7925
                                                                    NO LISTING *                                                                 (305) 642-6503
                                                                    NO LISTING *                                                                 (757) 543-4823
                                                                    NO LISTING                                                                   (734) 429-7254
                                                                    No Listing                                                                   (717) 755-1641
                                                                    no such number *                                                             (651) 482-1495




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                      Case No. 1:16-cv-02981-MSK-MDB Document 109-13 filed 11/01/21 USDC Colorado pg 27
                                                           of 27


Estab. Bus                      Prior Perm. /    Verified Info. /
Relations    Contact/Contacts      Update       Perm. To Fax Doc.                      Busniess             Address   City   State/ZIP   Phone             Fax
                                                                    Not a good number *                                                          (206) 432-3977
                                                                    NOT LISTED *                                                                 (985) 879-2144
                                                                    NOT LISTED*                                                                  (352) 795-5015
                                                                    NOT LISTED*                                                                  (909) 593-1033
                                                                    NOT LISTED*                                                                  (313) 933-0440
                                                                    NOT LISTED *                                                                 (423) 279-0846
                                                                    NOT LISTED *                                                                 (402) 393-7928
                                                                    NOT LISTED *                                                                 (402) 465-0296
                                                                    NOT LISTED *                                                                 (402) 494-9992
                                                                    NOT LISTED *                                                                 (402) 554-0743
                                                                    NOT LISTED *                                                                 (402) 558-5553
                                                                    NOT LISTED *                                                                 (402) 592-2003
                                                                    NOT LISTED *                                                                 (404) 355-2012
                                                                    NOT LISTED *                                                                 (405) 232-4722
                                                                    NOT LISTED *                                                                 (405) 631-3153
                                                                    NOT LISTED *                                                                 (406) 245-8916
                                                                    NOT LISTED *                                                                 (406) 721-6426
                                                                    NOT LISTED *                                                                 (407) 295-0258
                                                                    NOT LISTED *                                                                 (407) 469-4391
                                                                    NOT LISTED *                                                                 (410) 896-2506
                                                                    NOT LISTED *                                                                 (410) 956-9039
                                                                    NOT LISTED *                                                                 (413) 568-0066
                                                                    NOT LISTED *                                                                 (414) 760-7707
                                                                    NOT LISTED *                                                                 (414) 771-9118
                                                                    NOT LISTED *                                                                 (415) 643-8096
                                                                    NOT LISTED *                                                                 (417) 865-1136
                                                                    NOT LISTED *                                                                 (418) 877-3958
                                                                    NOT LISTED *                                                                 (419) 355-8557
                                                                    NOT LISTED *                                                                 (919) 851-6928
                                                                    NOT LISTED *                                                                 (920) 336-1674
                                                                    NOT LISTED *                                                                 (920) 432-0726
                                                                    NOT LISTED *                                                                 (941) 921-9248
                                                                    NOT LISTED *                                                                 (952) 881-6656
                                                                    NOT LISTED *                                                                 (952) 884-3750
                                                                    NOT LISTED *                                                                 (954) 396-4221
                                                                    NOT LISTED *                                                                 (954) 693-0034
                                                                    NOT LISTED *                                                                 (970) 247-3637
                                                                    NOT LISTED *                                                                 (970) 352-5004
                                                                    NOT LISTED *                                                                 (972) 272-2634
                                                                    NOT LISTED *                                                                 (972) 304-7300
                                                                    NOT LISTED *                                                                 (972) 991-2902
                                                                    NOT LISTED *                                                                 (973) 376-9056
                                                                    NOT LISTED *                                                                 (973) 584-6679
                                                                    NOT LISTED *                                                                 (973) 743-7904
                                                                    NOT LISTED *                                                                 (978) 283-9157
                                                                    NOT LISTED *                                                                 (800) 328-8905
                                                                    NOT LISTED *                                                                 (954) 733-2133
                                                                    Phone number not fax *                                                       (303) 655-8143
                                                                    Phone number not fax *                                                       (303) 759-1390




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